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                                  KING
                                     vs.
                           PARKER, et al.




                   GAIL VAN NORMAN, MD
                           January 11, 2022




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·1·   ·   · · · · · IN THE UNITED STATES DISTRICT COURT
· ·   ·   · · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
·2·   ·   · · · · · · · · · ·AT NASHVILLE
· ·   ·   ___________________________________________________
·3
· ·   · TERRY LYNN KING,
·4
· ·   · · · · · · · Plaintiff,
·5
· ·   · vs.· · · · · · · · · · · ·Case No. 3:18-cv-01234
·6
· ·   · TONY PARKER, et al.,
·7
· ·   · · · · · · · Defendants.
·8·   · ___________________________________________________

·9

10

11

12

13
· ·   · · · · · Videoconference Deposition of:
14
· ·   · · · · · GAIL VAN NORMAN, MD
15
· ·   · · · · · Taken on behalf of the Defendants
16·   · · · · · January 11, 2022
· ·   · · · · · Commencing at 9:15 a.m. CST
17

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19

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21· · ___________________________________________________

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·1· · · · · · A· P· P· E· A· R· A· N· C· E                 S

·2
· ·   · For the Plaintiff:
·3
· ·   ·   ·   ·   ·MR. ALEX KURSMAN
·4·   ·   ·   ·   ·MS. ANASTASSIA BALDRIDGE
· ·   ·   ·   ·   ·MS. HAYDEN NELSON-MAJOR
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17
· ·   · For the Defendants:
18
· ·   ·   ·   ·   ·MR. ROBERT MITCHELL
19·   ·   ·   ·   ·MR. SCOTT SUTHERLAND
· ·   ·   ·   ·   ·MS. MIRANDA JONES
20·   ·   ·   ·   ·MR. CODY BRANDON
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· ·   ·   ·   ·   ·General and Reporter
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·4·   ·   Examination
· ·   ·   By Mr. Mitchell· · · · · · · · · · · · · · ·5
·5

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12· · · · · · · · E· X· H· I· B· I· T                S

13· · · · · · · · · · · · · · · · · · · · · · ·Page

14·   · Exhibit No. 1· · · · · · · · · · · · · · · ·6
· ·   · · · ·Notice of Subpoena
15
· ·   · Exhibit No. 2· · · · · · · · · · · · · · · 73
16·   · · · ·Report

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·1· · · · · S· T· I· P· U· L· A· T· I· O· N                  S
·2
·3
·4· · · · · The videoconference deposition of GAIL
·5· · VAN NORMAN, MD was taken by counsel for the
·6· · Defendants, with all participants appearing in
·7· · their respective locations, on January 11,
·8· · 2022, by Subpoena for all purposes under the
·9· · Federal Rules of Civil Procedure.
10· · · · · All formalities as to caption, notice,
11· · statement of appearance, et cetera, are waived.
12· · All objections, except as to the form of the
13· · questions, are reserved to the hearing, and
14· · that said deposition may be read and used in
15· · evidence in said cause of action in any trial
16· · thereon or any proceeding herein.
17· · · · · It is agreed that JENNIFER CHECUGA, LCR,
18· · RPR, and Court Reporter for the State of
19· · Tennessee, may swear the witness, and that the
20· · reading and signing of the completed deposition
21· · by the witness were not discussed.
22
23
24
25



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·1· · · · · · · · · · · ·*· ·*· ·*

·2· · · · · · · · · · GAIL VAN NORMAN,

·3· · was called as a witness, and having first been

·4· · duly sworn, testified as follows:

·5

·6· · · · · · · · · · · · EXAMINATION

·7· · QUESTIONS BY MR. MITCHELL:

·8· · Q.· · Good morning, again, Dr. Van Norman.

·9· · A.· · Hi.

10· · Q.· · I know we introduced ourselves a moment

11· · ago.· My name is a Rob Mitchell.· And I, along

12· · with several cocounsel who are on this call,

13· · represent the Defendants in this case.

14· · · · · Where are you located right now,

15· · Dr. Van Norman?

16· · A.· · Seattle, Washington.· I am doing this

17· · meeting from my home.

18· · Q.· · Okay.· And just a second, I'm turning up

19· · my volume.

20· · · · · Is anyone present in the room with you at

21· · your home?

22· · A.· · No, there's no one else in the house but

23· · my faithful dog, Cedar.

24· · Q.· · And you've given a deposition before,

25· · correct, Dr. Van Norman?



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·1· · A.· · I have, yes.

·2· · Q.· · You probably know how this works then,

·3· · but just a couple of ground rules I'd like to

·4· · go over before we begin.

·5· · · · · If you don't hear what I say, please ask

·6· · me to repeat.· Can you agree to that?

·7· · A.· · Oh, sure.· Yeah.

·8· · Q.· · Okay.· And if you don't understand what

·9· · I'm asking, can you ask me to clarify?

10· · A.· · Will do.

11· · Q.· · Okay.· And I'm sure you know this, breaks

12· · are okay, but we can't take a break between me

13· · asking a question and you answering that

14· · question.

15· · A.· · Understood.

16· · Q.· · Okay.· Now, I'm going to show you

17· · Exhibit 1 in this case, which is the notice of

18· · subpoena for deposition and to produce

19· · documents.

20· · · · · · · (WHEREUPON, a document was marked as

21· · Exhibit Number 1.)

22· · BY MR. MITCHELL:

23· · Q.· · And can you see this, Dr. Van Norman?

24· · A.· · I can, thank you.

25· · Q.· · Okay.· And have you seen this before?



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·1· · A.· · Well, looking at it at this moment, it

·2· · looks like the subpoena I received that was

·3· · passed on to me by Mr. Kursman.

·4· · Q.· · And one other rule since we're doing this

·5· · over Zoom, because of issues with Zoom on the

·6· · screen and, you know, what percentage of a

·7· · document is able to be visible, if you ever

·8· · need me to scroll up or scroll down or go to

·9· · another page, you're welcome to ask me to do

10· · that.

11· · A.· · Thank you.

12· · Q.· · Sure.· Let me scroll down.

13· · · · · You see the date right there for

14· · December 14th, 2021?

15· · A.· · Yes.

16· · Q.· · Okay.· And is this the subpoena you

17· · received for today's deposition?

18· · A.· · I believe so, yes.

19· · Q.· · Okay.· When did you receive a copy of

20· · this document?

21· · A.· · I don't recall the specific date, but it

22· · was very shortly after the date you showed

23· · above.· It was sometime in December.

24· · Q.· · Okay.· And have you produced the

25· · subpoenaed materials to your attorneys?



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·1· · A.· · I have.

·2· · Q.· · Okay.· Well, let's just go through those

·3· · briefly.

·4· · · · · · · MR. KURSMAN:· I'm going to object at

·5· · this point.· To the extent, Rob, that you're

·6· · calling for answers regarding discussions

·7· · between Plaintiff's counsel and Dr. Van Norman,

·8· · we've responded to these requests via e-mail,

·9· · so I will instruct Dr. Van Norman not to get

10· · into discussions that she had with Plaintiff's

11· · counsel.

12· · · · · · · MR. MITCHELL:· Are you instructing

13· · her not to answer whether she has produced

14· · documents or as to content of conversations

15· · with Plaintiff's counsel?

16· · · · · · · MR. KURSMAN:· Well, the contents of

17· · the conversations with Plaintiff's counsel.

18· · You can ask your questions, and then I'll

19· · decide one by one whether to object.

20· · · · · · · MR. MITCHELL:· Okay, that sounds

21· · good.

22· · BY MR. MITCHELL:

23· · Q.· · Do you understand that, Dr. Van Norman?

24· · A.· · To the extent that I understand legal

25· · language, yes.



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·1· · Q.· · Okay.· So do you see these requests, and

·2· · Requests 1, 2, 3, 4 are shown on the screen?

·3· · A.· · I do see them, yes.

·4· · Q.· · Did you produce your entire file on this

·5· · case to Plaintiff's counsel?

·6· · A.· · Yes.

·7· · Q.· · Okay.· Did you produce all documents and

·8· · communications regarding this litigation to

·9· · Plaintiff's counsel?

10· · A.· · I believe so, yes.· Yes.

11· · Q.· · Have you produced your complete time and

12· · billing records in this litigation to

13· · Plaintiff's counsel?

14· · A.· · Yes.

15· · Q.· · Have you produced all documents and

16· · communications describing the nature and scope

17· · of your work in this case to Plaintiff's

18· · counsel?

19· · A.· · Yes.

20· · Q.· · Do you see now Numbers 5 through 8?

21· · A.· · Yes.

22· · Q.· · Okay.· And --

23· · · · · · · MR. KURSMAN:· I will object to the 5,

24· · 6.· To the extent that these are communications

25· · between counsel and their expert, I will object



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·1· · at this point and instruct Dr. Van Norman not

·2· · to answer as to whether she provided us with

·3· · this information.

·4· · · · · · · MR. MITCHELL:· Okay, and that was --

·5· · so you're instructing Dr. Van Norman not to

·6· · answer regarding Requests 5 and 6?

·7· · · · · · · MR. KURSMAN:· 5, 6, 7, 8, 9, 10, 11,

·8· · 12, 13 and 14.

·9· · · · · · · MR. MITCHELL:· Okay.

10· · · · · · · All right.· If I didn't say it

11· · already, we'll have it marked as Exhibit 1,

12· · please.

13· · BY MR. MITCHELL:

14· · Q.· · Okay.· Dr. Van Norman, are you under the

15· · influence of anything that could hinder your

16· · ability to testify truthfully today?

17· · A.· · No.

18· · Q.· · Okay.· Including -- are you under the

19· · influence of any medications that could affect

20· · your ability to testify truthfully?

21· · A.· · No.

22· · Q.· · Do you have any medical condition that

23· · could affect your testimony today?

24· · A.· · No.

25· · Q.· · Did you speak with anyone in preparation



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·1· · for your testimony today?

·2· · A.· · Yes.

·3· · Q.· · And who did you speak with in preparation

·4· · for your testimony?

·5· · A.· · I met with Mr. Kursman and counsel in his

·6· · office.· I didn't meet in his office, I met

·7· · with people from his office.

·8· · Q.· · Was that meeting over some sort of medium

·9· · like Zoom or Teams or Webex, or was it over the

10· · phone?

11· · A.· · It was a phone meeting.· Oh, wait, wait.

12· · No, it was over Zoom.· I apologize.

13· · Q.· · That's okay.

14· · · · · When was that meeting?

15· · A.· · It was on Friday, I believe, of last

16· · week.

17· · Q.· · Okay.· Did you only have one meeting with

18· · Mr. Kursman and other attorneys for the

19· · Plaintiff in this case?

20· · A.· · One meeting the entire case -- time the

21· · case has been --

22· · Q.· · Let me clarify that.· Good example of the

23· · ground rule we went over.

24· · · · · Since submitting your expert report in

25· · this case, how many times have you met with



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·1· · Mr. Kursman or other Plaintiff's counsel?

·2· · A.· · Can you -- I'm sorry, I need a

·3· · clarification of what you consider "meeting."

·4· · I mean, we've communicated, but I don't know

·5· · what you mean by "meeting."

·6· · Q.· · Sure.· We can break that down.

·7· · A.· · Yeah.

·8· · Q.· · Since November 17th, how many Zoom or

·9· · Teams or Webex meetings have you had with

10· · Plaintiff's counsel?

11· · A.· · Just the one.

12· · Q.· · Okay.· And how many -- since

13· · November 17th, how many phone calls have you

14· · had with Plaintiff's counsel?

15· · A.· · I may have -- I don't recall exactly.               I

16· · may have had two or three brief phone calls to

17· · clarify materials and things like that.

18· · Q.· · And were all of those phone calls in

19· · preparation for your testimony today?

20· · A.· · Not directly, no.

21· · Q.· · Were any of them in preparation for your

22· · testimony today?

23· · A.· · No, none of them.· The only -- no.

24· · Q.· · So the only meeting in preparation for

25· · your testimony today that you had with



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·1· · Plaintiff's counsel was the Zoom meeting?

·2· · A.· · That's correct, yes.

·3· · Q.· · And during that Zoom meeting, did

·4· · Plaintiff's counsel show anything to you?

·5· · A.· · Not that I recall, no.

·6· · Q.· · Did they read anything to you?

·7· · A.· · Again --

·8· · · · · · · MR. KURSMAN:· I'm going to --

·9· · Dr. Van Norman, I'm going to object to the

10· · extent that it -- Mr. Mitchell's questions are

11· · getting into conversations between counsel and

12· · Dr. Van Norman.

13· · BY MR. MITCHELL:

14· · Q.· · How long was the meeting with Plaintiff's

15· · counsel that was over Zoom in anticipation of

16· · your testimony today?

17· · A.· · I think it was about two-and-a-half

18· · hours.· It might have been three.

19· · Q.· · Did you speak with anyone else, other

20· · than Plaintiff's counsel, in anticipation of

21· · your testimony today?

22· · A.· · No.

23· · Q.· · Did you review anything to prepare for

24· · your testimony today?

25· · A.· · I did.



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·1· · Q.· · What did you review to prepare for your

·2· · testimony?

·3· · A.· · I reviewed my expert report.

·4· · Q.· · Okay.· Did you review anything beside

·5· · your expert report?

·6· · A.· · Well, it depends on what you would

·7· · consider preparation for today.· I mean, not

·8· · specifically, but I have reviewed other

·9· · materials in the course of my work.

10· · Q.· · In the last two weeks, what materials

11· · have you reviewed for your work in this case?

12· · A.· · In the last two weeks, I -- I've reviewed

13· · expert reports from the Defendants and expert

14· · reports from the Plaintiff.

15· · Q.· · Which Plaintiff's expert reports have you

16· · reviewed in the last two weeks?

17· · A.· · I have reviewed -- I'd have to look

18· · at the name -- I'm sorry, names don't stick

19· · with me, but I've reviewed Dr. Antognini's

20· · expert report.· There was a medical examiner.

21· · I believe there was a pharmacist.· And I think

22· · I'm forgetting one, but I would have to look at

23· · the file to see.

24· · Q.· · And those -- those were the reports

25· · provided by Defendants in that case?



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·1· · A.· · I'm sorry, that -- yes.· Yes, that's

·2· · correct.

·3· · Q.· · Which expert reports provided by

·4· · Plaintiffs did you review in the last two

·5· · weeks?

·6· · A.· · I reviewed Dr. Stephen's report.· I, of

·7· · course, reviewed my own report.· Again, I'm

·8· · forgetting the names of a couple of experts, so

·9· · I'd have to look.· I believe there were four

10· · reports that I reviewed.

11· · Q.· · To your knowledge, did you review all of

12· · Plaintiff's expert reports?

13· · A.· · I reviewed all that were sent to me, yes.

14· · Q.· · Where did you attend high school,

15· · Dr. Van Norman?

16· · A.· · I attended Issaquah High School in

17· · Issaquah, Washington.

18· · Q.· · And did you go to college after high

19· · school?

20· · A.· · I did.· I went to the University of

21· · Washington.

22· · Q.· · Did you take any time between graduating

23· · high school and going to college?

24· · A.· · No, uh-uh.

25· · Q.· · And you said you went to college at the



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·1· · University of Washington?

·2· · A.· · I went to undergraduate at the University

·3· · of Washington.· That's correct.

·4· · Q.· · And did you get a bachelor's degree

·5· · there?

·6· · A.· · I got an honors bachelor's degree there,

·7· · yes.

·8· · Q.· · What was that bachelor's degree in?

·9· · A.· · Microbiology.

10· · Q.· · And what year did you receive that

11· · degree?

12· · A.· · 1977.

13· · Q.· · And after receiving your bachelor's, did

14· · you pursue your education further?

15· · A.· · Yes.

16· · Q.· · Okay.· What did you do next to pursue

17· · your education?

18· · A.· · I went to medical school.· I started in

19· · 1977.

20· · Q.· · And did you graduate from medical school?

21· · A.· · Yes, I did.

22· · Q.· · I'm sorry, can you say that again?

23· · A.· · I apologize.· Yes.

24· · Q.· · And where did you graduate -- where did

25· · you graduate from medical school?



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·1· · A.· · The University of Washington, also.

·2· · Q.· · And what year was that?

·3· · A.· · That was 1981.

·4· · Q.· · And so, did you get an MD degree there?

·5· · A.· · I did, yes.

·6· · Q.· · And where did you do your residency?

·7· · A.· · I did two residencies.· So I first went

·8· · to Virginia Mason Hospital to do internship and

·9· · then internal medicine residency.· And then I

10· · did an anesthesia residency -- anesthesiology

11· · residency at the University of Washington

12· · starting in 1986.

13· · Q.· · And did that anesthesiology residency

14· · translate into full-time employment?

15· · A.· · Yes.· Very full time.

16· · Q.· · Yes.

17· · · · · And are you still with the University of

18· · Washington today?

19· · A.· · Well, still -- yes, I'm with University

20· · of Washington today, but I've had employment

21· · with private anesthesiology groups in my

22· · career, as well.· So I've worked continuously

23· · as part of the University of Washington, but

24· · I've also had other employers.

25· · Q.· · In what areas do you currently practice



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·1· · medicine, Dr. Van Norman?

·2· · A.· · Anesthesiology and perioperative

·3· · medicine.

·4· · Q.· · And since completing your residency, have

·5· · you ever practiced any other areas of medicine?

·6· · A.· · Well, yes, I -- since graduating

·7· · anesthesia -- anesthesiology residency or

·8· · internal medicine residency?

·9· · Q.· · Let's stick with the anesthesiology

10· · residency.

11· · A.· · Other than -- yeah, it's

12· · been anesthesiology and/or perioperative

13· · medicine since graduation from the

14· · anesthesiology residency, yes.

15· · Q.· · Can you break down when you practiced

16· · perioperative medicine?

17· · A.· · Well, all the way through, but it really

18· · became known as kind of a subset of the

19· · specialty of anesthesiology probably in the

20· · late 1990s.

21· · · · · So everybody practices a form of

22· · perioperative medicine, but I've also --

23· · besides operating room medicine, I've also

24· · concentrated in clinical perioperative medicine

25· · where we actually prepare patients for surgery



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·1· · ahead of time.· So there's a slight difference

·2· · in what I do than what most anesthesiologists

·3· · do.

·4· · Q.· · Okay.· Can you describe that difference a

·5· · little more for me?· Yeah, can you describe

·6· · that -- the difference between what you do and

·7· · what typical anesthesiologists do?

·8· · A.· · Well, when we talk about

·9· · perioperativeness and we're talking about sort

10· · of taking care of the patient both before

11· · their -- they come to surgery, in the surgery,

12· · and also postoperatively, after surgery, which

13· · may mean pain management and in-hospital

14· · management of hospital patients.

15· · · · · So every anesthesiologist does some of

16· · that, but I also am specialized in preparing

17· · patients for surgery.· So when a patient, for

18· · example, with medically complex problems gets

19· · to their surgeon for a surgery that's being

20· · planned, I will often see them or contact them

21· · or review their medical status in some way to

22· · determine, one, do we know everything we know

23· · about the patient that we need to for surgery;

24· · two, are their medical problems adequately

25· · stabilized to undergo the surgery; three, are



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·1· · there tests that I should order or someone else

·2· · should order to give us more information and/or

·3· · help us stabilize them if they're not.

·4· · · · · I will consult with the providers, the

·5· · surgical providers and the medicine consult

·6· · people in the hospital about what we would like

·7· · to see happen to stabilize patients before

·8· · surgery.· And then we communicate and sometimes

·9· · coordinate special scheduling for the patient;

10· · meaning, if we think their anesthesia care

11· · might require a very specialized anesthesia

12· · provider, we coordinate with the schedule to

13· · make sure that happens.

14· · · · · So we do a form of internal medicine

15· · prior to the patient's surgery, and then we are

16· · less involved with the postoperative -- I am

17· · less involved with the postoperative

18· · management, except when I'm performing

19· · anesthesia as a -- as -- in the operating room,

20· · so...

21· · Q.· · And how often are you performing

22· · anesthesia in the operating room?

23· · A.· · These last few months, I'm not doing any

24· · because of the pandemic.· I have medical

25· · conditions that make it particularly high risk



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·1· · if I catch COVID.· And at the time, we were

·2· · about -- we were partially into the pandemic

·3· · when we realized that I -- I was really doing

·4· · virtually all high-risk surgeries to catch

·5· · COVID.· I was doing things called

·6· · bronchoscopies and navigation bronchoscopies

·7· · and endoscopies.· And so, both being medically

·8· · at risk myself, plus doing the high-risk

·9· · procedures, there were a number of us,

10· · including myself, that decided not to do

11· · operating room care, anticipating that the

12· · pandemic would be over in a few months.· But,

13· · of course, it's drug on.

14· · · · · So for a few months now, I haven't done

15· · operating room anesthesiology, but I've

16· · continued doing active perioperative care.· And

17· · if the pandemic ends before I retire, I

18· · would -- I would go back to the operating room.

19· · Q.· · So let's rewind and go pre-pandemic.

20· · Let's say in 2019, how many operating room

21· · anesthesias were you performing in a given

22· · month?

23· · A.· · Oh, gosh.· That's so long ago now.· I was

24· · probably doing around 80 per month, something

25· · like that, at that time.



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·1· · Q.· · In 2019?

·2· · A.· · Yeah.· That's a guesstimate.· I'd have to

·3· · go back and look at my calendar and see, but I

·4· · think that it would be more in months where I

·5· · was in the operating more and less in clinic,

·6· · but if I gave an average, probably about that.

·7· · Q.· · When you're in the operating room, can

·8· · you walk me through what your role is and what

·9· · your responsibilities are related to

10· · anesthesia?

11· · A.· · Well, our responsibilities begin before

12· · the operating room, which is, I review my

13· · patient's medical history.· If I wasn't the one

14· · to do the preoperative clinic visit, I review

15· · my patient's medical history and determine and

16· · plan what I think will be the best course of

17· · anesthesia care for them.

18· · · · · Then I meet the patient and go through

19· · that medical history and do a physical exam to

20· · be sure that they do -- that the picture I have

21· · of them on the day of surgery indicates that

22· · they are stable and that I do know what I need

23· · to know for them medically.

24· · · · · And presuming that that's all in line, I

25· · then will usually start -- at least start an IV



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·1· · because we'll need to be giving medications

·2· · through the IV.· And the reason I say "usually"

·3· · is that sometimes the nurses will do that for

·4· · us, but I personally do that most of the time.

·5· · I place the monitors, take the patient to the

·6· · operating room where we then transfer them to

·7· · the monitors and the machines in the operating

·8· · room.

·9· · · · · I administer medications that help them

10· · feel comfortable and relaxed.· When everybody

11· · is prepared and ready in the operating room and

12· · we've confirmed that the patient is the correct

13· · patient and that we all agree on what surgery's

14· · going to be done and we confirm that with the

15· · patient, I'll usually go ahead and use

16· · medications to sedate them and to help them

17· · fall asleep.

18· · · · · If they require airway manipulation, I

19· · carry that out.· And then I begin the period of

20· · maintenance anesthesia where we are -- where

21· · the surgery after that -- well, the patient's

22· · usually being prepped and draped, and then the

23· · surgery begins and I have to adjust all of my

24· · medications and start watching the surgical

25· · field to do a continual adjustment of



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·1· · medications to meet surgical stimulus.

·2· · · · · When the surgeon is -- has finished the

·3· · surgery, then I go through a process of

·4· · withdrawing medications from the patient so

·5· · that they can become arousable again and be

·6· · safe to transfer to the care of another in the

·7· · recovery room.

·8· · · · · We monitor them continuously from the

·9· · time they enter the pre-op holding area to the

10· · time we take them to the recovery room.· And

11· · then after that, I'm still responsible to go

12· · and assess their wellbeing and assess how well

13· · they're recovering from the anesthetic and from

14· · the surgery, whether they have good pain

15· · control, whether they're suffering any

16· · immediate complications that require treatment,

17· · call those to the attention of the surgeon if

18· · they're appropriate or deal with them myself,

19· · and determine whether it's appropriate and safe

20· · to discharge the patient home if they're going

21· · home or discharge them to the ward in the

22· · hospital if they're going to ward care.

23· · Q.· · That's helpful, thank you.

24· · · · · So as an anesthesiologist, when you're

25· · monitoring a patient during surgery, what are



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·1· · you monitoring?

·2· · A.· · We're monitoring a lot of things.· We're

·3· · physically monitoring the patient for signs of

·4· · distress, and that may include things like --

·5· · we use almost all of our senses.· We use touch

·6· · and hearing and eyesight to show, for example,

·7· · is the patient -- when they're under -- let me

·8· · back up.

·9· · · · · Did you ask me under anesthesia?· Is that

10· · when you were --

11· · Q.· · Presumably under anesthesia, because I'm

12· · asking about during surgery.

13· · A.· · Oh, great.

14· · Q.· · Hopefully they're under anesthesia.

15· · A.· · Thank you.

16· · · · · So I'm monitoring whether the patient's

17· · tearing, for example, sweating as though

18· · they're under stress.· I'm monitoring heart

19· · rate and blood pressure.· I'm monitoring things

20· · like, is their respiratory -- it depends

21· · large -- it -- I should say all my monitoring

22· · also depends not only what surgery's going on

23· · but what type of anesthetic I'm doing.

24· · · · · So, for example, if I'm doing an

25· · anesthetic that is requiring the administration



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·1· · of a muscle relaxant, I have a nerve twitch

·2· · monitor that helps me to monitor whether, in

·3· · fact, they are paralyzed or not, or whether the

·4· · muscle relaxant needs re-dosing.

·5· · · · · I am also monitoring the clock because

·6· · there are certain medications that we give

·7· · during surgery that are timed dosing, so I have

·8· · to be sure and make sure that those go in on

·9· · time.

10· · · · · And I'm monitoring the surgery.· I mean,

11· · that's important to say, because the anesthetic

12· · varies -- that I have to administer varies a

13· · lot during the course of one surgery, depending

14· · upon what the surgeon is doing.

15· · · · · I'm also monitoring to see when it's

16· · appropriate to time various aspects of the

17· · anesthetic, okay?· So I might be monitoring

18· · whether the surgeon has, for example, curtailed

19· · the surgery earlier than normal, and so I need

20· · to be adjusting the medication accordingly, or

21· · perhaps the surgeon has run into trouble and

22· · needs different operating conditions.

23· · · · · So let's -- I'll give you an example,

24· · just so that seems clear.· Let's say the

25· · surgeon accidentally tears a significant blood



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·1· · vessel and the patient starts to bleed, I may

·2· · have to administer medications to lower the

·3· · patient's blood pressure so that they're

·4· · bleeding less so that the surgeon can see

·5· · better and also that there would be less blood

·6· · loss until the -- until he or she is able to

·7· · manage it.

·8· · · · · I'm taking as an example a general

·9· · surgery case rather than, like, a neurosurgery

10· · case, which would require different monitors of

11· · the brain than we would use in the general

12· · operating room.· So I'll give you that caveat.

13· · Q.· · So let me ask you this:· What's a typical

14· · surgery case?· Can you give me some examples of

15· · those, typical surgery cases you're involved in

16· · or used to be involved in in the OR?

17· · A.· · You mean what kinds of surgeries?

18· · Q.· · Yes.

19· · A.· · What is called a -- you know, what is a

20· · bread-and-butter -- what we call a

21· · bread-and-butter anesthesia case, because I

22· · also subspecialize in heart surgery.· So

23· · bread-and-butter case might include any what we

24· · call intracavitary surgery, so surgery within

25· · the chest, within the belly, within the pelvis.



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·1· · So let's say you had colon cancer, we might be

·2· · resecting that.

·3· · · · · Bread-and-butter cases also include

·4· · orthopedic cases such as major hip surgery,

·5· · knee surgery, et cetera.· They would be GYN

·6· · cases such as hysterectomies.· ENT cases such

·7· · as sinus surgeries.· Those are the ones that

·8· · come to mind to me as being sort of mainstream.

·9· · There are lots of other surgeries that all

10· · anesthesiologists participate in but that

11· · sometimes require specialty anesthesia care,

12· · so...

13· · Q.· · So you talked about how you use at least

14· · three senses when you're monitoring a patient

15· · during surgery.· We talked about eyesight.· Can

16· · you tell me a little bit about touch, how you

17· · use sense of touch when you're monitoring a

18· · patient?

19· · A.· · Well, a number of different ways.· For

20· · example, I -- if I think a patient is stressed,

21· · I may place my hands on the skin of their face,

22· · if that's what's close to me, to see if they've

23· · become hot.

24· · · · · I'm also monitoring the patient's

25· · temperature, by the way, for other reasons



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·1· · because certain reactions to anti -- number

·2· · one, certain reactions to anesthesia can cause

·3· · a severe temperature.

·4· · · · · I also use my fingers to tell me if the

·5· · patient's getting cold because getting cold

·6· · leads to certain postoperative complications,

·7· · in addition to monitoring their core

·8· · temperature.· So I might touch them there, I

·9· · might touch them to see if they're sweaty, for

10· · example.· Are they acting like they're under

11· · stress, so sweat is another sign of that.· You

12· · don't usually see people sweat under surgery.

13· · · · · And I also may use my sense of touch in

14· · other ways.· I mean, there might be times in

15· · which I want to -- I know the patient has a

16· · pulse, but I want to feel what that pulse is

17· · like.· Is it strong and bounding, is it meek

18· · and thready?· The monitors don't tell me that.

19· · They just tell me that the pulse is there.

20· · · · · I may want to see if the muscles are

21· · tight in certain aspects on the patient, so I

22· · may feel those with my fingers.

23· · Q.· · Are there any other ways you rely on the

24· · sense of touch when you're monitoring a patient

25· · during surgery?



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·1· · A.· · Probably, but I don't know that I'm

·2· · covering them all here.· I don't want to say

·3· · that I've told you every single way in which I

·4· · use my sense of touch, so -- I've covered the

·5· · major ones, yes.

·6· · Q.· · Are these ways of monitoring the patient,

·7· · are these all standardized?

·8· · A.· · Some of them are and some of them are

·9· · not.

10· · Q.· · How do we -- or how do you know which

11· · ones are and which ones aren't?

12· · A.· · Are you asking the question about

13· · monitoring in general or are you asking about

14· · touch specifically?

15· · Q.· · Let's start with touch.

16· · A.· · There aren't really -- because touch is a

17· · subjective feeling, I don't -- I can't think of

18· · an example to give you of a standardized way to

19· · use my touch sense to monitor patients.· You

20· · know, I -- I'm using a sense that I, myself,

21· · have a subjective feeling of or I might be

22· · using my sense of touch to compare how the

23· · patient feels at one point than another in the

24· · case, but I can't think of an example at this

25· · moment of a standardized test for touch.



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·1· · Q.· · Are the means of monitoring a patient

·2· · during surgery via the sense of touch that

·3· · you've described common among

·4· · anesthesiologists?

·5· · A.· · I presume so, yes.

·6· · Q.· · But you don't know?

·7· · A.· · I -- I think so, yes.

·8· · Q.· · Okay.· Are there other common means of

·9· · monitoring a patient by the sense of touch that

10· · we haven't talked about?

11· · A.· · As I said, I'm just not thinking of any

12· · right now.· I'm not going to tell you they

13· · don't exist, but at this moment, those are the

14· · ones I think -- I can think of.

15· · Q.· · Okay.· What about the sense of hearing,

16· · how do you use your sense of hearing when

17· · you're monitoring a patient during surgery?

18· · A.· · Well, the most common way sense of

19· · hearing is used with direct monitoring of the

20· · patient is we're listening to sounds that the

21· · electronic and mechanical monitors are making,

22· · as well as the sounds of our equipment.

23· · · · · So, for example, when we say we listen to

24· · the patient's heartbeat, which we do all the

25· · way through surgery, I don't mean that I lay my



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·1· · ear on their chest and listen to their heart

·2· · that way.· What I mean is that I'm listening to

·3· · the monitor making a beeping sound.· It tells

·4· · me that the patient's heart is beating.

·5· · · · · And all of the different monitors have

·6· · different tones and sounds that I listen to to

·7· · tell me things like, first of all, does the

·8· · patient have a heartbeat; how fast is it

·9· · beating; is it regular or irregular; is the

10· · pulse oximeter telling me that the oxygen

11· · saturation is within normal range; is it

12· · rising; is it falling; is my ventilator

13· · sounding appropriate; is it struggling to get

14· · air into the patient or is it not?

15· · · · · Is my -- are any of the alarms that are

16· · going -- that I have set on my machine to tell

17· · me that I should look, they aren't necessarily

18· · alarms that tell me anything's wrong, but they

19· · tell me, I don't want that blood pressure, say,

20· · above 150, so I'm going to set an alarm to tell

21· · me when it gets to 140 so that I look and see

22· · what's happening.· And there are multiple,

23· · multiple such alarms that we listen to in the

24· · operating room.

25· · · · · We also listen to things that the



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·1· · surgeon's saying about what's going on in the

·2· · surgery.· We listen to the patient, if the

·3· · patient is making noises, to see if they --

·4· · what kinds of noises that they might be making.

·5· · · · · And I've probably covered most of them, I

·6· · may have missed some of them.

·7· · Q.· · What are noises patients make during

·8· · surgery?

·9· · A.· · Under general anesthesia?

10· · Q.· · Sure.

11· · A.· · It's rare for someone to make any sounds

12· · under general anesthesia, particularly during

13· · bread-and-butter surgeries, we usually have

14· · them paralyzed and they don't make noises.

15· · · · · But, for example, as I'm getting them off

16· · to sleep, they might look or sound distressed.

17· · As they're waking up, they may look or sound

18· · distressed.· So, for example, if they're waking

19· · up and now they're not paralyzed and they're

20· · moaning, then I know I haven't given them

21· · enough pain medicine, and I will be not waiting

22· · for them to be able to tell me that, I'm going

23· · to give them pain medicine beforehand.

24· · · · · There are sometimes sounds that patients

25· · make unintentionally -- well, I shouldn't even



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·1· · say -- well, the patient makes the sound, but

·2· · it's not that the body, per se, is making the

·3· · sound.· For example, the -- if I have a

·4· · breathing tube in them or an LMA, there may be

·5· · leakage around those, and so I may hear sighing

·6· · or bubbling or gurgling that are not sounds

·7· · that the patient is trying to make.· These are

·8· · sounds that the secretions of the patients are

·9· · making against the equipment, but we call

10· · them the sound -- you know, the patient has a

11· · gurgling sound or whatever.

12· · · · · So I -- those are the things I'm thinking

13· · of right now.· Does that answer your -- the

14· · question that you were --

15· · Q.· · That's helpful.

16· · · · · Do you ever hear the gurgling sound when

17· · a patient isn't intubated?

18· · A.· · Sure.

19· · Q.· · Is that common?

20· · A.· · Sure.

21· · Q.· · What sounds do patients make when they're

22· · not under general anesthesia?

23· · A.· · Well, it could be anything.· I could be

24· · doing monitored anesthesia care in a patient

25· · who has regional anesthetic in and having a



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·1· · conversation with them, you know.

·2· · · · · So the patients can alert us to the fact

·3· · that they're becoming uncomfortable if they

·4· · aren't under general anesthesia.· They can

·5· · tell -- they are able to communicate more

·6· · directly with us and tell us what might make

·7· · them more comfortable.· It's not always and not

·8· · even often that they would be uncomfortable

·9· · from what the surgeon is doing.· It might be,

10· · for example, that they're now positioned on a

11· · table or that they need to be repositioned so

12· · that they don't have pressure, things like

13· · that.

14· · · · · They can tell me that they're distressed

15· · psychologically, that they're feeling anxious

16· · and ask me if I can give them something for

17· · that.· They may -- I mean, it's anything.· If

18· · they have a sudden pain for whatever reason,

19· · they may yelp or make a sound that indicates

20· · pain.· They may -- if they sort of drift off to

21· · a light sleep, they might snore and wake

22· · themselves up, so I might hear those sounds.

23· · · · · So it's -- there's a multitude of sounds

24· · that people make in the operating room.

25· · Q.· · Do patients snore under general



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·1· · anesthesia ever?

·2· · A.· · Yes, but they don't have to be under

·3· · general anesthesia to snore.

·4· · Q.· · But under general anesthesia, they can

·5· · snore?

·6· · A.· · They can if -- a snore is a sound when

·7· · the airway is narrow and the air is rushing

·8· · through and making a loud noise.· That's what

·9· · snoring is caused.· And that can happen under

10· · general anesthesia, yes.

11· · Q.· · And during surgery, you talked about

12· · machines and instruments, what machines and

13· · instruments are you relying on to monitor a

14· · patient?

15· · A.· · Well, obviously blood pressure, an EKG

16· · would be standard of care, as is pulse

17· · oximetry.· We use -- those are the main

18· · monitors that are standard of care right now.

19· · · · · Capnography, which is monitoring the

20· · amount of carbon dioxide that a patient's

21· · exhaling, is another monitor we commonly use,

22· · although it's not required.

23· · · · · There are monitors, as I mentioned, of

24· · nerve twitch that are commonly used to tell us

25· · if the patient needs muscle paralysis.



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·1· · Q.· · As an anesthesiologist, are there any

·2· · other machines you commonly use when a patient

·3· · is undergoing surgery?

·4· · A.· · Well, I mean, sure.· I mean, there are --

·5· · well, "commonly" is a -- any monitors we

·6· · commonly use.· I'm sorry, we do -- well, no.

·7· · Our machines will monitor our ventilator -- our

·8· · ventilator function, for example, peak

·9· · inspiratory pressure, tidal volumes, how

10· · much -- if we're ventilating the patient, if

11· · the patient's been given assistance.· So we

12· · monitor that commonly.

13· · · · · I need to walk myself through a common

14· · case here for a second.

15· · Q.· · Take your time.

16· · A.· · Yeah, I think I mentioned blood pressure

17· · already.

18· · · · · There are more -- I'm not sure if you're

19· · referring to this, there are more evasive

20· · methods of blood pressure monitoring such as

21· · arterial waveforms and Swan-Ganz catheters, but

22· · they are not commonly used.· They are used in

23· · specialty cases.

24· · Q.· · What -- what types of anesthetic do you

25· · use, Dr. Van Norman, for patients who are



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·1· · undergoing surgery?· And let's leave cardiac

·2· · surgery to the side.

·3· · A.· · Oh, darn.

·4· · Q.· · Sorry, what was that?

·5· · A.· · Oh, darn.

·6· · Q.· · Yeah, we can come back to that in just a

·7· · moment.· So for your general surgeries, the

·8· · bread-and-butter ones that you outlined a

·9· · minute ago, what sorts of anesthetics do you

10· · generally use?· Not what sorts, what

11· · anesthetics do you normally use?

12· · A.· · It totally depends on the surgery and on

13· · the patient, and so I'd have to name a hundred

14· · different anesthetic techniques for you.· If

15· · you can be more specific of what you're

16· · referring to.

17· · Q.· · Just give me a couple of examples of

18· · common ones.· I mean, in 2019, you know, we're

19· · talking about 80 procedures per month, what

20· · were some of the ones on the top of the list?

21· · I'm not asking necessarily what the top was,

22· · just give me what those were.

23· · A.· · Well, for example, for bronchoscopy, we

24· · would use -- we generally used what's called

25· · TIVA, which is total IV anesthesia.· Not



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·1· · always.· The reason we use -- we sometimes use

·2· · volatile anesthetic agents, which are those

·3· · agents that you breathe in, the gases like

·4· · isoflurane, sevoflurane, desflurane.

·5· · · · · But sometimes -- often in those cases, we

·6· · are what's called sharing the airway with the

·7· · surgeon who's actually peering down a scope

·8· · into the patient's airway, and we don't want to

·9· · anesthetize the surgeon, as well, which would

10· · be counterproductive.· So we often will use

11· · what's called total IV anesthesia or TIVA, and

12· · that would consist usually of Propofol and

13· · together with a very potent narcotic,

14· · alfentanil or remifentanil or one of those with

15· · a muscle paralytic agent.

16· · Q.· · And what agents -- I'm sorry.

17· · A.· · I'm sorry, and that would -- that would

18· · be three drugs -- three main drugs we would

19· · use, but most general anesthetics don't just

20· · rely on those drugs.· There are also a number

21· · of other drugs that we're giving that affect

22· · the patient's depth of the anesthesia and

23· · responsiveness.

24· · · · · We are giving medications like Atropine

25· · and glycopyrrolate, which affect thinking,



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·1· · function.· We're giving the muscle relaxant

·2· · along with its antidotes at times.· We're

·3· · giving drugs like ephedrine that affect both

·4· · blood pressure and brain.· We give droperidol

·5· · in certain cases, which affect the brain's

·6· · perception of nausea and other issues.

·7· · · · · So, I mean, I could list -- the average

·8· · general anesthetic probably takes about six to

·9· · ten drugs in order to complete.· So the TIVA

10· · that I described, I've just described the very

11· · bare bones, but there's really a myriad of

12· · other drugs that also go in to orchestrating

13· · that anesthetic.

14· · Q.· · And for cardiac anesthesia, how does that

15· · differ?

16· · A.· · It doesn't -- it differs not

17· · significantly now.· It used to differ quite a

18· · lot.· Right now, people use a very similar

19· · array of drugs.· There are many more

20· · dopaminergic and norepinephrinergic medications

21· · that are used in the course of anesthesia for

22· · heart surgery that also affects arousal, things

23· · in the brain.

24· · · · · And the different -- part of the

25· · difference now -- well, in heart surgery is



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·1· · that some of the surgeries require use of the

·2· · cardiopulmonary bypass machine, and there is a

·3· · volatile agent that is given that way rather

·4· · than through the lungs, for example, and it's

·5· · administered by a different individual than the

·6· · anesthesiologist.

·7· · Q.· · And what would that agent be?

·8· · A.· · Depends on where you do the -- it's local

·9· · practice, so the agent would usually -- in our

10· · institution would either be sevoflurane or

11· · isoflurane.

12· · Q.· · And what agents do you use for the

13· · induction of anesthesia?

14· · A.· · Well, the induction of anesthesia is

15· · really the presurgical part of the anesthetic,

16· · and that can include any number of agents.

17· · · · · You know, patients -- first of all, it

18· · includes the patient's premedication, and that

19· · can include things like glycopyrrolate,

20· · depending upon the case to dry up the mouth if

21· · it's an ENT case.

22· · · · · We would give also probably a small dose

23· · of midazolam.· We would give narcotic.· And

24· · then in the -- and then as we continue to

25· · progress through the induction phase of the



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·1· · anesthesia, we may add on the volatile agents

·2· · and we may also add on a muscle paralytic

·3· · agent.

·4· · · · · Those are examples.· They are not

·5· · inclusive of all the drugs I could choose from.

·6· · I could use droperidol, for example.· I could

·7· · use any one of the high dose potent narcotics.

·8· · Q.· · You said small dose of midazolam.· What

·9· · would a small dose be?

10· · A.· · It's unusual for anyone to use more than

11· · 1 to 2 milligrams of midazolam.

12· · Q.· · And has that always been the case through

13· · the course of your practice?

14· · A.· · Well, not with the benzodiazepines, no.

15· · In -- when I did -- in the -- you're talking to

16· · an old anesthesiologist.· And when I trained in

17· · cardiac anesthesia, the standard anesthetic

18· · that we gave consisted of a high dose

19· · benzodiazepine.· In the beginning, it was

20· · Valium, which is closely related to midazolam,

21· · and about one -- about -- only slightly less

22· · potent.· They're almost equivalent.· And then

23· · that changed to midazolam briefly when

24· · midazolam was invented.· But that together with

25· · a high dose of potent narcotic -- in our case,



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·1· · it was fentanyl at the University of the

·2· · Washington, but many cardiac groups used

·3· · another drug called sufentanil.· We gave a high

·4· · dose muscle relaxant and we gave, in addition

·5· · to that, premedicant with a high dose potent

·6· · narcotic like morphine, high dose central

·7· · acting anticholinergic like scopolamine.

·8· · · · · And, boy, you're asking me to remember

·9· · back when, way back when, but again, you know,

10· · those other -- those other medications I've

11· · also mentioned that -- like dopaminergic

12· · medications and such that go along with also

13· · regulating the heart.

14· · Q.· · What's a high dose of Valium?

15· · A.· · Well, most people -- it depends on

16· · whether you're going to administer it by oral

17· · ingestion or IV ingestion.· Most of us would

18· · not prescribe for a patient who's not -- not

19· · around to take more than 5 or 10 milligrams of

20· · Valium orally.· If we gave that amount IV, we

21· · would see some pretty serious effects from it.

22· · But in the case of the cardiac surgeries that

23· · I'm talking about, we gave at least one

24· · milligram per kilo of volume.· So in a hundred

25· · milligram -- I'm sorry, hundred kilogram



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·1· · person, we would give a hundred milligram of

·2· · Valium IV.

·3· · Q.· · Which -- hundred kilograms is about what

·4· · in pounds?

·5· · A.· · It's 220 pounds.

·6· · Q.· · And you mentioned a couple times earlier

·7· · about relying on a ventilator.· Do you commonly

·8· · rely on a ventilator when you put someone under

·9· · anesthesia?

10· · A.· · It's -- it's -- yes and no.· I mean, yes,

11· · it's common, but it's also common to not

12· · require one.

13· · Q.· · And when is one required?

14· · A.· · Well, if we're going to give a muscle

15· · relaxant or a paralytic agent, we have to use

16· · the ventilator because the patient will not be

17· · able to breathe on their own.· And so, any case

18· · that requires paralyzing the patient will

19· · require some form of ventilation, whether by

20· · hand or by a ventilator.

21· · · · · With your permission, I'm going to refer

22· · to ventilation as being either one because it

23· · amounts to somebody else giving a breath to the

24· · patient.· And so, obviously, those we have to

25· · do -- use ventilation in.



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·1· · · · · There can be others in which the patient

·2· · has medical conditions and won't maintain their

·3· · own oxygenation well under spontaneous

·4· · ventilation, laying in a certain position on

·5· · their back or whatever, and so we may choose to

·6· · ventilate them during that time, even though

·7· · they're breathing.

·8· · · · · And if there's going to be surgery up

·9· · inside the airway, and that includes the face,

10· · the nose and the upper airway, we're pretty

11· · likely to want to ventilate them because we'll

12· · want to protect that airway from blood and

13· · secretions that could go down into the airway

14· · from the surgery itself.

15· · · · · Let's see.· There are certain types of

16· · patients we may want to ventilate even if the

17· · surgery by itself wouldn't require it.· A very,

18· · very heavy person, for example, somebody who

19· · weighs -- I shouldn't say very, very heavy

20· · person.· A heavy person might not have good gas

21· · exchange under anesthesia unless we assist

22· · their ventilation, so we might want to do it

23· · for that reason.

24· · · · · And then there are patients in which the

25· · surgery itself may affect breathing, so we'll



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·1· · want to ventilate them, like surgery on the

·2· · lungs themselves.

·3· · Q.· · And help me understand, did I hear you

·4· · correctly that each time you administer a

·5· · muscle relaxant, you also ventilate the

·6· · patient?

·7· · A.· · In some way, yes.

·8· · Q.· · Okay.· And those ways are either through

·9· · a machine or by hand?

10· · A.· · Yeah.· I mean, there are some esoteric

11· · ways to deliver it, but they would all be

12· · mechanical.· They aren't necessarily all

13· · through a traditional ventilator, but they do

14· · involve mechanical ventilation or hand

15· · ventilation by the anesthesiologist.

16· · Q.· · What -- can you go through the ways of

17· · mechanical ventilation for me?

18· · A.· · Sure.

19· · Q.· · I mean, how many are there?

20· · A.· · Oh, I mean, there are -- let me see if I

21· · can divide them into groups.· I mean, there are

22· · probably a hundred different ways to do it, but

23· · you're not interested in that, I assume.

24· · · · · Well --

25· · Q.· · So the -- well then, let me stop you



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·1· · right there, because I'm just trying to learn.

·2· · There's a -- are there a hundred different

·3· · machines to mechanically ventilate someone?· Is

·4· · that what you're saying?

·5· · A.· · No, I'm -- well, ventilators come in

·6· · hundreds of different varieties, but I'm just

·7· · going to call it a ventilator.· That's -- and

·8· · that's a machine that delivers a specific tidal

·9· · volume of gas to the patient or of -- yeah, gas

10· · because it's not usually room air, in measured

11· · intervals at certain times under certain

12· · desired pressures.

13· · · · · But there are other ways you can

14· · ventilate a patient.· You can use something

15· · called jet ventilation, for example.

16· · Q.· · And what's that?· I'm unfamiliar with

17· · that.

18· · A.· · Well, without -- the explanation might be

19· · too long to get too detailed, so let me see if

20· · I can summarize it.

21· · · · · In that, what we're doing is we're using

22· · a very small tube, usually a metal tube,

23· · through which we pass gas, air, at high

24· · velocity.· That tube is pointed down the airway

25· · and it will -- as that gas goes in, it will



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·1· · draw air into the chest from the atmosphere,

·2· · and the chest will expand, and then we can --

·3· · we can rhythmically do that, stop doing that

·4· · and allow the chest to fall.

·5· · · · · This is not the same as having a

·6· · ventilator push gas to the patient.· It doesn't

·7· · regulate how much gas goes in.· It would be a

·8· · common method of ventilation during some ENT

·9· · procedures that are looking at the vocal cords

10· · and whatever, where they don't want a tube in

11· · place.

12· · · · · We can also ventilate through a

13· · bronchoscope in a similar way.· So if a surgeon

14· · is using a bronchoscope down to look around the

15· · lungs, we can use a similar but not identical

16· · technique to ventilate -- partially ventilate

17· · the patient that way.

18· · · · · Is that what you wanted to know?

19· · Q.· · That's helpful, that's helpful.· Thank

20· · you.

21· · · · · Under what circumstances would you

22· · ventilate a patient by hand?

23· · A.· · I might ventilate them by hand if, for

24· · example, they only need help for a minute or

25· · two and I don't want to take -- I don't want to



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·1· · put them through the risk of putting a

·2· · breathing tube in.

·3· · · · · So let's say a patient is having a

·4· · surgery where the stimulus is rising and

·5· · falling pretty dramatically at different times

·6· · during the surgery.· So I have to have them --

·7· · I don't have them paralyzed because they don't

·8· · need it.· Obviously, if I'm going to -- in a

·9· · case like this, and --

10· · Q.· · In a case like what?

11· · A.· · Where the -- in a case like what I'm

12· · talking about.· I'm talking about when I'm hand

13· · ventilating.

14· · · · · So I might be hand ventilating -- you

15· · asked me instances, and one instance might be a

16· · surgical case in which I don't have them

17· · paralyzed, the stimulus is increasing and

18· · decreasing, and so, my medications are not --

19· · I'm not able to sync my medications very well

20· · with the stimulus, and there are times in which

21· · they are breathing less effectively.· I might

22· · put a mask on their face and hand ventilate

23· · them.

24· · · · · I might hand ventilate them also through

25· · cases in which -- that are very, very short.



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·1· · For example, the -- a quick case where an ENT

·2· · doc wants to just quickly take a look at the

·3· · vocal cords, we're not going to do anything

·4· · more than that, and to paralyze them and put a

·5· · breathing tube in would require -- then a

·6· · recovery time would be much longer than they

·7· · need.· So I would actually -- I might paralyze

·8· · the patient at that time and hand ventilate

·9· · them myself, give them a much lower dose of

10· · paralytic, hand ventilate myself, and then as

11· · soon as the surgeon is done, I can reverse them

12· · and they're breathing.

13· · · · · So there are also times in which a

14· · patient might just breathe inadequately for

15· · intrinsic reasons to the patient and they don't

16· · need full ventilation, they just need an

17· · occasional extra puff from me in addition to

18· · what they're doing, and I would ventilate them

19· · that way.

20· · · · · So those are some examples.· They aren't

21· · all-inclusive.

22· · Q.· · So do you often hand ventilate when a

23· · paralytic is administered?

24· · A.· · We often end up hand ventilating for a

25· · few minutes because, obviously, when we are



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·1· · doing a case with a paralytic being

·2· · administered, we give the paralytic before we

·3· · have the breathing tube in.· So if we're going

·4· · to put a breathing tube in, we have to give a

·5· · paralytic.

·6· · · · · And during the time that the paralytic is

·7· · taking effect, the person is unable to breathe

·8· · on their own.· And so, we would hand ventilate

·9· · them during that time.· And then once they were

10· · para -- once we had a degree of paralysis that

11· · would permit the intubation, we would put the

12· · tube in and put them on the ventilator.

13· · · · · So yes, hand ventilation is quite common

14· · in that situation.

15· · Q.· · How long does it take the paralytic to

16· · take effect?

17· · A.· · The timing of onset of paralytic depends

18· · on the agent, depends on the dose given, and

19· · depends on the route given.· So you'd have to

20· · give me a specific circumstance.

21· · Q.· · How long does it take vecuronium bromide

22· · to take effect?

23· · A.· · Again, it depends on the route -- since

24· · you've given me the agent, it depends on the

25· · route, how rapidly it's given and the dose



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·1· · that's given.

·2· · Q.· · So let's say it was delivered

·3· · intravenously.

·4· · A.· · Okay.

·5· · Q.· · Let's say it was 10 milligrams.· What

·6· · would be -- so let's step back.

·7· · · · · What would be a rapid infusion of

·8· · 10 milligrams intravenously of vecuronium

·9· · bromide?

10· · A.· · It would be to push the syringe as fast

11· · as you can, and that would probably take under

12· · one or two seconds.

13· · Q.· · And so, how long would it take the

14· · vecuronium bromide to take effect under that

15· · circumstance?

16· · A.· · Well, the -- that's a little bit of a

17· · high dose for clinical use, but it's close, so

18· · let's say it's a clinical dose.· We typically

19· · think of the -- the onset happens pretty

20· · quickly, but the maximal clinical effect will

21· · occur within about two to two-and-a-half

22· · minutes.

23· · · · · So you get paralysis -- you start to get

24· · paralysis immediately, but it doesn't take full

25· · effect for two to two-and-a-half minutes.· At



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·1· · higher --

·2· · Q.· · Is --

·3· · A.· · Sorry.

·4· · Q.· · No, I'm sorry.· Keep going.

·5· · A.· · The higher the dose, the faster the

·6· · maximum effect will occur.

·7· · Q.· · How -- okay.· So how quick can maximum

·8· · effect occur with vecuronium bromide?

·9· · A.· · Well, in clinical doses, clinical doses,

10· · it's been shown that if you give it rapidly

11· · enough, roughly a 10-milligram or 12-milligram

12· · dose will take effect within about 80 seconds,

13· · will have maximum effect within about

14· · 80 seconds.· But we know that the dose --

15· · there's a dose response curve in terms of

16· · achieving maximum effect.· So if you gave

17· · higher doses than that, it would happen more

18· · quickly.

19· · · · · I don't know of any clinical studies that

20· · have looked at supramaximal clinical --

21· · supramaximal dosage and could tell you, but it

22· · would certainly be under 60 seconds if you, for

23· · example, doubled the dose.

24· · Q.· · And what is the maximum clinical dose of

25· · vecuronium bromide?



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·1· · A.· · I don't know.· And again, the term

·2· · "maximum clinical dose of vecuronium" is a

·3· · little weird, so let me think about this for a

·4· · minute.

·5· · · · · I can give enough vecuronium, a clinical

·6· · dose, like 6 milligrams, 7 milligrams of

·7· · vecuronium that would completely paralyze the

·8· · patient.· It will give me a maximum clinical

·9· · effect, okay?· That's clinical dose.· So that

10· · will happen in two to two-and-a-half minutes.

11· · · · · If I give more vecuronium, I don't get --

12· · the maximum clinical effect is still total

13· · paralysis.· The maximum effect is the same.· So

14· · I can get that maximum effect with my 6 or --

15· · between 6 and 10 milligrams.· I'll just get it

16· · slower.

17· · · · · Does that make sense, what I just said?

18· · Q.· · Yes.

19· · · · · So let's quadruple that.· Let's say

20· · 24 milligrams was injected intravenously of

21· · vecuronium bromide, how quickly would you

22· · expect total paralysis to occur?

23· · A.· · I would expect total paralysis in under

24· · 60 seconds with that.

25· · Q.· · Okay.· And you've mentioned earlier, you



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·1· · know, there may be instances where you can

·2· · ventilate to avoid the risk of a breathing

·3· · tube.· Can you tell me what the risk of a

·4· · breathing tube is?

·5· · A.· · Well, the risk -- there are risks to

·6· · putting in a breathing tube.· The first is

·7· · that -- a failure to get the breathing tube in.

·8· · You plan -- you plan to paralyze the patient

·9· · and you can't get the tube in after they're

10· · paralyzed.

11· · · · · And so, a failure to intubate is an

12· · anesthesia emergency and it's a nightmare for

13· · us, because in most cases the patient was

14· · breathing fine on their own before we gave the

15· · muscle paralytic agent.· And so, if we can't --

16· · before -- if we can't either reverse the

17· · paralytic agent or get -- or achieve an airway

18· · in a different way, the patient will probably

19· · die.

20· · · · · So that's one risk, and it's a real risk.

21· · And we can't always predict when that will

22· · happen, but because of that, we do an extensive

23· · exam of the airway to make sure that we don't

24· · see obvious reasons why it would happen.

25· · · · · A second risk is that in between the time



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·1· · we give the muscle relaxant and we're waiting

·2· · for it to work -- muscle paralytic agent, and

·3· · they're waiting for it to work, in the time we

·4· · get the tube in, something happens to put

·5· · debris down the airway.· So the patient can

·6· · vomit or regurgitate, and those are two

·7· · different things, into the airway and contents

·8· · from the stomach can go down into the lungs and

·9· · cause an immediate inflammation and destruction

10· · of lung tissue, and that can then lead to death

11· · or pneumonia and serious illness.

12· · · · · It isn't always stomach contents that

13· · we're worried about.· It can also be blood, for

14· · example, that can happen, as well, but the

15· · typical one we worry about is stomach contents.

16· · And so, we tend to treat patients who have a

17· · risk for doing that, a known risk for doing

18· · that, differently in the way that we intubate

19· · them.

20· · · · · Then once -- the other risks of

21· · intubation are damage to the airway during

22· · intubation, which is not common, but it's not

23· · exceedingly rare, where the action of either

24· · putting the laryngoscope in or putting the tube

25· · in causes tearing, injury, bleeding, scarring



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·1· · in the airway.

·2· · · · · One of the common cases we take care of

·3· · at the University of Washington is subsequent

·4· · surgeries to deal with the scarring in a

·5· · damaged airway from a breathing tube.· And it

·6· · isn't that -- I want to emphasize it isn't that

·7· · that condition is common, but we are a center

·8· · that takes care of that kind of problem, so we

·9· · see the aftermath of that a lot.

10· · · · · And then there's risk in some patients

11· · that they may become dependant on a breathing

12· · tube and we will not be able to get the

13· · breathing tube out, that they will then require

14· · that breathing tube for an extended period of

15· · time to manage their breathing after surgery,

16· · or in the ICU that they may require it

17· · indefinitely.

18· · · · · So again, not an all-inclusive list of

19· · complications, but those should give you an

20· · idea of what they are.· So we don't take the

21· · idea of intubating someone lightly, and we do

22· · it only when it's indicated, when it's needed.

23· · Q.· · That's helpful.

24· · · · · Kind of jumping in a different direction

25· · off something you said, so is the hospital you



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·1· · work at -- do we call it the University of

·2· · Washington?· Is that kind of what you

·3· · colloquially referred to it as, or does it have

·4· · another name?

·5· · A.· · I'm -- where I specifically work is the

·6· · University Medical Center, since we have five

·7· · hospitals and each hospital is dedicated to

·8· · slightly different issues -- I shouldn't say

·9· · dedicated.· They have -- they have more --

10· · their cases have slightly different types.

11· · Q.· · Okay.· So University Medical Center, is

12· · that where you work?

13· · A.· · Yes.

14· · Q.· · Okay.· And it's associated with the

15· · University of Washington?

16· · A.· · Yeah.· It's the central hospital for

17· · University of Washington.

18· · Q.· · And has that -- since you started

19· · practicing there -- which was in the '80s; am I

20· · correct?

21· · A.· · Yeah.

22· · Q.· · Since you started practicing there, has

23· · it always been called University Medical

24· · Center?

25· · A.· · Yeah, University -- the full name is



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·1· · University of Washington Medical Center, and

·2· · it's been called that as long as I've been at

·3· · the university, which would be since 1973.

·4· · Q.· · Okay.· And at University Medical Center,

·5· · are there certain types of patients that you

·6· · specialize in or certain types of procedures

·7· · that are specialize in?

·8· · A.· · We do a lot of bread-and-butter cases and

·9· · a lot of neuro cases, but a large portion of

10· · the patients that we work with are cancer

11· · patients and cardiac patients.· So we do a lot

12· · of oncology procedures and heart procedures, as

13· · well.

14· · · · · And then in those bread-and-butter cases,

15· · the patients we're doing -- the patients we're

16· · taking care of will usually have those medical

17· · conditions.· We do have a smaller number of

18· · healthy outpatients.· We do have an outpatient

19· · surgery center up the street, for example, but

20· · the hospital proper generally deals with those

21· · kinds of patients.

22· · Q.· · So is it fair to say most of your

23· · patients have comorbidities?

24· · A.· · It's very fair to say that, yep.

25· · Q.· · And do you work at any other hospital,



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·1· · other than University Medical Center?

·2· · A.· · Not at this time, no.

·3· · Q.· · And you have in the past?

·4· · A.· · Yes.

·5· · Q.· · When was the last time you worked at

·6· · another hospital besides University Medical

·7· · Center?

·8· · A.· · Well, I mean, I've worked at other

·9· · hospitals.· The last other hospital I worked at

10· · was the -- a series of hospitals that was

11· · covered by the anesthesia group I worked in

12· · for -- called Pacific Anesthesia that I worked

13· · until 2008.

14· · · · · I've worked, however, also at the

15· · University -- at the Seattle Cancer Care

16· · Alliance operating rooms, which isn't

17· · technically a hospital.· It's a multispecialty

18· · medical clinic.

19· · Q.· · And what are the specialties at that

20· · medical clinic?

21· · A.· · It's a cancer hospital -- cancer medical

22· · center.· It's associated with the university.

23· · We have what's called SCCA, the Seattle Cancer

24· · Care Alliance, which is really a melding of the

25· · University of Washington with the old -- a



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·1· · place called the Fred Hutchinson Cancer

·2· · Research Center.· So it deals with cancer

·3· · patients from around the world.

·4· · Q.· · Other than what we've talked about so

·5· · far, presently do you have any other

·6· · medical-related employment?

·7· · A.· · No.

·8· · Q.· · Okay.· And in 2021, did you have any

·9· · other medical-related employment, other than

10· · what we've talked about?

11· · A.· · No.

12· · Q.· · Are you board certified, Dr. Van Norman?

13· · A.· · I'm board certified in both internal

14· · medicine and in anesthesiology.

15· · Q.· · And roughly how long have you been board

16· · certified in both those specialties?

17· · A.· · Thank you for saying roughly.· It's --

18· · Q.· · Decades?· We can stop at decades if

19· · that's the answer.

20· · A.· · The 1980s, let's say -- let's say that.

21· · It might be 1990 that I formally got my

22· · anesthesia board certification, but it would be

23· · in that time frame.

24· · Q.· · And do you belong to any professional

25· · associations, Dr. Van Norman?



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·1· · A.· · I belong currently to the Royal Society

·2· · of Medicine and also to the International

·3· · Academy of Law and Mental Health.· I don't

·4· · currently belong to any other professional

·5· · societies, but I have in the past.

·6· · Q.· · What is the Royal Society of Medicine?

·7· · A.· · It's sort of the equivalent of the AMA

·8· · for Great Britain.

·9· · Q.· · And how long have you been a member of

10· · the Royal Society?

11· · A.· · I'm not sure.· I'd have to look at my CV.

12· · It's been -- it's been quite a while, but I

13· · don't remember off the top of my head.

14· · Q.· · Do you practice medicine in Great

15· · Britain?· Can you explain why you're a member?

16· · A.· · It is kind of unusual, isn't it?

17· · · · · I don't practice in Great Britain, but

18· · they -- I have many close colleagues and, in

19· · fact, have trained some physicians, some

20· · anesthesiologists who practice in London.

21· · · · · The reason I belong to the society is

22· · it's a really dedicated historic and potent

23· · education society for medicine.· So their

24· · meetings are really about education and not --

25· · not as much political.· And so not only do I



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·1· · have very close colleagues and my own trainees

·2· · that belong to the society, but I've had --

·3· · I've -- for example, I've presented in London

·4· · for various meetings and things, and so I've

·5· · had dealings with them through that.

·6· · Q.· · And at one point, did you belong to the

·7· · American Society of Anesthesiologists?

·8· · A.· · I did, yes, I did for many years.· In

·9· · fact, I served for 19 years, I think it was, on

10· · the American Society of Anesthesiologists'

11· · committee on ethics and I chaired that

12· · committee.· I was in the SA leadership on that

13· · committee.

14· · Q.· · When did you cease to belong to the

15· · American Society of Anesthesiologists?

16· · A.· · I don't remember the exact year.· Again,

17· · it's a few years ago.· I want to say 2013 or

18· · so, but I -- it's on my CV if you want to look

19· · at it, yeah.

20· · Q.· · And why did you cease to belong or stop

21· · belonging to the ASA?

22· · A.· · The American Society of Anesthesiologists

23· · is a heavily political organization.· They do

24· · have educational meetings and sponsor them.

25· · And it's probably because being on the



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·1· · committee on ethics, I was exposed more to the

·2· · political side of the ASA than to the

·3· · clinical -- than probably many people ever get.

·4· · And they had a -- let's say they had a mission

·5· · that I just didn't agree with.

·6· · · · · And at the -- at the time, and I can't

·7· · speak to what their mission is now, I felt

·8· · heavily that we were pressured to put money

·9· · issues ahead of patient care.· And I didn't

10· · like that, I didn't feel it was appropriate.               I

11· · went -- I entered leadership in part to see if

12· · we could influence that, and it was a very

13· · frustrating time.

14· · · · · And so, eventually I decided that I --

15· · and a lot of the tuition -- not the tuition,

16· · the membership dues were quite high, meaning

17· · that I was giving a substantial amount of money

18· · to a political cause, and I really didn't agree

19· · with that.· So I withdrew for that reason.

20· · Q.· · And do you also teach medicine?

21· · A.· · I do.

22· · Q.· · Okay.· Are you a professor?

23· · A.· · I am.

24· · Q.· · Okay.· Are you a full-time professor or

25· · an adjunct professor?



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·1· · A.· · I'm a full professor of anesthesiology

·2· · and pain medicine.· I'm an adjunct professor of

·3· · bioethics.

·4· · · · · Adjunct -- I can't speak to what all

·5· · academic centers -- how they use the terms, but

·6· · at the University of Washington, you're a full

·7· · professor in the department that pays your

·8· · salary.· And then if you become a professor,

·9· · meaning you meet all the academic requirements

10· · and teaching requirements in an alternative

11· · department but that they don't contribute to

12· · your salary, you are an adjunct professor.

13· · · · · You have to go through the exact same

14· · vetting and voting for professorship in the

15· · non-home department as you would for your home

16· · department.· So every year, just like they do

17· · in my own department, they go through and

18· · review my CV and say, do we still want you in

19· · your non-home department as a full professor,

20· · so...

21· · Q.· · So let me break that down and just make

22· · sure I'm tracking.

23· · · · · Is your home department anesthesiology,

24· · and your non-home department is bioethics?

25· · A.· · Yes.· The home department -- the



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·1· · department that pays my salary is the

·2· · department of -- through which my salary flows.

·3· · There are actually a couple of funding sources

·4· · that -- but that's technical.

·5· · · · · My home department is the one through

·6· · whom my salary flows.· That's the Department of

·7· · Anesthesiology and Medicine.· But I carry the

·8· · adjunct appointment in bioethics because I meet

·9· · all of their standards for teaching and

10· · professor, and I participate actively in their

11· · department in teaching and publication, but

12· · they don't pay my salary.

13· · Q.· · Did you teach any bioethics classes in

14· · 2021?

15· · A.· · Yes, I have -- well -- yes, I regularly

16· · give lectures to both University of Washington

17· · undergraduates.· These are not medical school

18· · students.· There are some undergraduate

19· · bioethic -- medical bioethics courses to

20· · graduate students that also have a similar line

21· · of courses for their bioethics degree.· And I

22· · also give lectures and classes to our own

23· · residents in bioethics.· So yes, to all -- to

24· · all level -- all three levels.

25· · Q.· · When you say classes and lectures, are



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·1· · these isolated, like, one-time or weekend

·2· · things, or are these semester-long courses?

·3· · A.· · In the cases that I've mentioned, they --

·4· · it's kind of -- it's not one or the other.

·5· · · · · For example, I'm part of a continuing

·6· · lecture series in informed consent for

·7· · undergraduates.· So I give that lecture once or

·8· · twice a year, but it's part of a continuing

·9· · course.

10· · · · · In case of the anesthesia residents, we

11· · have a series of bioethics lectures that I give

12· · over time to them.· So while they're not given

13· · in a specific semester, there's a specific set

14· · of courses that they get.· In fact, I'm

15· · supposed to teach one Thursday night.· We do

16· · night -- these days with the pandemic, we do

17· · night classes.· So I'm supposed to teach one on

18· · Thursday night.

19· · Q.· · Are those classes online, or are you --

20· · A.· · Well, we do them by Zoom.· They're -- we

21· · don't meet together, but it's -- it's like a

22· · classroom, but it's on Zoom.

23· · Q.· · Okay.· How long have you taught medical

24· · ethics?

25· · A.· · Since at least the mid '90s.· The mid



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·1· · '90s, yeah.

·2· · Q.· · Have you delivered any lectures on

·3· · whether physicians should participate in lethal

·4· · injection?

·5· · A.· · I have, and I've participated in debates,

·6· · yeah.

·7· · Q.· · About how many lectures and debates would

·8· · you estimate you've participated in?

·9· · A.· · Total or on that topic?

10· · Q.· · On that topic, on whether physicians

11· · should participate in lethal injection

12· · executions.

13· · A.· · I think over the course of my career,

14· · perhaps three.

15· · Q.· · And do you have an opinion on whether

16· · physicians should participate in lethal

17· · injection?

18· · A.· · I do.

19· · Q.· · What is that position?

20· · A.· · My position is the same as the American

21· · Society of Anesthesiologists, the AMA and the

22· · American Board of Anesthesia, physicians

23· · shouldn't participate in lethal injection.

24· · Q.· · And why is that?

25· · A.· · You want the whole lecture?



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·1· · Q.· · Give me the CliffsNotes.· Just give me a

·2· · couple bullet points.

·3· · A.· · The CliffsNotes are this, that neither

·4· · lethal injection nor any form of execution

·5· · requires physician participation.· They don't

·6· · require anyone who is trained in medicine to

·7· · use their medical skills to accomplish them,

·8· · number one.

·9· · · · · And number two, there is a high concern

10· · that when physicians start to actually

11· · participate and use their medical skills, they

12· · violate the primary oaths of being -- of

13· · wanting to, you know, benefit patients.

14· · Prisoners are not patients, and executions are

15· · not medical procedures.· And so, using medical

16· · skills to participate in nonmedical procedures

17· · is unethical.

18· · · · · In addition, there is a real tendency for

19· · that participation to affect professional and

20· · lay trust in the medical profession.· For that

21· · reason, all of the western medical societies,

22· · all western medical societies, and by that I

23· · mean European and American, condemn physician

24· · participation in lethal injection; although all

25· · of them also take the stance that they make



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·1· · no -- they take no opinion on lethal injection

·2· · itself.· They just argue with whether a

·3· · physician should be participating.

·4· · Q.· · Have you ever witnessed an execution,

·5· · Dr. Van Norman?

·6· · A.· · I have not.

·7· · Q.· · And do you have any blogs,

·8· · Dr. Van Norman?

·9· · A.· · I do not.

10· · Q.· · Have you --

11· · A.· · Well --

12· · Q.· · Oh.

13· · A.· · I was going to -- if you're going to ask

14· · me did I ever have any blogs, I used to write

15· · some poetry and I had a blog back in the '90s.

16· · Please don't go look it up.

17· · Q.· · We will not.

18· · · · · Have you ever had any blogs that are

19· · related to your professional experience?

20· · A.· · No, I have not.

21· · Q.· · And are you on social media,

22· · Dr. Van Norman?

23· · A.· · I exchange free items on Buy Nothing

24· · Magnolia on Facebook, and I occasionally

25· · communicate with friends that way.



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·1· · · · · I think I have a Twitter account, but I

·2· · don't use it.· It irritates the heck out of me.

·3· · I never check it.

·4· · · · · I don't have a Snapchat or anything like

·5· · that.

·6· · Q.· · Safe to say no TikTok?

·7· · A.· · No, although I will say when I see a

·8· · TikTok posted on CNN that's funny, I will look

·9· · it up.

10· · Q.· · Understood.

11· · A.· · But no, I -- so Facebook, but not even

12· · really that.· I don't do a lot of -- I don't do

13· · a lot of that, other than with a handful of

14· · friends where we sometimes will use their

15· · messaging function to say, what's up, you know.

16· · · · · · · MR. MITCHELL:· Can we go off record

17· · real quick?

18· · · · · · · MR. KURSMAN:· Do you want to go off

19· · the record and discuss something with me,

20· · Mr. Mitchell, or do you just want to go off the

21· · record for a few minutes?

22· · · · · · · MR. MITCHELL:· I just wanted to go

23· · off the record and go on a ten-minute break.

24· · · · · · · MR. KURSMAN:· Oh, yeah.· Sure.

25· · Absolutely.



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·1· · · · · · · MR. MITCHELL:· That was it.

·2· · · · · · · (Short break.)

·3· · BY MR. MITCHELL:

·4· · Q.· · Dr. Van Norman, we just got back from

·5· · break.· Did you speak with anyone during the

·6· · break?

·7· · A.· · I spoke for a few seconds with

·8· · Mr. Kursman.

·9· · Q.· · What did you speak with Mr. Kursman

10· · about?

11· · A.· · Just checked in to see if there's

12· · anything either of us needed.· It wasn't a long

13· · conversation, just a few seconds.

14· · Q.· · Was there anything Mr. Kursman needed?

15· · A.· · No.

16· · Q.· · Was there anything you needed?

17· · A.· · Nope.

18· · Q.· · Did you speak about anything else with

19· · Mr. Kursman?

20· · A.· · Nope.

21· · Q.· · Did you speak with anyone else during the

22· · break?

23· · A.· · No, there's no -- no one here.

24· · Q.· · Did you review anything during the break?

25· · A.· · No.



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·1· · Q.· · Did you prepare an expert report in this

·2· · case, Dr. Van Norman?

·3· · A.· · I did.

·4· · Q.· · And is this a copy of your expert report

·5· · in this case?

·6· · A.· · It appears to be, yes.· Obviously, I --

·7· · you'd have to scroll through the whole thing,

·8· · but I think it is, yeah.

·9· · Q.· · Do you see the date, November 17th, 2021?

10· · A.· · I do.

11· · Q.· · And prepared for Alex Kursman?

12· · A.· · I do.

13· · Q.· · And is that your signature on Page 34?

14· · A.· · It is.

15· · Q.· · Also dated November 17th of '21?

16· · A.· · Yep, that's correct.

17· · · · · · · MR. MITCHELL:· Can we mark this as

18· · Exhibit 2, please.

19· · · · · · · (WHEREUPON, a document was marked as

20· · Exhibit Number 2.)

21· · BY MR. MITCHELL:

22· · Q.· · Did you review this report prior to

23· · submission, Dr. Van Norman?

24· · A.· · Yes.

25· · Q.· · Okay.· Did you draft this report from



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·1· · scratch or did you rely on any previous expert

·2· · reports you've used?

·3· · A.· · I drafted it from scratch, but it may

·4· · contain similar statements to previous reports

·5· · I've submitted.

·6· · Q.· · Okay.· What prior reports would those be?

·7· · A.· · I had an expert report submitted for a

·8· · case in Mississippi and one in Arkansas.

·9· · Q.· · Were those lethal injection -- were those

10· · cases involving challenges to state lethal

11· · injection procedures?

12· · A.· · They were.· I'm just -- I'm trying to

13· · remember if Arkansas was actually a federal

14· · case or not, but I believe they were all state.

15· · Q.· · And those two cases were Mississippi and

16· · Arkansas?

17· · A.· · That's correct.

18· · Q.· · Have you participated in any other cases

19· · in which execution procedures were challenged?

20· · A.· · Yes.

21· · Q.· · How many other cases?

22· · A.· · Two or three, I believe.· Not more than

23· · three, it might just be two.

24· · Q.· · And where were those other cases?

25· · A.· · Well, one of them was an ongoing case on



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·1· · the -- regarding the federal execution protocol

·2· · and not a state case.· It was about the

·3· · execution protocol itself.· And then the other

·4· · one I'm remembering was a report prepared for a

·5· · Florida case.

·6· · Q.· · I'm sorry, can you say that one more

·7· · time, a what?

·8· · A.· · I did prepare a report for a Florida

·9· · case.

10· · Q.· · And do you remember when that was?

11· · A.· · You know, I don't.· It would have been

12· · several years ago.· It wasn't -- it's not -- it

13· · wasn't this year.

14· · Q.· · It wasn't in 2022?

15· · A.· · Oh, no, it wasn't in 2022.· I haven't

16· · done any -- submitted any expert reports in

17· · 2022.

18· · Q.· · Would it have been in 2021?

19· · A.· · You know, I'm trying to remember if

20· · they -- if -- it's -- I think I was asked for

21· · an update on a report in 2021, but it might

22· · have been 2020.· I'm not sure of the year on

23· · it.

24· · Q.· · And this would be the Florida litigation?

25· · A.· · That's correct, yeah.



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·1· · Q.· · Have you testified as an expert in 2022

·2· · beside this deposition?

·3· · A.· · No.

·4· · Q.· · Did you testify as an expert in 2021?

·5· · A.· · I testified in January of 2021 in the

·6· · federal case that I mentioned in a -- the D.C.

·7· · District Court of Appeals.

·8· · Q.· · Going back to this Exhibit 2, your expert

·9· · report in this case, did you personally sight

10· · check this document before submitting it?

11· · A.· · Yes.

12· · Q.· · Okay.· When did you perform that sight

13· · check?

14· · A.· · It would have been before submitting it.

15· · I don't know the date.

16· · Q.· · Do you know, Dr. Van Norman, if this

17· · Footnote 7 still works?

18· · A.· · It did at the time.· And, in fact, then I

19· · actually submitted a package -- you know, the

20· · package materials that you asked for to

21· · Mr. Kursman, in which I had gone through and

22· · checked all of the links that I used in this,

23· · and they were all active at the time.

24· · Q.· · So roughly within the last 60 days, this

25· · link would have worked?



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·1· · A.· · It should have, yes.· And I personally

·2· · checked that, yes.

·3· · Q.· · And it says access June 14th, 2018?

·4· · A.· · Yeah, I didn't update that report because

·5· · that's when I first accessed it for the report,

·6· · but I personally checked all of the links on

·7· · this report when I went through to gather the

·8· · materials that you subpoenaed me to supply.

·9· · Q.· · So just to make sure I'm following, for

10· · this report that you built from scratch, you

11· · first accessed it in June of 2018?

12· · A.· · Well, yes.· I see what you're saying.

13· · This probably was carried over.· As I

14· · mentioned, I -- the report itself, but the

15· · citations I have also used in other reports.

16· · And so it was accessed in 2018, but it was

17· · active within the last 60 days.

18· · Q.· · Okay.· Okay.

19· · · · · What questions did Plaintiff's counsel

20· · engage you to answer as an expert witness in

21· · this case?

22· · A.· · Well, can you scroll back up to the top

23· · of the report, please?

24· · Q.· · Just tell me when to stop.· Do you want

25· · me to go first -- let's go to the first page,



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·1· · and then I'll scroll down.

·2· · A.· · First page and then come down a little

·3· · bit, because I think I listed them pretty

·4· · carefully.· If I didn't, I'll go through and

·5· · say -- go ahead.

·6· · · · · Okay.· Well, the questions I was

·7· · specifically asked to address were whether

·8· · midazolam is an anesthetic and whether -- and

·9· · to talk about the effects of midazolam, both

10· · clinically and in inmates in which a large dose

11· · of midazolam is being given.

12· · · · · Scroll down for a moment, please, just so

13· · I can see the statements, because they usually

14· · address the questions they have.

15· · · · · I was asked whether midazolam has a

16· · ceiling effect, whether the consciousness

17· · checks used during the Tennessee protocol are

18· · valid.· I was asked whether vecuronium is an

19· · anesthetic.· I was asked what would happen if

20· · someone who was sensate was given a large dose

21· · of vecuronium.

22· · · · · Can you scroll down, please, a little bit

23· · further.· Just go a little further, please.

24· · · · · I was also asked about the effects of

25· · injecting undiluted potassium into the veins of



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·1· · a sensate person.

·2· · · · · Can you please scroll a little further.

·3· · · · · And I was asked to address some of the

·4· · movements that are being seen and reported by

·5· · eyewitness reports of executions.· That is --

·6· · the big question I was asked to review was the

·7· · effects in a clinical and during the protocol.

·8· · I distinguish clinical from the protocol itself

·9· · because of both the circumstances in dosing of

10· · midazolam.

11· · Q.· · Were you engaged to answer any other

12· · questions other than what you've mentioned?

13· · A.· · I don't think so.· If I -- I don't think

14· · so.· It may come up in the course of our

15· · discussion, but those are the ones that I

16· · recall being asked.

17· · Q.· · When were you retained as an expert in

18· · this case, Dr. Van Norman?

19· · A.· · If you can go back and look at the

20· · contract I sent you, it would be the first day

21· · of the first contract.· I don't remember the

22· · date.

23· · Q.· · Okay.· Was it in 2021?

24· · A.· · I believe so, yes.· It might have been

25· · late 2020, but it would be that or, you know,



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·1· · early 2021.

·2· · Q.· · And is this Appendix 3 to your report a

·3· · list of materials that you relied upon and/or

·4· · reviewed in preparing this report?

·5· · A.· · Yes -- scroll down a little bit, let me

·6· · just see.

·7· · Q.· · Sure.· I can scroll to the bottom of the

·8· · appendix and then come back up if --

·9· · A.· · That might be easier, if you don't mind.

10· · Q.· · So I believe this is the bottom of the

11· · appendix on Page 62, because Page 63 starts a

12· · new document.

13· · A.· · Yeah, okay.· Go -- yeah.

14· · Q.· · Tell me when to scroll down.

15· · A.· · Well, here -- what I'll tell you is that

16· · this is a list of materials that were supplied

17· · to me by the Plaintiff's attorneys.· So I did

18· · rely upon them, but they are not the only

19· · things I relied upon.

20· · Q.· · So what did you rely on that's not on

21· · these two pages?

22· · A.· · Well, I include on these two pages things

23· · like I reviewed -- I reviewed the eyewitness

24· · reports of executions.· I also looked at

25· · autopsy reports.



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·1· · · · · I have a -- I had a file of 309 autopsies

·2· · of prisoners executed in the United States by

·3· · lethal injection through the -- September, I

·4· · believe, of 2020.· And I reviewed autopsy

·5· · findings for those prisoners who had been

·6· · executed using midazolam that appeared in my

·7· · files at that time.· So that is an additional

·8· · set of materials that you've been supplied

·9· · with.

10· · · · · And I also -- obviously, I'm aware of a

11· · wide range of published articles, reviews,

12· · textbooks, things like that that I also

13· · reviewed that I didn't -- I don't necessarily

14· · explicitly list in this appendix.

15· · Q.· · So do you have a file of 309 autopsies of

16· · prisoners executed by lethal injection?

17· · A.· · I do.

18· · Q.· · And did you receive that from Plaintiff's

19· · counsel?

20· · A.· · I did not.

21· · Q.· · Did you provide that to Plaintiff's

22· · counsel?

23· · A.· · I provided to -- not all of those

24· · prisoners' files are relevant to this case

25· · because they don't involve the lethal injection



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·1· · protocol, but I have supplied to counsel all of

·2· · the files that I used and relied upon in this

·3· · case.

·4· · · · · · · MR. MITCHELL:· And, Alex, is that

·5· · what you provided this morning?

·6· · · · · · · MR. KURSMAN:· Yes, Rob, just for the

·7· · record, that is what we provided to you this

·8· · morning.

·9· · · · · · · MR. MITCHELL:· Okay.

10· · BY MR. MITCHELL:

11· · Q.· · Dr. Van Norman, how many autopsy reports

12· · did you review for this case?

13· · A.· · I'd have to look at the report.              I

14· · actually did a review -- I believe it was of 25

15· · autopsy reports, 23 of which were relevant to

16· · this -- were relevant to my report.

17· · Q.· · And is that this Appendix 4?

18· · A.· · Is that 25 there?· It should be, yes, but

19· · let's -- let's make sure that's the 25.

20· · · · · And can you tell me -- let's see, 3, 6,

21· · 9, 12, 15, 18, 21 -- sorry, 3, 6, 9, 18, 21,

22· · 24, 25.· Yes, so that is it.

23· · Q.· · So Appendix 4 is a list of the 25 autopsy

24· · reports you reviewed for this case?

25· · A.· · That is correct.



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·1· · Q.· · And you'll see, I mean, in the appendix,

·2· · it does say autopsy files in the --

·3· · A.· · Oh, that was cut off at the top.              I

·4· · didn't see that, so I'm sorry.

·5· · Q.· · I'm sorry, that wasn't a trick question.

·6· · A.· · No, I just -- I didn't see the end of it

·7· · and realized that was the appendix.· So, okay,

·8· · go ahead.

·9· · Q.· · So how did you receive these 309 autopsy

10· · files or autopsy reports?

11· · A.· · I -- this file was -- is a file that was

12· · obtained by the Freedom of Information Act by

13· · Noel Caldwell for NPR, and he has a G-drive of

14· · these autopsy files and he simply gave me

15· · access to them.

16· · Q.· · Okay.· Do you know -- so do you know Noel

17· · Caldwell?

18· · A.· · I do not.

19· · Q.· · How did Noel Caldwell give you access?

20· · A.· · It's a little bit of a long story.

21· · Around the time that he was writing an article

22· · for NPR, his office contacted me for an

23· · interview, which I refused to give.· And he --

24· · in the contact, they mentioned that they had

25· · the files, and through them and the fact that



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·1· · these were also -- well, it was through them

·2· · and through an attorney involved in one of my

·3· · other cases that I received access to the

·4· · files.

·5· · Q.· · Now, do you know which drugs were used in

·6· · each of these executions for these different

·7· · states in Appendix 4?

·8· · A.· · All of them used midazolam.· I would have

·9· · to go through -- I did not compile which of

10· · them used -- if all of them used vecuronium or

11· · if all of them -- or if some of them used

12· · rocuronium.· And then all of them used

13· · potassium.

14· · Q.· · And do you know whether the dosages were

15· · the same for all of these different states with

16· · all those different drugs?

17· · A.· · My recollection looking at it right now

18· · is that the doses were the same -- were the --

19· · yes, that the doses were the same.· I don't

20· · remember, again, for vecuronium versus

21· · rocuronium, but the midazolam dose was

22· · 500 milligrams in each of these.

23· · Q.· · Was the potassium chloride dosage the

24· · same in each of these executions?

25· · A.· · I don't specifically recall, but I



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·1· · believe it was.· I just -- at this moment, as

·2· · we're talking, I don't recall.· Most --

·3· · Q.· · Does that matter?

·4· · A.· · No.

·5· · Q.· · Why not?

·6· · A.· · Because in all cases, the dose of

·7· · potassium given in these executions was a fatal

·8· · dose and was supramaximal.

·9· · Q.· · What is a fatal dose of potassium

10· · chloride?

11· · A.· · You mean what is the actual fatal dose or

12· · what were the actual doses in these cases?

13· · Q.· · What is the actual fatal dose?

14· · A.· · Well, it depends -- I'm going to go back

15· · to clinical pharmacology.· It depends on how

16· · it's given and into what vein.· A relatively

17· · small dose of potassium can be fatal if given

18· · into a central vein, but what I'm saying is

19· · that there was a minimum of 150 milligram --

20· · milliequivalents of potassium given into a

21· · peripheral vein, which would be fatal.

22· · · · · We would not ordinarily give more than 40

23· · milliequivalents through a peripheral vein,

24· · concerned that it would cause a fatal cardiac

25· · arrythmia.· But I don't know an -- I can't give



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·1· · you an absolute number because it depends on

·2· · circumstances and how it's injected.

·3· · Q.· · What circumstances does it depend on?

·4· · A.· · How rapidly it's injected, which vein

·5· · it's injected in and how dilute it is.

·6· · Q.· · Does it depend on any other

·7· · circumstances?

·8· · A.· · Give me a "for instance."

·9· · Q.· · Well, I'm asking you.· I'm not sure if

10· · there are, but I'm just curious if there are

11· · other circumstances in which the fatality of a

12· · dosage of potassium chloride delivered

13· · intravenously would hinge on --

14· · A.· · Well, clinically, and I'm not talking

15· · about executions now, I'm talking about

16· · clinically, the dose that would be fatal would

17· · also depend on the potassium level that the

18· · patient already intrinsically has.· So there

19· · are some clinical conditions that lead to acute

20· · rises in potassium, and it would take a much

21· · smaller dose then to cause a cardiac arrest by

22· · adding potassium to that.

23· · · · · Cardiac -- I'm sorry.

24· · Q.· · What were you going to say,

25· · Dr. Van Norman?



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·1· · A.· · I was just going to say that cardiac

·2· · arrest depends on the level of potassium in the

·3· · system.· And so, if you already have a high

·4· · level of potassium, it doesn't take as much to

·5· · get -- to get to a fatal level in the system.

·6· · Q.· · Do you know -- going back to Noel

·7· · Caldwell, do you know whether Noel Caldwell

·8· · made one Freedom of Information Act request or

·9· · a number of different Freedom of Information

10· · Act requests?

11· · A.· · I do not -- I do not know.

12· · · · · · · MR. KURSMAN:· Yeah, objection to

13· · form.

14· · · · · · · MR. MITCHELL:· What's the basis for

15· · your objection, Alex?

16· · · · · · · MR. KURSMAN:· Just that it's calling

17· · for hearsay information.

18· · BY MR. MITCHELL:

19· · Q.· · Dr. Van Norman, have you ever been

20· · present when an autopsy was performed?

21· · A.· · Certainly, yes.

22· · Q.· · And have any of those autopsies you were

23· · present for been when someone was executed?

24· · A.· · No.

25· · Q.· · And is this -- Appendix 5 to your report,



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·1· · I believe it's two pages, is this a log of --

·2· · or is this a table compiling logs of

·3· · executions?

·4· · A.· · Yes.

·5· · Q.· · Did you put this log together or this

·6· · table together, we'll call it?

·7· · A.· · This is a -- yes.

·8· · Q.· · When did you compose this table?

·9· · A.· · I don't remember exactly when.· It's

10· · recently.

11· · Q.· · Like in 2021?

12· · A.· · Oh, yes.· I'm sorry, yes.

13· · Q.· · For this expert report?

14· · A.· · Correct.

15· · Q.· · Okay.· Did anyone help you compose this

16· · table?

17· · A.· · No.

18· · Q.· · And did you review each of these logs on

19· · Pages 64 and 65 of your report in anticipation

20· · of creating this table?

21· · A.· · I did.

22· · Q.· · Did you review these logs for any other

23· · litigation?

24· · A.· · No.

25· · Q.· · Does this data affect your report that's



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·1· · contained in these logs in Appendix 5?

·2· · A.· · It does, yes.

·3· · Q.· · How does it affect your report?

·4· · A.· · In terms of understanding -- it affected

·5· · my analysis of the questions I was asked

·6· · because among the data that's contained here is

·7· · included the injection times of the various

·8· · drugs, together with the timing of cardiac

·9· · arrest, the time -- not just the time of

10· · declared death but the time of witnessed

11· · cardiac arrest when it happened.

12· · · · · This also contains information about

13· · approximately when the so-called consciousness

14· · checks occurred during the execution process

15· · and how long between the end of the first

16· · injection and the second injection started, so

17· · how long the time frame was between the

18· · injection of the first drug, the finish of the

19· · first drug injection, the timing of the

20· · consciousness check and the beginning of the

21· · second drug, which was vecuronium.· Drug two is

22· · vecuronium, by the way.

23· · · · · And I was asked, for example, whether --

24· · about potassium, injection of potassium and

25· · timing of death and whether vecuronium hastened



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·1· · death.· That was an additional question I was

·2· · asked to address that I forgot in your previous

·3· · question.· And the timings on this table helped

·4· · to illustrate my answer -- the reasoning for my

·5· · answers for them.

·6· · Q.· · How many inmates are on this report?· And

·7· · I can scroll whenever you ask me to.

·8· · A.· · Count them out, 3, 6 -- sorry.· I -- my

·9· · glasses don't do as well with the computer.· 3,

10· · 6, 9.· Go ahead.· 12, 15, 18, 21 or 22.

11· · Q.· · Okay.· And this isn't the same list as

12· · Appendix 4, is it?

13· · A.· · That is correct; it is not the same list.

14· · Q.· · Okay.· For instance, there's three

15· · inmates from Ohio here?

16· · A.· · Correct.

17· · Q.· · And if we scroll up to Appendix 4,

18· · there's no Ohio executions; is that correct?

19· · A.· · That's correct.

20· · Q.· · Likewise, Appendix 4 has three inmates

21· · from Arkansas?

22· · A.· · I assume so.· I mean, we can look at it.

23· · Looks like it's three there, might -- could be

24· · four, yeah.

25· · Q.· · And you see the first four are Arkansas



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·1· · here in Appendix 5?

·2· · A.· · Correct.

·3· · Q.· · Okay.· Now, going up to Appendix 4, from

·4· · the autopsy files, were you able to tell which

·5· · inmates had a heartbeat at the time of the

·6· · potassium chloride administration?

·7· · A.· · I was not, from the autopsy files.

·8· · Q.· · Okay.· Were you from the execution logs?

·9· · A.· · Yes.

10· · Q.· · How so?

11· · A.· · Well, in the execution logs, there were

12· · two different kinds of notation -- well, two or

13· · three different kinds of notations made.· In

14· · many cases, notice where I say "witnessed

15· · cardiac arrest."· That second to the last

16· · column from the right says, "Witnessed cardiac

17· · arrest or declaration of death."

18· · · · · And when I say "CA," it's -- that's when

19· · this is witnessed, and what we say is the --

20· · and the "D" is for declaration of death.

21· · · · · So not only through those logs at times

22· · did people say "the heart has stopped," "the

23· · heart has ceased," "cardiac arrest" or some

24· · other statement as to the moment that that

25· · occurred, but there was also an official time



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·1· · of death put on those logs.

·2· · · · · And I've noted where the -- and

·3· · sometimes -- sometimes one was present but not

·4· · the other, and sometimes both were present.· So

·5· · you can read that column and see which -- where

·6· · there were eyewitness reports of the stoppage

·7· · of the heart, and there were eyewitness reports

·8· · of the declaration of death.

·9· · Q.· · So, for instance, if we look here at

10· · Thomas Knight, third from the bottom, where it

11· · says "D," is that when death was pronounced?

12· · A.· · I believe so.· I'd have to look back at

13· · that log, but that's -- that's what that's

14· · intended to mean.

15· · Q.· · Okay.

16· · A.· · And you can see here, if you look, the

17· · end of the injection of drug three, which is

18· · potassium, was 2,000 -- was 8:14.· Time of

19· · death was 8:17.· And the time from the end of

20· · potassium to either one of these is three

21· · minutes, so that would be the declaration of

22· · death.

23· · Q.· · Okay.

24· · A.· · Yeah.

25· · Q.· · Give me just a moment.



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·1· · · · · So, Dr. Van Norman, looking here at

·2· · Page 28 of your report, you talked about

·3· · Appendix 4, which is the 22 prisoner log of

·4· · autopsy files you reviewed, and you said, "In

·5· · every single case, the prisoner was still alive

·6· · and had a heartbeat at the time of potassium

·7· · chloride administration."

·8· · A.· · I'm sorry, say that again for me.

·9· · Q.· · Sure.

10· · · · · I'm looking at this -- this second

11· · sentence on Page 28 of your report.

12· · A.· · Uh-huh.

13· · Q.· · It says, "In every single case, the

14· · prisoner was still alive and had a heartbeat at

15· · the time of potassium chloride administration."

16· · Did I read that correctly?

17· · A.· · You did.

18· · Q.· · And that's for Appendix 4, the log of 22

19· · prisoners?

20· · A.· · Go back, that might be a misprint.· Can

21· · you show me Appendix 4 again?· I might have had

22· · a misprint there that I missed.

23· · Q.· · This is Appendix 4.

24· · A.· · And that's the autopsies.· No, that

25· · should have been Appendix 5 then, I think.



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·1· · That -- I think that was a typo.

·2· · · · · · · MR. KURSMAN:· And can I interject for

·3· · a second, Rob?· You -- someone from your office

·4· · sent Exhibit 2 to myself and co-counsel, being

·5· · Dr. Van Norman's report.· It did not -- this

·6· · e-mail did not go to Dr. Van Norman.· So what I

·7· · will do is I will forward it to her so she can

·8· · scroll through while talking to you.

·9· · · · · · · MR. MITCHELL:· Sure.

10· · · · · · · MR. KURSMAN:· Okay.

11· · · · · · · MR. MITCHELL:· Do we want to take a

12· · break for a second for Dr. Van Norman to -- I

13· · don't know if her e-mail's up so she can open

14· · the report and have it in front of her?

15· · · · · · · THE WITNESS:· I think I can open it.

16· · Give the e-mail a moment to come through, so...

17· · · · · · · MR. MITCHELL:· And, Alex, if -- we

18· · don't have Dr. Van Norman's e-mail, to the best

19· · of my knowledge.· If you want us to e-mail her

20· · directly, we can, but we didn't want to

21· · communicate with her without your blessing,

22· · so...

23· · · · · · · MR. KURSMAN:· Well, how about we just

24· · keep doing it you send it to us, and then I'll

25· · just notify you that I'm forwarding it to her.



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·1· · So I did forward it to her.

·2· · · · · · · THE WITNESS:· Yeah, let -- sorry.

·3· · Let me check and see if it's come through.

·4· · · · · · · MR. MITCHELL:· Okay.

·5· · · · · · · THE WITNESS:· It often takes a couple

·6· · minutes.· Yeah, looks like it has.· Give me a

·7· · moment to download.

·8· · · · · · · All right, I have it up.· Let me

·9· · clean up my screen here.

10· · · · · · · And now, I'm going to just

11· · superimpose the report right over the screen

12· · where you have the report.· And if you tell me

13· · where we want to -- you want me to direct my

14· · attention, I'd be happy to scroll to it.

15· · BY MR. MITCHELL:

16· · Q.· · Sure.· Page 28, please.

17· · A.· · Okay.

18· · Q.· · Do you see -- there's a sentence we

19· · talked about a second ago, the sentence that

20· · says, "In every single case, the prisoner was

21· · still alive and had a heartbeat at the time of

22· · potassium chloride administration."

23· · A.· · Yes.

24· · Q.· · And I think we've established that that

25· · was actually Appendix 5, not Appendix 4 that



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·1· · you meant.

·2· · A.· · I think so.· Let me just, now that I can

·3· · scroll, take a quick look, if you don't mind,

·4· · but I think that's just a typo.

·5· · · · · Yes, I -- that's -- that has to be a typo

·6· · because the logs are Appendix 5.

·7· · Q.· · And so, for instance, looking at the

·8· · Arkansas executions, the first four in

·9· · Appendix 5, how do we know -- or how do you

10· · know that there was a heartbeat at the time the

11· · potassium chloride was administered?

12· · A.· · I confess, in those cases, I don't have a

13· · timing for the third drug, so I can't state for

14· · sure, although it would certainly be

15· · nonsensical to inject potassium into a patient

16· · who is dead.· But I -- I admit that I don't --

17· · now that you asked me, I notice that the third

18· · drug doesn't have a start and stop time.

19· · Q.· · So would you agree that on Page 28, your

20· · statement "in every single case, the prisoner

21· · was still alive and had a heartbeat at the time

22· · of potassium chloride administration," that is

23· · not reflected by the data you reviewed?

24· · A.· · I agree that the data reflects that in

25· · every single case where the timing of the third



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·1· · drug is noted, the patient had a heartbeat at

·2· · the timing of the potassium injection.· So

·3· · that's -- the fact that I admit to is that that

·4· · is the case.

·5· · Q.· · And how do we know that the patient had a

·6· · heartbeat every time a third drug was injected

·7· · on the one where the timing of the third drug

·8· · is stated?

·9· · A.· · Because in cases where there was a

10· · cardiac arrest with potassium -- in cases where

11· · there -- let me go back to the logs, I'm sorry.

12· · I'm trying to scroll and talk at the same time,

13· · I'm going to make myself nauseated.

14· · · · · In timing -- in cases where the timing of

15· · the potassium injection is noted, there is a

16· · subsequent notation that is later than the

17· · start of the potassium injection of either

18· · death or cardiac arrest.

19· · Q.· · And so, for instance, if we look at

20· · Thomas Knight, third from the bottom on

21· · Appendix 5.

22· · A.· · Okay, let me see if I can turn this up.

23· · In Appendix -- oh, Appendix 5, sorry.· Hang on.

24· · Q.· · Dated January 7th, 2014 --

25· · A.· · Well, I'm sorry, that -- here's from the



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·1· · bottom on Page 1 of Appendix -- I was looking

·2· · somewhere --

·3· · Q.· · Yes, I'm sorry.

·4· · A.· · Yeah.

·5· · Q.· · So what in Thomas Knight's -- the entry

·6· · for Thomas Knight tells us that Thomas Knight

·7· · had a heartbeat when the potassium chloride was

·8· · administered?

·9· · A.· · Because the medical examiner or whoever

10· · was called upon to determine that he was dead

11· · said he was not dead until 18:45, and the

12· · potassium injection began at 18:39.

13· · Q.· · Could he have been dead at 18:44?

14· · A.· · Not if you have a competent medical

15· · examiner.

16· · Q.· · But what if the medical examiner didn't

17· · check him until 18:45?

18· · A.· · I -- the -- since -- all I can say is

19· · that the medical examiner says this prisoner

20· · was not dead until 18:45, and the potassium

21· · injection began at 18:39.

22· · Q.· · The medical examiner said that the

23· · prisoner didn't die until 18:45, or 18:45 was

24· · when the medical examiner pronounced death?

25· · A.· · The time of death is the time when the



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·1· · patient officially dies, and that is declared

·2· · by the medical -- I -- let me back up and say,

·3· · we keep talking about the medical examiner, and

·4· · I'm not meaning your state medical examiner.

·5· · · · · I'm meaning the person who examines the

·6· · inmate for death, and that person has to

·7· · certify when that person died as the time of

·8· · death, and that person certified that this

·9· · person died at 18:45.· And so, they made an

10· · official statement that this patient was not

11· · dead until 18:45.

12· · Q.· · But did -- was there anything in the data

13· · you relied on saying that the individual was

14· · alive at 18:44?

15· · A.· · Yes.· The logs demonstrate that they were

16· · not dead until 18:45.

17· · Q.· · And how do the logs demonstrate that?

18· · A.· · The medical examiner declared that that

19· · is when the patient -- when the inmate died.

20· · Q.· · And so, my question is, could the inmate

21· · have died sooner but not been examined?

22· · A.· · Then the medical examiner should not have

23· · given the time of death as 18:45.

24· · Q.· · But it's possible?

25· · A.· · Only if you have an incompetent medical



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·1· · examiner.

·2· · Q.· · And why would that be incompetent?

·3· · A.· · Because the medical examiner provides a

·4· · declaration of when the inmate died.· And if

·5· · they say that the inmate died at 18:45, we have

·6· · to rely on that.· We can't make up something

·7· · else.

·8· · Q.· · Okay.· Now, Dr. Van Norman, going up to

·9· · Appendix 1, is that your CV?

10· · A.· · Let me scroll.· Hang on.· I think it is,

11· · yes, but let me just be sure.· I don't want to

12· · make another mistake of, you know, mistaking

13· · four for five, so...

14· · · · · Hang on, hang on.

15· · · · · Yes.

16· · Q.· · Okay.· And is this CV up to date?

17· · A.· · It is missing a couple of publications

18· · that have occurred in the last 60 days, but

19· · other than that, it is up to date, yes.

20· · Q.· · And if we scroll down to Page 60 of your

21· · report, Appendix 2, a list of your depositions

22· · and court testimony in the last four years?· Do

23· · you have that in front of you?

24· · A.· · I'm getting there, just a moment.· Sorry,

25· · it's taking a minute.



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·1· · · · · Yes, I'm there.

·2· · Q.· · Is Appendix 2 up to date?

·3· · A.· · Let me see.· It should be, but let me

·4· · just look at what's on here to make sure it is.

·5· · · · · Yes, that is up to date.

·6· · Q.· · Prior to today, when was the last time

·7· · you testified in a lethal injection case?

·8· · A.· · January of 2021.

·9· · Q.· · And was that the federal case you talked

10· · about?

11· · A.· · Yeah, that's the Roane v. Barr for the

12· · Washington, D.C. Federal Court of Appeals.

13· · Q.· · And before that case, what was the last

14· · lethal injection case you testified in?

15· · A.· · That was in 2018, McGehee v. Asa

16· · Hutchinson.

17· · Q.· · Okay.· What was the first lethal

18· · injection case you testified in?

19· · A.· · 2018, Jason McGehee v. Asa Hutchinson.

20· · Q.· · How did you get involved in that case?

21· · A.· · I was contacted by an attorney on the

22· · case, a Mr. Williams from Arkansas.

23· · Q.· · Okay, just out of the blue?

24· · A.· · Yeah, pretty much.· I don't remember -- I

25· · don't remember how he came to get my name.               I



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·1· · was not expecting any kind -- I wasn't

·2· · expecting a contact, so...

·3· · Q.· · And have you ever served as an expert

·4· · witness on behalf of a State in an execution

·5· · case?

·6· · A.· · On behalf of the State, oh, you mean not

·7· · on behalf of the inmates?

·8· · Q.· · Correct.

·9· · A.· · Yeah, okay.· No, I have not.

10· · Q.· · Okay.· Would it be consistent with your

11· · ethical obligations to do so?

12· · A.· · It wouldn't be inconsistent.

13· · Q.· · So it would be consistent?· It would be

14· · acceptable?

15· · A.· · It would be -- it would be acceptable --

16· · are you asking me is it ethical to provide

17· · expert witness for the State in lethal

18· · injection -- sure.

19· · Q.· · Yes.· Yes.

20· · A.· · Sure, there are ways you could do it

21· · unethically, but it certainly could be -- would

22· · be ethical to do so.

23· · Q.· · Okay.· Now, your report contains 13

24· · statements starting on Page 4; is that correct?

25· · A.· · I believe so, yes.



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·1· · Q.· · Do you still stand by these 13 statements

·2· · today?

·3· · A.· · I believe so.· Let me -- let me just

·4· · quickly peruse them.· I don't recall having any

·5· · new information, so let me just look through.

·6· · · · · Yeah, I would still stand by them.

·7· · Q.· · Since submitting this report on

·8· · November 17th, has your expert opinion

·9· · regarding any of these 13 statements changed in

10· · any way?

11· · A.· · Not that -- no, not that I'm aware of.

12· · Q.· · Okay.· And do you know what drugs are

13· · used in Tennessee's protocol, Dr. Van Norman?

14· · A.· · The Tennessee protocol, as is stated up

15· · in the -- on Page 4, at least the one that was

16· · supplied to me, consists of midazolam,

17· · vecuronium and potassium chloride.

18· · Q.· · And what amount of midazolam does

19· · Tennessee's protocol call for?

20· · A.· · It calls for a total of 500 milligrams of

21· · midazolam, given as two syringe-fulls of --

22· · 50 CCs of syringe-fulls of 5 milligrams per ML

23· · of midazolam.

24· · Q.· · Okay.· And how many milligrams of

25· · vecuronium bromide does Tennessee's protocol



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·1· · call for?

·2· · A.· · It calls for a total of a hundred

·3· · milligrams vecuronium, also given as an

·4· · injection of two syringes, each containing --

·5· · two 50 CC syringes, each containing one

·6· · milligram per ML of vecuronium.

·7· · Q.· · And how much potassium chloride is called

·8· · for in Tennessee's protocol?

·9· · A.· · It calls for a total injection of 240

10· · milliequivalents of undiluted potassium

11· · chloride drawn up into two 60 CC syringes.

12· · Q.· · And you can close out of your report.

13· · Those are the only questions I have for you at

14· · the moment based on that.

15· · A.· · There you are, behind my report.

16· · Q.· · So let's talk through the drugs a little

17· · bit.· What is midazolam?

18· · A.· · Midazolam is a benzodiazapine.

19· · Q.· · Okay.· And you're familiar with it from

20· · your medical practice; is that right?

21· · A.· · Certainly, yes.

22· · Q.· · Is midazolam also an anticonvulsant

23· · agent?

24· · A.· · But -- well, not technically.· Midazolam

25· · does raise the seizure threshold, meaning that



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·1· · it makes people -- it -- it decreases the

·2· · probability that someone will have a seizure,

·3· · but you can't use it for treatment of chronic

·4· · seizures.· So I would not call it -- it is not

·5· · in the class of anticonvulsants, but it has an

·6· · effect that reduces seizures.

·7· · Q.· · Does -- is one of the effects of

·8· · midazolam that it can reduce involuntary

·9· · movement?

10· · A.· · Reduce involuntary movement.· Some, but

11· · it doesn't have a power -- powerful effect

12· · on -- as powerful effect on involuntary

13· · movements as voluntary movements.

14· · Q.· · Does midazolam cause pain?

15· · A.· · Midazolam itself was -- is a -- the

16· · benzodiazepines all are uncomfortable to inject

17· · IV, depending upon the dose and the

18· · concentration.

19· · · · · Midazolam causes -- is a water-soluble

20· · one that causes much less pain, for example,

21· · than Valium.

22· · Q.· · Okay.· Upon injection?

23· · A.· · Correct.

24· · Q.· · Can injection of midazolam cause pain?

25· · A.· · Yes.



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·1· · Q.· · How so?

·2· · A.· · It has -- I don't know the actual

·3· · peripheral nerve mechanism that it does.· It

·4· · does have a low pH, which means it's slightly

·5· · acidic compared to blood, so it may have an

·6· · effect on veins like that, but I really don't

·7· · know the specific mechanism.

·8· · · · · With Valium, it is because there's a

·9· · direct caustic effect on the veins as well as

10· · the pH, but I'm not familiar with the specific

11· · work in midazolam for that.

12· · Q.· · Do you use midazolam in your medical

13· · practice?

14· · A.· · I do, yes.

15· · Q.· · For what procedures do you use midazolam?

16· · A.· · Well, I use it as an adjunct in many

17· · different kinds of procedures.· Are you asking

18· · me -- but I never -- I never use midazolam

19· · alone in any of the procedures that I'm working

20· · on.

21· · Q.· · So what procedures do you use midazolam

22· · as an adjunct for?

23· · A.· · It could be used for almost any

24· · procedure, except perhaps ones in which we are

25· · wanting to have a patient recall a procedure.



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·1· · So it's possible that in certain neuro

·2· · procedures where we need to have memory and

·3· · recall as part of the testing of neuro function

·4· · afterwards, that we would avoid midazolam.

·5· · · · · We also would avoid midazolam in patients

·6· · who have a tendency towards postop delirium or

·7· · dementia, postoperative cognitive dysfunction

·8· · because it can have -- it can both precipitate

·9· · that and it can also inhibit our ability to

10· · assess the patient.· But I could use midazolam

11· · potentially in -- as part of my -- as part of

12· · my management of patients in almost any

13· · procedure.

14· · Q.· · So does midazolam affect recall?

15· · A.· · It has a very powerful effect on recall,

16· · yes.

17· · Q.· · What is that effect?

18· · A.· · It causes amnesia.

19· · Q.· · At what dosage?

20· · A.· · It can cause amnesia at very small doses,

21· · 1 to 2 milligrams.

22· · Q.· · What do you use midazolam with?· Like --

23· · let me rephrase my question.

24· · · · · When you administer midazolam, what other

25· · drugs are you administering with it?



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·1· · A.· · Well, for -- if we are not talking about

·2· · a painful procedure, if we're just talking

·3· · about a patient who's anxious, for example,

·4· · undergoing an X-ray, like going in an MRI

·5· · scanner, I might just give them midazolam

·6· · alone.

·7· · · · · When I said previously that I wouldn't

·8· · use it as a solo drug, I meant for

·9· · significant -- for painful procedures.· And so,

10· · almost always with procedures that are going to

11· · cause discomfort and pain rather than simply

12· · anxiety, I would almost always combine it with

13· · a very potent narcotic.· And I will also

14· · additionally likely combine it with other drugs

15· · that include some anticholinergics and/or

16· · droperidol, butorphanol, things like that to

17· · prevent nausea.· So -- but it totally depends,

18· · and for surgeries that involve significantly

19· · painful procedures, there might be six to ten

20· · other drugs that I give.

21· · Q.· · What would be examples of surgeries with

22· · significantly painful procedures?

23· · A.· · Let's say intracavitary procedures are

24· · significantly painful for -- so for surgeries

25· · inside the belly, inside the pelvis, inside the



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·1· · chest, for example -- are good examples of

·2· · significantly painful procedures.

·3· · Q.· · And so, the only times you've

·4· · administered midazolam by itself is to address

·5· · a patient's anxiety?

·6· · A.· · Pretty much.· I mean, I won't swear that

·7· · I haven't given it -- I can -- for example, I

·8· · could foresee giving midazolam if I had no

·9· · other drugs available or if I had a patient

10· · such that they would not tolerate any other

11· · drugs.· For example, they were dying from

12· · injuries in a motor vehicle accident or

13· · something like that.

14· · · · · There might be brief periods in which I

15· · would use midazolam alone because they

16· · wouldn't -- it wouldn't be as likely to cause a

17· · fatal change in blood pressure or, you know,

18· · that.· But essentially, no, I don't use that

19· · drug alone except in nonpainful procedures.

20· · Q.· · And if you -- in those limited situations

21· · where you would use midazolam alone, would you

22· · be using it to reduce pain?

23· · A.· · Absolutely not.· A patient would have no

24· · pain relief whatsoever.· What I would be doing

25· · is trying to make them forget that they had



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·1· · pain.

·2· · Q.· · Okay.· Subsequently be unable to recall

·3· · that they were in pain?

·4· · A.· · Yep.

·5· · Q.· · Okay.· If you were to use midazolam by

·6· · itself for that purpose, how much midazolam

·7· · would you administer?

·8· · A.· · Again, it depends on the status of the

·9· · patient.· If I have a very compromised patient,

10· · I might just use as little as 1 milligram.· But

11· · I can pretty reliably produce amnesia if I give

12· · 2 milligrams.

13· · Q.· · Are there any other purposes that

14· · anesthesiologists use midazolam for?

15· · A.· · Any other purposes.· Well, there have

16· · been a lot of --

17· · · · · · · MR. KURSMAN:· I'll object to form.

18· · BY MR. MITCHELL:

19· · Q.· · Do you know whether there are other

20· · purposes anesthesiologists have used midazolam

21· · for?

22· · A.· · There are some research studies in which

23· · trials of midazolam for other purposes have

24· · been used.· Most of those clinical studies are

25· · pretty problematic.· I don't know of any common



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·1· · clinical use for painful procedures that

·2· · midazolam would be used for other than as

·3· · adjunct.

·4· · Q.· · What's the intended effect or effects of

·5· · midazolam?

·6· · A.· · The intended effect is to provide the

·7· · patient with relief of anxiety, relaxation,

·8· · sedation and amnesia.

·9· · Q.· · Are there any other intended effects of

10· · midazolam?

11· · A.· · None that I'm thinking of at this moment,

12· · but if they occur to me, I'll let you know.

13· · Q.· · Okay.· Does midazolam also sometimes

14· · produce unintended effects?

15· · A.· · Sure.

16· · Q.· · What are some examples of unintended

17· · effects midazolam can produce?

18· · A.· · Well, when -- if we define "unintended

19· · effects" not meaning unexpected, just

20· · unintended, it's not --

21· · Q.· · Sure.

22· · A.· · -- why we give the drug.

23· · Q.· · Yes.

24· · A.· · Midazolam can lower blood pressure.· It

25· · can -- if it's -- are we -- and if we're -- let



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·1· · me back up and say, if we're talking about

·2· · intravenously injected midazolam?

·3· · Q.· · Yes.

·4· · A.· · Yes.· Then it can have effects on blood

·5· · pressure.· It can also have effects on

·6· · breathing, although it doesn't -- the

·7· · benzodiazepines generally don't cause

·8· · respiratory arrest by themselves.· They can

·9· · cause a change in how responsive the brain is

10· · to the buildup of carbon dioxide and to the

11· · fallen oxygen level.

12· · · · · So a patient -- let me translate that.                A

13· · patient's breathing may become more shallow

14· · with midazolam.

15· · Q.· · Shallow enough that you would use a

16· · ventilator?

17· · A.· · Not generally, no.· It's actually pretty

18· · hard to stop some -- with just using midazolam

19· · alone, which is what we're talking about, it's

20· · actually hard to stop someone's breathing.

21· · Q.· · But is it possible?

22· · A.· · It might be, if the patient had the right

23· · medical conditions.· I don't -- I mean, I --

24· · you know, any -- anything's possible, but that

25· · doesn't mean it happens, you know.



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·1· · Q.· · What it if the dose was extremely high,

·2· · could that stop a patient's breathing?

·3· · A.· · Well, define "extremely high."

·4· · Q.· · Hundred milligrams of midazolam delivered

·5· · intravenously, could that stop a patient's

·6· · breathing?

·7· · A.· · Well, first of all, there are no clinical

·8· · studies that study that.· So we're looking at

·9· · doses that are lower than that and that are

10· · below the ceiling effect of midazolam anyway.

11· · · · · But in what are considered relatively

12· · high clinical doses, which would be 40 to

13· · 50 milligrams, patients continue to breathe.

14· · And if they don't have -- if they haven't taken

15· · any other medications and we don't give them

16· · any other medications, it would be unlikely to

17· · stop their breathing.

18· · · · · Accord -- and this is according to

19· · studies done with benzodiazepines when they

20· · were created.

21· · Q.· · So is it your testimony that midazolam

22· · could not stop a patient's breathing by itself?

23· · A.· · I think what I just said is, given the

24· · right circumstances it might, but that in

25· · clinical doses it's unlikely to.



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·1· · Q.· · What are other unintended effects of

·2· · midazolam?

·3· · A.· · I think I mentioned that you can

·4· · sometimes get a fall in blood pressure when you

·5· · inject it, and that -- benzodiazepines cause --

·6· · that can be due to relief of anxiety if the

·7· · blood pressure's been raised by anxiety, but

·8· · it -- but the benzodiazepines also have a

·9· · direct effect on dilating blood vessels, which

10· · can cause a fall in blood pressure, and that

11· · can lead reflexively to a rise in heart rate.

12· · Q.· · Does midazolam have any other unintended

13· · effects that you're aware of that we didn't

14· · discuss?

15· · A.· · Well, I mentioned the unintended effects

16· · of contributing potentially to postop delirium

17· · of postoperative cognitive dysfunction.

18· · · · · It can cause prolonged sedation, meaning

19· · it can have unintended duration of effects.· We

20· · expect the patient to have clinical effects for

21· · an hour, and they have clinical effects for two

22· · or three.

23· · · · · I'm not thinking of any other effects at

24· · the moment, but there probably are some others

25· · I've just not named.



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·1· · Q.· · What are some of Midazolam's unexpected

·2· · effects?

·3· · A.· · Well, an example of an unexpected effect

·4· · would apply to any drug.· You can get -- just

·5· · like with any drug, you can get an allergic

·6· · reaction to it.· So you can have allergy and

·7· · anaphylaxis.· You can also have paradoxical

·8· · reactions to any of the benzodiazepines, in

·9· · which we're expecting the patient to have some

10· · relaxation and sedation and instead they get

11· · agitated, terrified and start to become

12· · combative because of the drug.

13· · · · · There are also disinhibitory effects in

14· · the brain, meaning that it's a little like

15· · being drunk.· You would say or do things that

16· · you might not normally do, or become

17· · uncharacteristically, well, combative as a

18· · result of it.· So those are among the most

19· · common unexpected effects of midazolam.

20· · Q.· · And other benzodiazepines, too?

21· · A.· · Yes.· That's a general characteristic of

22· · the benzodiazepines.

23· · Q.· · Can Midazolam's effects vary from person

24· · to person?

25· · A.· · They do, yes.



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·1· · Q.· · Okay.· In any ways we haven't talked

·2· · about?

·3· · A.· · None that I can think of.

·4· · · · · I did just realize one kind of silly side

·5· · effect of midazolam, and it occurs in about

·6· · 25 percent of people, and that is it gives them

·7· · the hiccups.

·8· · Q.· · I'm sorry, say that --

·9· · A.· · It can give them the hiccups.

10· · Q.· · Before you administer midazolam, what do

11· · you consider -- what characteristics of a

12· · patient do you consider?

13· · A.· · Well, the one -- some of the ones I

14· · mentioned.· For example, the first thing I

15· · consider is whether the midazolam is needed.

16· · · · · The second is whether they are in a

17· · generally frail condition such that my drug is

18· · likely to affect their blood pressure, pulse.

19· · · · · Another is whether or not they may be at

20· · risk for prolonged side effects from midazolam,

21· · such as people who have mild dementia,

22· · borderline dementia and shouldn't receive it.

23· · · · · And then finally, whether they've had a

24· · prior bad reaction to midazolam.· If there's a

25· · known bad reaction, be it allergic, be it



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·1· · combativeness or any core paradoxical reaction.

·2· · Q.· · Is there anything else you take into

·3· · account before administering midazolam?

·4· · A.· · Probably, but that's what I'm remembering

·5· · right now.· I mean, I'd have to be given a

·6· · specific patient to tell -- for you to say what

·7· · all are you going to think of on this

·8· · particular patient.· But yeah, those are the

·9· · basic ones.

10· · Q.· · Okay.· Can midazolam inhibit movement?

11· · A.· · I'm not sure what you mean by "inhibit

12· · movement."

13· · Q.· · Can midazolam impede the ability of

14· · someone to move their lips, for example?

15· · A.· · Well, potentially.· I mean, there --

16· · the -- there is no direct effect of midazolam

17· · on the muscles.· That's what I was really

18· · asking, if that's what you meant.· And it

19· · doesn't tell the nerves not to tell the muscles

20· · to move.

21· · · · · There are central effects of midazolam at

22· · the GABAergic receptors that -- and midazolam

23· · does act in central areas of the brain that

24· · tell the brain to move in response to stimulus

25· · and that tell it what kind of movement to make.



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·1· · And because midazolam is a GABAergic drug, it

·2· · can affect those sites.· And so, a patient

·3· · might -- there's not a physical inhibition of

·4· · movement.· There's nothing telling the muscles

·5· · not to move, but midazolam can create a

·6· · situation in which the patient doesn't move,

·7· · even though you think they should.

·8· · Q.· · How does midazolam create that situation?

·9· · A.· · Well, if -- I'm going to refer you to my

10· · report, but I'll give you a basic summary.· As

11· · I just said, GABAergic drugs, many of them can

12· · have this effect, they do affect areas in the

13· · thalamus, amygdala and other areas, which are

14· · the signal-switching centers of the brain.

15· · · · · So the brain gets a signal, I'm in pain,

16· · I'm terrified, and the -- it gets a multitude

17· · of signals often at once in stressful

18· · situations, and areas of the brain that I just

19· · mentioned are responsible for selecting which

20· · of those signals go forward and how they go

21· · forward, what they signal the brain to do about

22· · the stimulus.

23· · · · · And so, the switching station actually is

24· · affected by GABAergic drugs and can prevent the

25· · brain from selecting an action out of those,



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·1· · myriad of actions it could do.· It could tell

·2· · the body to move.· It could tell the body to

·3· · move in a certain way, to move an arm, to push

·4· · away what's causing a stimulus or whatever, or

·5· · to just generally move.· But GABAergic drugs

·6· · affect centers of the brain that tell the brain

·7· · actually which move to select.

·8· · · · · And so, there are patients who have been

·9· · shown under high dose midazolam anesthetics to

10· · be awake but not move, even though they later

11· · say they were in pain, for example.

12· · Q.· · So midazolam can inhibit movement?

13· · A.· · Yeah, the -- there are -- the studies

14· · indicate that it can, yes, but I caught what

15· · you were asking, that you were asking about

16· · does it stop muscles from working, and the

17· · answer is generally no.· No, it doesn't.

18· · Q.· · It's through the operation of the brain

19· · that it inhibits movement?

20· · A.· · It's through switching in the brain that

21· · it prevents movement in answer to a stimulus.

22· · Q.· · And did I understand you correctly,

23· · midazolam can also cause movement?· Or did I

24· · misunderstood you?

25· · A.· · I don't think I said that.



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·1· · Q.· · Okay.· Okay, that's user error.

·2· · A.· · I can't think of it doing that, so I

·3· · don't think I said that.

·4· · Q.· · Understood.

·5· · · · · When was the last time you administered

·6· · midazolam for a patient, Dr. Van Norman?

·7· · A.· · It was the -- when I was doing OR

·8· · anesthesia.· As I mentioned, I stopped just a

·9· · few months ago because of the pandemic.

10· · Q.· · And you stopped because of COVID, as

11· · discussed, and --

12· · A.· · Exactly.

13· · Q.· · -- other -- yep.

14· · A.· · Yep.

15· · Q.· · Okay.· How much midazolam did you

16· · administer to a patient the last time you gave

17· · a patient midazolam?

18· · A.· · It was probably 1 or 2 milligrams.               I

19· · can't give you a specific dose, but it's so

20· · rare for me to give more than that these days.

21· · · · · · · (WHEREUPON, technical difficulties

22· · were had.)

23· · BY MR. MITCHELL:

24· · Q.· · And so, Dr. Van Norman, what is the

25· · maximum -- maximum dose of midazolam you've



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·1· · ever administered to a patient?

·2· · A.· · It's been several decades since it was

·3· · used in cardiac anesthesia, so I can't give you

·4· · the specific dose, but it would have been --

·5· · that I used, but it would have been between 1

·6· · and 1 and a half milligrams per kilogram.

·7· · Q.· · Which is how many milligrams?

·8· · A.· · Well, for a hundred kilogram person, it

·9· · would be a hundred milligrams.

10· · Q.· · So you've administered a hundred

11· · milligrams of midazolam to a person?

12· · A.· · On a couple of occasions, probably.               I

13· · haven't -- what I -- the benzodiazepine that we

14· · were using at that time was Valium, and

15· · midazolam had just come on the market.· So

16· · there were a couple -- there were a few cases,

17· · a handful of cases in which we used midazolam,

18· · and we would have used them in that dose -- in

19· · that dose.

20· · Q.· · Would you have ever given a higher dose

21· · than a hundred milligrams?

22· · A.· · I -- you mean have I or would I?

23· · Q.· · Have you, have you, have you ever given a

24· · higher dose than a hundred?

25· · A.· · Possibly, but not that I specifically



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·1· · recall.

·2· · Q.· · Over what time period would that hundred

·3· · milligrams have been administered?

·4· · A.· · Over -- probably -- we give it -- we

·5· · would give all of the benzodiazepines because

·6· · they have that effect on blood pressure, we

·7· · would give it not as an IV push, like not over

·8· · one or two seconds.· We would probably give it

·9· · over a total of about two minutes, two to

10· · three minutes.

11· · Q.· · And why wouldn't you give it in just a

12· · couple seconds?

13· · A.· · Because of its effect on blood pressure.

14· · It -- benzodiazepines all have a vasodilatory

15· · effect and can lower blood pressure.· And since

16· · we were using these in cardiac patients, these

17· · would be patients that we'd be particularly

18· · susceptible to harm if their blood pressure

19· · fell.· So we gave all of our drugs in the

20· · cardiac room more slowly than we would give

21· · them in regular anesthesia practice.

22· · Q.· · And now, in your current practice, what

23· · is the standard dose of midazolam that you

24· · would use?

25· · A.· · That I would use or that I have used?



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·1· · Q.· · That you -- let's say 2019, let's use

·2· · 2019 as a benchmark.· What was the standard

·3· · dose of midazolam for Dr. Van Norman to use in

·4· · 2019?

·5· · A.· · Again, it would be 1 to 2 milligrams, but

·6· · a standard variation would be up to 0.1

·7· · milligram per kilogram.· So in an average-size

·8· · guy, that would be 7 to 10 milligrams.· Usually

·9· · not given as -- at once, through, given over a

10· · few minutes.

11· · Q.· · A few minutes?

12· · A.· · Yeah.

13· · Q.· · Like five to ten minutes?

14· · A.· · Possibly, yeah.

15· · Q.· · All right.· And would this be considered

16· · a typical dose for other anesthesiologists, as

17· · well?

18· · A.· · I think so, yes.

19· · Q.· · What do you consider a high dose of

20· · midazolam?

21· · A.· · I would say if you're giving midazolam

22· · greater than 0.1 milligram per kilogram, you're

23· · getting into higher doses.

24· · Q.· · Which how many milligrams is that in an

25· · average-sized adult?



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·1· · A.· · Well, in a 100-kilogram person, it would

·2· · be ten milligrams.

·3· · Q.· · And hundred kilograms is how many pounds?

·4· · A.· · It's 220 pounds.· You're asking me to do

·5· · math now in my head.

·6· · Q.· · And what would a small dose of midazolam

·7· · be?

·8· · A.· · Half a milligram, a quarter of a

·9· · milligram we sometimes would give in really

10· · frail or elderly patients.

11· · Q.· · In what circumstances would you give half

12· · a milligram to a person?

13· · A.· · Only when I'm trying to provide

14· · anxiolysis, meaning relief of anxiety.· I might

15· · start with that dose in a frail person.

16· · Q.· · In a healthy-sized adult, what would you

17· · expect -- what is the effect of 1 milligram of

18· · midazolam?

19· · A.· · I would expect in most healthy adults

20· · that they would get some anxiolysis from it,

21· · that they might -- they may or may not have

22· · sedation.· In fact, probably not.· They would

23· · probably subjectively report to me that they

24· · could, quote, feel it, end quote.

25· · Q.· · What about 5 milligrams in a healthy



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·1· · adult, what would you expect the effect would

·2· · be?

·3· · A.· · With the caveat that we're talking about

·4· · giving this drug without any stimulation, is

·5· · that what you mean?

·6· · Q.· · Yes.

·7· · A.· · Yeah.· In a healthy adult, again, it will

·8· · depend on the size, the sex and the frailty of

·9· · the adult.· I would expect nearly everybody to

10· · tell me they don't feel anxious anymore, but

11· · some might still feel anxious.· I would expect

12· · nearly everyone to say that they can feel some

13· · effect from the drug.· And I would expect some

14· · people to feel like they were relaxed enough to

15· · fall asleep.

16· · Q.· · What about 10 milligrams of midazolam,

17· · what would you expect in a healthy adult?

18· · A.· · I would expect in an unstimulated,

19· · healthy adult of average size that almost

20· · everyone would feel -- that everyone would feel

21· · anxiolysis from that, that they would all have

22· · subjective feelings that they had received the

23· · drug, and that they -- and some of them

24· · would -- if they were -- would be relaxed

25· · enough in an unstimulated environment to doze



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·1· · off.

·2· · · · · I should go back and say, in addition, at

·3· · each one of these doses coming forward, I would

·4· · expect the vast majority of people to be

·5· · amnestic from the moment I gave them the drug

·6· · forward.

·7· · Q.· · Can you say that last sentence one more

·8· · time?

·9· · A.· · In all of these doses, even the small

10· · ones, I would expect the vast majority of

11· · patients, stimulated or not, to be amnestic for

12· · everything after they're given the drug until

13· · it wears off.

14· · Q.· · Okay.· One more:· What would you expect

15· · in a healthy-sized adult intravenously given

16· · 20 milligrams of midazolam?

17· · · · · · · MR. KURSMAN:· And, Rob, can I just

18· · clarify the question?· Are you asking in the

19· · absence of a noxious stimuli?

20· · · · · · · MR. MITCHELL:· Yeah, I thought that's

21· · what Dr. Van Norman was testifying when she

22· · said unstimulated.

23· · · · · · · MR. KURSMAN:· Okay, thanks.

24· · · · · · · THE WITNESS:· Oh, yeah.· In an

25· · unstimulated adult at 20 milligrams, I would



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·1· · expect everyone to be amnestic for not just the

·2· · vast majority, but everyone would be.· I would

·3· · expect that everyone would be really relaxed,

·4· · and many of them would be falling asleep if

·5· · they weren't stimulated.

·6· · · · · · · I would still expect most of them,

·7· · however, to wake up quite stimulated and

·8· · particularly with a painful stimulus.· I --

·9· · if -- when the patient spoke to me, I would

10· · expect them all to tell me that they felt

11· · significant drug effects.

12· · BY MR. MITCHELL:

13· · Q.· · Would you expect these people to be

14· · non-responsive to you saying their name?

15· · A.· · Depends on how I said their name.

16· · Q.· · Let's say you --

17· · A.· · If I whispered it to them, perhaps.               I

18· · would expect the vast majority to still be

19· · responding to their name if called loudly

20· · enough and more than once, yes.

21· · Q.· · What if only called once?

22· · A.· · Some of the clinical studies show that if

23· · you say their name in a normal volume voice

24· · only once, that some patients don't respond,

25· · but then if you raise your voice and say it



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·1· · again, they will respond.· So you tell me which

·2· · situation you mean.

·3· · Q.· · What clinical studies are those?

·4· · A.· · I've cited them in my report, and also

·5· · most of the clinical studies that your expert,

·6· · Dr. Antognini, cites say the same thing.

·7· · Q.· · What does it mean to give someone a

·8· · therapeutic dose of something?

·9· · A.· · It means that the effects that we are

10· · expecting from the drug have been achieved in

11· · that person.· So a therapeutic dose, you might

12· · say -- you know, a drug package insert says a

13· · therapeutic dose is -- let's -- I'm not talking

14· · about midazolam now.· I'm just talking about

15· · generic drug that's like, say, 2 to

16· · 3 milligrams.· What that means to me is that

17· · when you give 2 to 3 milligrams, you're going

18· · to see the expected result of what the drug was

19· · designed to do, in most patients.

20· · Q.· · So what is --

21· · A.· · Let me just continue for one second.

22· · Q.· · Yeah.

23· · A.· · But there's also the question of, what is

24· · the therapeutic dose in this patient.· So there

25· · can be individual patients in which I would



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·1· · say, no, I didn't get that effect until I got

·2· · to this dose or I got it much sooner; in which

·3· · case, their individual therapeutic dose is

·4· · different than, say, the standard that the

·5· · package insert would say.

·6· · Q.· · So for a healthy adult, what's the

·7· · therapeutic dose for midazolam?

·8· · A.· · It depends on what outcome you're looking

·9· · for, because you have to -- when you're saying

10· · therapeutic dose, you have to say, what

11· · specific effect were you trying to achieve?

12· · Q.· · So let's assume you were trying to

13· · achieve complete amnesia.

14· · A.· · Well, studies demonstrate that for all --

15· · virtually everybody, 1 to 2 milligrams of

16· · midazolam will achieve amnesia for an

17· · unstimulated environment.

18· · · · · It also depends -- I should back up and

19· · say amnesia and awareness are going to be

20· · related to the level of stimulus that the

21· · patient is getting, because consciousness and

22· · awareness are not an all-or-none phenomenon.

23· · So if I take --

24· · Q.· · You said consciousness and awareness are

25· · not what?· I'm sorry to interrupt.



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·1· · A.· · An all-or-none phenomenon.

·2· · · · · And so, if, for example, I take a patient

·3· · in the preop holding area and they're just

·4· · anxious but I'm not doing anything painful to

·5· · them, I'm not stimulating them with anything

·6· · that would cause them more distress, then the

·7· · vast majority of patients will be amnestic with

·8· · 1 to 2 milligrams of everything going forward.

·9· · Q.· · And what if they were stimulated?

10· · A.· · Still the vast majority will be amnestic,

11· · but the number might be somewhat less.· But the

12· · studies show that -- you -- you can -- let me

13· · put it this way:· You can give a very strong,

14· · severely painful stimulus to somebody who has

15· · been given an amnestic drug and know -- and

16· · they can be aware of it and report it if they

17· · remember it later, but the problem with

18· · midazolam is they won't usually remember it

19· · later.· So you -- if you're going to determine

20· · whether they're aware of it at the time, you

21· · have to actually test them at the moment that

22· · you're giving it.

23· · Q.· · What is the maximum clinically studied

24· · dose of midazolam that you're aware of?

25· · A.· · Since I can't cite a specific study, I



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·1· · would say that we gave those cardiac doses

·2· · based on studies, so that would probably be the

·3· · highest.· It certainly is not 500 milligrams of

·4· · midazolam.

·5· · Q.· · 200 milligrams of midazolam?

·6· · A.· · No, I think that -- I think there are

·7· · some studies that we were working off of back

·8· · then that were around a hundred to

·9· · 150 milligrams, but these were only -- these

10· · were not pharmacokinetic or pharmacologic

11· · studies.· These would be given to patients in a

12· · heart situation.

13· · Q.· · Did you cite to these studies in your

14· · expert report in this litigation?

15· · A.· · I didn't, because they weren't rigorously

16· · studied for any of the factors that we were

17· · looking at.

18· · Q.· · When was the last time you gave someone

19· · at least 20 milligrams of midazolam?

20· · A.· · I can't remember.· It would have probably

21· · been 20 years ago.

22· · Q.· · Okay.· And over what time period would

23· · you have administered that?

24· · A.· · You mean how fast would I give the drug?

25· · Q.· · How fast?· Yes, I'm sorry.



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·1· · A.· · It's very likely that that would have

·2· · been over minutes or even, you know, a half an

·3· · hour or so.· The effects of midazolam are

·4· · cumulative, so you would still see the full

·5· · effect of the 20 milligrams, but it wouldn't

·6· · have been something given IV push.

·7· · Q.· · What sort of procedure would you have

·8· · given 20 milligrams of midazolam for?

·9· · A.· · Well, if I gave 20 -- and again, you're

10· · asking me to remember something a long time

11· · ago -- it would have been for -- as an adjunct

12· · to a general anesthetic I was giving, or in the

13· · course of a prolonged procedure requiring

14· · monitored anesthesia care where the patient was

15· · going to be awake during the procedure but for

16· · many hours during the surgical procedure.

17· · Q.· · What would be an example of that kind of

18· · surgery?

19· · A.· · I can give you an example of the surgery,

20· · but I can't guarantee you that I actually gave

21· · it in this circumstance.

22· · · · · If I had a patient, for example, that was

23· · having an extensive head and neck surgery in

24· · which there was a lot of neuro monitoring going

25· · on, we didn't want to ping the facial nerve or



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·1· · whatever in that, nowadays we would study that

·2· · differently than we did 20 years ago in the

·3· · operating room, but we might have well wanted

·4· · verbal contact with the patient during that

·5· · time.

·6· · Q.· · And would you ever have administered --

·7· · have you ever administered 50 milligrams of

·8· · midazolam or more for a procedure that wasn't

·9· · cardiac anesthesia?

10· · A.· · 50, 5-0.

11· · Q.· · Not -- 55, just 55?

12· · A.· · I mean 5-0, not 1-5.· I couldn't tell.

13· · Q.· · Oh, yeah, yeah, 5-0, I'm sorry.· Not

14· · 5-5-0.

15· · A.· · No, uh-uh.

16· · Q.· · So to rephrase, you have not administered

17· · 50 milligrams or more of midazolam for a

18· · noncardiac anesthesia procedure?

19· · A.· · No, not that I can recall.

20· · Q.· · Do you advise patients who've received

21· · midazolam not to drive home from the hospital?

22· · A.· · I do.

23· · Q.· · And why do you do that?

24· · A.· · There are studies that show that fine

25· · motor -- I'm sorry, not fine motor, that motor



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·1· · reaction times are slowed by midazolam for up

·2· · to 24 hours after surgery.· And there have been

·3· · reported cases of patients who were involved in

·4· · car accidents because -- and it was presumed it

·5· · was because they did not have the fine motor

·6· · control to hit the brakes in time.

·7· · · · · And so, we tell people -- we know that

·8· · the drug is out of their system in the

·9· · 24 hours, and we know of no -- I know of no

10· · studies that have shown accidents related to

11· · the drug after that period of time.

12· · Q.· · Is midazolam administered when a doctor

13· · is setting or resetting a bone?

14· · A.· · It might be, yes.

15· · Q.· · Do you know whether it is?

16· · A.· · I don't have a personal experience of

17· · that, but it would be a reasonable drug to

18· · reach to as part of what's given when somebody

19· · is setting a bone.

20· · Q.· · And would midazolam be a reasonable drug

21· · to administer when someone was replacing a

22· · dislocated joint?

23· · A.· · Yes, but in neither of the cases you've

24· · cited would we expect the patient have any pain

25· · relief.· We would be giving it for anxiety,



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·1· · relaxation and to make them forget what's about

·2· · to happen.

·3· · Q.· · And would midazolam be a reasonable drug

·4· · to administer when a doctor was performing a

·5· · cesarean section?

·6· · A.· · Yeah, for the same reason.· I would

·7· · not -- we would not expect that to cause any

·8· · pain relief whatsoever.

·9· · · · · · · MR. KURSMAN:· Rob, just to clarify

10· · again, are you asking as a solo drug or are you

11· · asking in conjunction with other drugs or both?

12· · · · · · · MR. MITCHELL:· Well, in conjunction

13· · with other drugs.

14· · · · · · · MR. KURSMAN:· Okay.

15· · · · · · · THE WITNESS:· Yeah, and let me

16· · clarify that I meant in each of those cases in

17· · conjunction with other drugs.

18· · BY MR. MITCHELL:

19· · Q.· · And would it be your position, Dr. Van

20· · Norman, that it would be unreasonable to use as

21· · a solo drug in those three aforementioned

22· · circumstances?

23· · A.· · Not -- it would depend on the

24· · circumstances under which they were being

25· · carried out to determine whether it's



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·1· · reasonable or not.· So I can't -- I'd have to

·2· · know the specific circumstances and patient to

·3· · tell you that.· There are certainly -- I think

·4· · in most cases, it would be unreasonable to use

·5· · it as a solo drug.

·6· · Q.· · Can you craft a situation in which it

·7· · would be reasonable to use midazolam as a solo

·8· · drug for resetting a bone?

·9· · A.· · Well, I mean, if -- no, I -- you're

10· · asking an anesthesiologist, and we hate pain.

11· · And some of our ER colleagues are more willing

12· · to put their patients through pain than we are.

13· · · · · No, I don't think it's reasonable in

14· · anything but extreme circumstances to use

15· · midazolam for a significantly painful procedure

16· · without accompanying it with other drugs,

17· · because midazolam will not cause any relief of

18· · pain.· I would be using it solely to make a

19· · patient forget.· And it is -- to put a patient

20· · through a torturous experience and then just

21· · give them something to make them forget is not

22· · considered good anesthesia practice.

23· · Q.· · What is a ceiling effect of a drug,

24· · Dr. Van Norman?

25· · A.· · Well, it depends on whether you're



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·1· · talking -- well, the ceiling effect that we

·2· · typically talk about is clinical ceiling effect

·3· · where you -- you give a drug in increasing

·4· · doses and at some point you hit a level, and

·5· · you don't with all drugs, but with most drugs

·6· · you hit a level at which giving more of the

·7· · drug doesn't result in more clinical effects.

·8· · So you've reached the maximum clinical effect

·9· · and you're not going to get any more by giving

10· · more of the drug.

11· · Q.· · So under that definition, do you know

12· · what Midazolam's ceiling effect is?

13· · A.· · Well, the clinical studies in human

14· · beings that have found a ceiling effect

15· · generally demonstrated at between 0.2 and 0.3

16· · milligrams per kilogram.

17· · · · · There are --

18· · Q.· · Which is how many --

19· · A.· · I'm sorry.

20· · Q.· · Which is how many milligrams?

21· · A.· · For a 100-kilogram human being, it would

22· · be 20 to 30 milligrams.

23· · Q.· · Okay.· And so, Midazolam's ceiling effect

24· · in an average human being is around 20 to

25· · 30 milligrams?



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·1· · A.· · That's what the -- when there's been

·2· · ceiling effects seen with midazolam in human

·3· · subjects, that's where that appears to happen.

·4· · There has been no clinical study that

·5· · identifies between those two doses the exact

·6· · dose.

·7· · Q.· · So let's say someone received

·8· · 30 milligrams of midazolam, someone who's a

·9· · hundred kilograms received 30 milligrams of

10· · midazolam and then 30 minutes later received

11· · another 30 milligrams of midazolam, what would

12· · you expect to happen?

13· · A.· · Why am I giving them that?· I need to

14· · know what the stimulus is.

15· · Q.· · Let's say you're not giving it, you just

16· · walk into the operating room and someone chose

17· · to do that.

18· · A.· · If they are in the operating room, are

19· · they being stimulated or not?· I'm sorry, I'm

20· · trying to get specific here.

21· · · · · If they are not being stimulated, I would

22· · expect the effects we already talked about.               I

23· · would expect every one of those patients to be

24· · probably dozing, if they're unstimulated, but

25· · responsive, certainly responsive to pain.



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·1· · · · · I would expect amnesia for whatever

·2· · happens to them at that point.· In fact, it

·3· · would be a surprise if they could recall any of

·4· · it.· And I would expect probably a modest

·5· · decrease in blood pressure with the

·6· · administration of those drugs -- of that drug.

·7· · Q.· · What if the person was stimulated, what

·8· · would you expect?

·9· · A.· · Are they paralyzed or unparalyzed?

10· · Q.· · Unparalyzed.

11· · A.· · I would expect that with a severe

12· · stimulus, they would respond -- that most of

13· · them would respond with movement.

14· · · · · However, there are studies using the

15· · isolated forearm technique that show that some

16· · patients can -- who report experiences in the

17· · operating room later because they have recall

18· · did not voluntarily move.

19· · · · · So I would expect the majority to move,

20· · but there would be some patients who would

21· · still be aware who would not move.· And I would

22· · still expect, if it were a very significantly

23· · painful event, the patient would be aware at

24· · the time of the stimulus.

25· · Q.· · And would the extra -- the second dose of



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·1· · 30 milligrams of midazolam, would that extend

·2· · the duration of the midazolam would affect the

·3· · patient?

·4· · A.· · Yes, but that's not -- possibly, but

·5· · that's not a ceiling effect.· The ceiling

·6· · effect is not about duration, it's about the

·7· · maximum effect.· So it would not affect the

·8· · maximum effect of the drug, but it might

·9· · prolong how long the drug was acting.

10· · Q.· · Dr. Van Norman, can midazolam cause apnea

11· · in someone?

12· · A.· · It generally doesn't, no, unless it's

13· · accompanied by other drugs or unless the

14· · patients are on an adjunct drug.

15· · Q.· · Generally doesn't, but can it?

16· · A.· · I -- to be honest, the studies don't seem

17· · to indicate -- it's -- they indicate that that

18· · would be a very rare event, but I suppose it's

19· · possible.

20· · Q.· · Switching gears, we talked a little bit

21· · about vecuronium bromide.· What is vecuronium

22· · bromide?

23· · A.· · It's a paralytic -- it's a drug that

24· · paralyzes the muscles by acting at the --

25· · what's called the neuromuscular junction, where



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·1· · the nerves give signals to the muscles.

·2· · Q.· · And does vecuronium bromide affect the

·3· · patient's ability to breathe?

·4· · A.· · It will stop the patient's ability to

·5· · breathe.

·6· · Q.· · How quickly?

·7· · A.· · It depends on the size of the dose, how

·8· · rapidly it's given, and the patient -- and

·9· · patient individual factors, as well, but we've

10· · talked about that earlier in the deposition.

11· · Q.· · Yeah, it can -- depending on the dosage,

12· · it can happen in 60 seconds or less; is that

13· · correct?

14· · A.· · Potentially, yes.

15· · Q.· · And are there studies that support that?

16· · A.· · I am aware of the clinical study that

17· · looked at the -- looked at the rapidity of

18· · onset of vecuronium compared to the dosing

19· · level and found a more or less linear

20· · relationship, although they didn't -- I don't

21· · have the -- a ceiling effect on it.· And they

22· · found that with a clinically -- sort of the

23· · clinically range of dosing given rapidly, you

24· · could get paralysis in 82 seconds.

25· · · · · So in supramaximal doses, I think I



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·1· · mentioned this earlier in the deposition, it is

·2· · very likely that you'd be under 60 seconds for

·3· · that effect to occur.

·4· · Q.· · Do you use vecuronium bromide in your

·5· · medical practice, Dr. Van Norman?

·6· · A.· · When I was in the operating room, yes.                I

·7· · mean, I'm just -- you say "do," and I just

·8· · wanted to make sure we bear in mind that I'm --

·9· · Q.· · Yeah, yeah, yeah.· If you -- any time you

10· · want to say the pre-COVID caveat, please speak

11· · up.

12· · A.· · Yeah.· The COVID caveat, but yes.

13· · Q.· · Okay.· For what procedures would you use

14· · vecuronium bromide in your medical practice?

15· · A.· · It's a wide variety of procedures, any

16· · time that I need muscle paralysis.

17· · · · · Now, I may need muscle paralysis, for

18· · example, for just intubating a patient to

19· · relax -- to relax the muscles of the neck and

20· · pharynx that I can get the breathing tube in,

21· · and then not use it during the stimulus --

22· · during the stimulating part of the surgery.

23· · · · · Most intracavitary procedures, and I'm

24· · going to just repeat what I mean by that, the

25· · chest, the abdomen, the pelvis, the surgeon has



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·1· · to work through muscles to get there, and those

·2· · muscles tighten up and can make it harder for

·3· · them to get a good field of view, and so they

·4· · generally want patients to be paralyzed during

·5· · those procedures so that they can get a

·6· · widespread of the muscles.

·7· · · · · So virtually all of them where the

·8· · patient's going to be open rather than

·9· · laparoscopically or through a scope, we're

10· · going to use muscle paralysis.· We will use

11· · muscle paralysis with laparoscopy for a

12· · different reason that allows us to insufflate

13· · gas into the belly sufficient to give the

14· · surgeon the clinical view.

15· · · · · If there are times when I need the airway

16· · paralyzed for an ENT doctor, I'm going to use a

17· · muscle paralytic agent.· If there are times

18· · when we need the muscles relaxed that are not

19· · intracavitary and we're doing a total joint and

20· · we need to relax the muscles, we may well use a

21· · paralytic for that, although we could achieve

22· · the same thing by doing a regional anesthetic

23· · instead.

24· · · · · That's not an all-inclusive list, but

25· · that should give you an idea of the kinds of



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·1· · things where we would use it.

·2· · Q.· · So when you administer vecuronium

·3· · bromide, how much vecuronium bromide are you

·4· · typically administering?

·5· · A.· · I'd be giving between 0.1 and

·6· · 0.15 milligrams per kilogram.

·7· · Q.· · Which is how many milligrams --

·8· · A.· · Up to --

·9· · Q.· · -- in a healthy adult?

10· · A.· · Up to 10 milligrams, let's say, in a

11· · healthy adult.· And I'm going to titrate that,

12· · though.· I may give less in a smaller adult and

13· · I'm going to titrate the effect because I'm

14· · going to have a twitch monitor on the patient

15· · that tells me whether the muscles are, indeed,

16· · paralyzed.· So I'm going to --

17· · Q.· · What does it mean -- I'm sorry.

18· · A.· · I'm sorry, go ahead.

19· · Q.· · What does it mean to titrate the drug?

20· · A.· · It means that I'm going to use a monitor,

21· · whether it's a -- the general term means I'm

22· · going to use a monitor, whether it's my own

23· · physical, you know, eyes, ears, whatever, or

24· · it's a mechanical or an electronic monitor to

25· · guide how much drug I give and whether I add



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·1· · more drug and when.

·2· · · · · So titration is to not just give a slug

·3· · of drug.· It's to give it, give it, give it as

·4· · you see the effects coming on until you -- just

·5· · until you get the effect you want and not

·6· · beyond.

·7· · Q.· · And do you always titrate vecuronium

·8· · bromide?

·9· · A.· · I -- no -- the answer is no.· There may

10· · be times in which I have to give the drug

11· · for -- to get a -- get what I think will be a

12· · maximal effect rapidly because either emergency

13· · situations or control an airway; in which case,

14· · I'm going to give a standardized dose per

15· · kilogram.· I'm not going to give less than that

16· · and work my way up.

17· · Q.· · And do you frequently administer

18· · vecuronium bromide intravenously?

19· · A.· · It's the only way I've administered

20· · vecuronium.

21· · Q.· · How does vecuronium bromide affect a

22· · person's ability to breathe?

23· · A.· · It -- a person can't breathe when they're

24· · paralyzed, not on their own.

25· · Q.· · And so, if you're preparing to administer



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·1· · vecuronium bromide to a patient, what -- run me

·2· · through the checklist of things you're

·3· · considering.

·4· · A.· · I'm sorry, I'm kind of stunned by the

·5· · scope of the question.

·6· · · · · You mean, I already know I need the

·7· · vecuronium.· I'm not assessing whether I need

·8· · it.· I'm going to --

·9· · Q.· · Right, you made the decision to use it.

10· · A.· · Okay.· So if I made the decision to use

11· · it, first of all, I need to have a well-running

12· · IV.· I can't give it -- I shouldn't give it

13· · into an IV that is not free-flowing.

14· · · · · I need to have available suction so that

15· · if the patient vomits and -- I can quickly

16· · suction that away from the airway and hopefully

17· · save them from drowning in their own vomit.

18· · · · · And by the way, frequently, if I'm going

19· · to be giving vecuronium in an emergency

20· · situation, that's the situation in which I will

21· · be giving it.· I want to have a means of

22· · intubating them and controlling the airway or

23· · putting in what's called an LMA in, which is

24· · another way of controlling the airway, a

25· · laryngeal mask airway.



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·1· · · · · I want to make sure that that equipment

·2· · is working and in good order, so I'm going to

·3· · have checked that out ahead of time.· I want to

·4· · make sure that I have a video -- either a

·5· · laryngoscope or a videoscope of some kind that

·6· · will help -- that will facilitate me putting

·7· · the airway in quickly.

·8· · · · · I'm going to want to have some sort of

·9· · means of ventilating the patient once I have

10· · the airway in, whether it's a ventilator, an

11· · Ambu bag.

12· · · · · I'm going to want to warn the patient

13· · that they may feel weak.· It is rare for me to

14· · give vecuronium without giving some narcotic in

15· · addition to it, because I want the airway

16· · reflexes suppressed, but if there were an

17· · extreme situation, I can imagine giving someone

18· · a paralytic agent in order to intubate them, in

19· · order to save their life; in which case, I

20· · would warn them that they were going to feel

21· · weak and I would assure them that I'm going to

22· · make sure they get enough air.

23· · · · · I'm going to want to also, if possible,

24· · if it's in -- if it's not in the field

25· · somewhere, I'm going to want to have monitors



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·1· · that work, that show me the blood oxygen

·2· · saturation, the blood pressure and the pulse

·3· · heart rate and rhythm.

·4· · Q.· · So -- okay.· So then, let's take it a

·5· · step back.· When you're making the decision

·6· · whether to use vecuronium, what is the

·7· · checklist you're running through?

·8· · A.· · Well, first of all, it's do I need a

·9· · muscle paralytic agent at all.· So we're going

10· · to -- I'm just going to give that as a class

11· · and set it aside.

12· · · · · Then I want to know -- one consideration

13· · might be, what do I have available and is there

14· · a better drug than vecuronium to use for this,

15· · either for rapidity of onset or more likely for

16· · how quickly it will wear off.· And do -- and

17· · does the patient have any contraindications to

18· · using vecuronium, such as a previous

19· · anaphylactic reaction to vecuronium, or are

20· · they on other drugs that might make the

21· · administration of vecuronium dangerous.

22· · · · · And a typical -- there is a well-known

23· · combination, for example, of vecuronium and

24· · sufentanil that can cause cardiac arrest, so --

25· · but sufentanil is not present in most patients,



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·1· · so...

·2· · Q.· · Okay.· So now we're going to go back even

·3· · another stage.· When you're deciding whether to

·4· · use a muscle paralytic, what's that checklist

·5· · of considerations you run through?

·6· · A.· · Well, in an emergency situation or -- I

·7· · mean, if it's an elective surgical case, the

·8· · decision to use an airway includes, one, does

·9· · the patient have risk factors that they will --

10· · that they would, if they didn't have an airway

11· · in place, even if they were breathing on their

12· · own, vomit and aspirate and potentially die

13· · from that.· So if they have risk factors for

14· · that, I'm going to want to intubate them.

15· · · · · Two, does the patient have risk factors

16· · such that under the course of general

17· · anesthesia or due to mechanical factors in the

18· · surgery, they're not going to be able to

19· · breathe well enough on their own.· Laparoscopic

20· · procedures present a physical scenario in which

21· · patients can't breathe well even if they're not

22· · paralyzed.

23· · · · · Three, I'm going to want to then look at

24· · them and look at whether they have risk factors

25· · in the physical makeup of their airways such



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·1· · that I'm going to have a difficult time getting

·2· · that airway secured once I give the vecuronium,

·3· · or assisting their ventilation once they're

·4· · paralyzed until I get that airway secured.

·5· · · · · So if I see a patient, for example, who I

·6· · think will be difficult to intubate or

·7· · ventilate, I'm not going to give them

·8· · vecuronium in terms of a muscle relaxant

·9· · because I would condemn -- I might be

10· · condemning them to a failed intubation and a

11· · suffocating death.

12· · · · · So then, of course, I'm going to look

13· · at -- for -- also for whether I need a

14· · paralytic agent -- well, I think I've covered

15· · it, the -- whether the surgery requires it.

16· · So, for example, I might not need it at all for

17· · myself, but the surgeon needs it.· And so, I'm

18· · going to say, I need a muscle paralytic agent,

19· · which of my muscle paralytic agents do I prefer

20· · to use and do I even have a choice depending

21· · upon where I'm working.

22· · Q.· · And what are different surgeries where a

23· · paralytic agent is used?

24· · A.· · I think we've talked about this before,

25· · but any -- any surgery in which movements would



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·1· · be a disaster and -- and we don't require

·2· · movement as part of the monitoring in the case.

·3· · In other words, you might not want in a

·4· · delicate eye surgery, intraocular surgery,

·5· · to carry -- certain of those to carry out

·6· · without muscle relaxant.

·7· · · · · Any surgery in which the surgeon requires

·8· · muscle relaxation, either for access or for

·9· · parts of the procedure.· Any surgery in which

10· · we need to interrupt the breathing and control

11· · it with a machine, such as surgery on the

12· · lungs.· These are examples of surgeries that

13· · might require it.

14· · Q.· · Does vecuronium bromide have any effect

15· · on the heart?

16· · A.· · It has -- not directly.· It has something

17· · called a vagotonic effect, meaning it actually

18· · affects a nerve that dictates -- it has a mild

19· · effect on a nerve called the vagus nerve that

20· · affects the heart rate, and -- so it can -- I'm

21· · sorry, I said vagotonic.· It can be vagolytic,

22· · which means we see after some agents like

23· · pancuronium, vecuronium a slight rise in heart

24· · rate due to that drug alone, but it's not due

25· · to a direct action on the heart.· It's due to



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·1· · an action on a nerve.

·2· · · · · I'm going to stop for a moment.              I

·3· · just -- could I take like a three-minute break

·4· · to go use the bathroom?

·5· · · · · · · MR. MITCHELL:· Sure.· Actually, if we

·6· · want to break for -- we can do that or we can

·7· · break for lunch, which I was planning on doing

·8· · at some point.

·9· · · · · · · MR. KURSMAN:· Yeah, how about we

10· · break for lunch right now, if that's okay with

11· · both of you?

12· · · · · · · MR. MITCHELL:· Yeah, that's fine.

13· · · · · · · Does that work for Alex and Dr. Van

14· · Norman and court reporter, what if we came back

15· · at like 1:10 Central, which is 50 minutes from

16· · now?· I apologize for the delay, but I got to

17· · run to Jimmy John's.

18· · · · · · · (An off-the-record discussion was

19· · held.)

20· · · · · · · MR. KURSMAN:· Let's do 5-0, if that's

21· · fine with you, Rob.

22· · · · · · · MR. MITCHELL:· Yep.· And, Ms. Court

23· · Reporter, does that work for you?· Okay, so

24· · 1:10 Central.· 5-0 minutes from now.

25· · · · · · · (Lunch break.)



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·1· · BY MR. MITCHELL:

·2· · Q.· · Dr. Van Norman, we're back on the record

·3· · after taking a lunch break.· I don't know if

·4· · it's lunch in the Seattle area for you or what.

·5· · · · · During our break, did you speak with

·6· · anyone?

·7· · A.· · No.

·8· · Q.· · Did you review anything?

·9· · A.· · Nope, just the walk around the block with

10· · the dog.

11· · Q.· · And before we took a break, we were

12· · talking about vecuronium bromide.· Dr. Van

13· · Norman, what is the largest dose of vecuronium

14· · bromide you've ever administered to a patient?

15· · A.· · You mean as one bolus?

16· · Q.· · Yes.

17· · A.· · I actually don't know.· It's going to be

18· · between 10 and 20 milligrams.· It's probably

19· · closer to 10, but I don't know the exact dose.

20· · Q.· · What's the maximum amount of vecuronium

21· · bromide you administered to a patient in a

22· · 24-hour period?

23· · A.· · Oh boy, for longer surgery, that might

24· · be -- that might be considerably more, but I

25· · don't know.· It's not going to be -- it's not



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·1· · going to exceed 30 milligrams, for example,

·2· · but I -- if I had an eight-hour surgery

·3· · paralyzing somebody, it might add up to quite a

·4· · bit, so...

·5· · Q.· · For the -- what would an eight-hour

·6· · surgery be?· What would be an example of an

·7· · eight-hour surgery where you'd administer, you

·8· · know, 20 milligrams or so of vecuronium

·9· · bromide?

10· · A.· · There are lots of what are called neck

11· · dissections where people have head and neck

12· · cancers and they not only have to have the

13· · cancer taken out, which is the long part of the

14· · procedure, but they would have a dissection of

15· · the lymph nodes and everything in the neck.

16· · It's not unusual for those to go eight hours.

17· · · · · Liver transplants can go -- we have

18· · actually had -- back when I was doing them, we

19· · had several that went more than 24 hours.· It's

20· · not usual for them to do that, but it can

21· · happen.

22· · · · · It is -- it was not unusual when I was

23· · training for specialized heart cases to go for

24· · more than 12 hours.

25· · · · · So there are long surgeries.· They aren't



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·1· · the most common, but I couldn't -- I would not,

·2· · by the way, have used vecuronium.· In many of

·3· · those cases, vecuronium wouldn't have been

·4· · available during some of that.· And I can't be

·5· · sure, you know, what I would have administered

·6· · for such cases, but just to let you know, it's

·7· · possible.

·8· · Q.· · Vecuronium would be possible in those

·9· · cases?

10· · A.· · Yes.

11· · Q.· · For the 10- to 20-milligram bolus dose of

12· · vecuronium that you mentioned a moment ago, do

13· · you remember what that medical procedure was?

14· · A.· · No.· You're just asking -- you were just

15· · asking what's the maximum dose, and I know that

16· · I have at times gone above 0.1 per kilo to,

17· · like, 0.15 and that I do a hundred milligram --

18· · excuse me, hundred kilogram patient, so I know

19· · it's been in there, but I wouldn't have a

20· · specific surgery I could point to.

21· · Q.· · What's the largest dose of vecuronium

22· · bromide you've ever been present for a patient

23· · to receive that you didn't administer yourself?

24· · A.· · I really don't know.· I don't have an

25· · answer for that.



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·1· · Q.· · Would it be within that range we've

·2· · talked about?

·3· · A.· · I think so.· I think so, yeah.

·4· · Q.· · How much vecuronium bromide would it take

·5· · to paralyze an average adult, hundred-kilogram

·6· · adult for 30 minutes?

·7· · A.· · To completely paralyze them, an

·8· · average -- if we said an average was between 70

·9· · and a hundred kilograms, say, which is kind of

10· · the size these days, it would be between 7 and

11· · 10 milligrams.

12· · Q.· · Do neuromuscular blockers double the

13· · possibility of a patient being aware during

14· · surgery?

15· · A.· · Clinical studies have shown that the --

16· · not aware.· There is -- because we -- the

17· · studies didn't test awareness, they tested

18· · recall.· And it was found that in patients who

19· · had received neuromuscular blockers of any kind

20· · during surgery, the chances of them having

21· · recall, which means they were aware, was

22· · doubled.

23· · · · · We don't know how many of those patients

24· · were aware, because many more patients are

25· · aware than actually have recall of it.· So I



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·1· · can't make a statement about that.

·2· · Q.· · So in order to have recall, do you have

·3· · to be aware?

·4· · A.· · Of course.· In order to remember

·5· · something, you have to experience it.

·6· · Q.· · And be aware that it's occurring?

·7· · A.· · That's correct, but you can certainly be

·8· · aware of things and not recall it.· And so,

·9· · that's the -- that's a much larger group of

10· · patients.· We know that from the IFT.· And the

11· · studies that looked at neuromuscular blockade

12· · and recall were very -- were pretty early

13· · before there were good studies of awareness, so

14· · we don't have that number.

15· · Q.· · So just to make sure I understand,

16· · awareness is a predicate for recall, but recall

17· · is not a predicate for awareness; does that

18· · make sense?

19· · A.· · That's correct, yes.

20· · Q.· · Okay, is that right?

21· · · · · Okay.· And so, so then going back to the

22· · question, neuromuscular -- your position would

23· · be that neuromusculars double the possibility

24· · of a patient recalling during surgery?

25· · A.· · Right.· And so, yeah, it may -- it may



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·1· · also double -- it likely also doubles the risk

·2· · of awareness, but the test was actually recall.

·3· · And I want to be pretty specific about that, I

·4· · don't want to -- I want to be clear because

·5· · there's so much confusion about these early

·6· · studies who said, we tested awareness, when

·7· · they didn't test awareness.· They tested

·8· · recall.· And so, they were testing a very small

·9· · subset of patients who were actually aware.

10· · Q.· · Actually aware or actually recalling?

11· · A.· · They were testing aware patients, and the

12· · number of patients -- I'm sorry, they were

13· · testing -- see, I get it, too.

14· · · · · They were testing the patients who

15· · recalled their surgery, and that is a very

16· · small number of patients.· The number of

17· · patients that are aware during surgery is much

18· · larger, but the studies that I am aware of

19· · looking at neuromuscular blockade says that

20· · more -- many more patients recalled their

21· · surgery if they had neuromuscular blockade

22· · given during the surgery.

23· · Q.· · Okay.· And what studies are those?

24· · A.· · I've quoted them in my report.· I'd have

25· · to pull up the report and look for that



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·1· · citation, but you have the citation, so...

·2· · Q.· · Okay, and you don't remember them

·3· · offhand?

·4· · A.· · No.· I mean, we've -- between the --

·5· · among the experts, we've probably thrown around

·6· · something like 300 citations, and so I'm not

·7· · going to rely on my memory for that.

·8· · Q.· · Okay.· Do muscles send signals to the

·9· · brain?

10· · A.· · No.

11· · Q.· · Okay.· Can muscles wake the brain up?

12· · A.· · That -- I'm not sure what you're asking.

13· · I mean, there are nerves in muscles that send

14· · sensation to the brain.· Is that what you mean,

15· · or do you mean the actual muscle fibers

16· · themselves?

17· · Q.· · No.· I mean, that's a fair distinction.

18· · I guess I was thinking -- I thought those

19· · nerves were part of the muscle, maybe I'm

20· · mistaken.

21· · A.· · Not technically in the way we would

22· · described them.· We'd say you have nerves that

23· · feed the muscle and then you have the muscle

24· · fibers itself that make up the muscle.· So the

25· · nervous system has tentacles that are attached



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·1· · in the muscles that provide signals to and from

·2· · the brain and spinal cord, but the muscle

·3· · itself doesn't have its own connection to the

·4· · brain, if that makes sense.

·5· · Q.· · So let's take an example.· Someone wakes

·6· · up in the night with muscle cramps in their

·7· · calf of their leg.· That's the -- the nerve

·8· · fibers in that muscle are waking up -- are

·9· · telling the brain to wake up; is that fair?

10· · A.· · I think that's a pretty fair description,

11· · yes.

12· · Q.· · Okay.· Under that circumstance, could a

13· · muscle relaxant reduce a person's ability to

14· · wake up?

15· · A.· · No.· Muscles -- not for pain, no.

16· · Muscles have -- I'm sorry, neuromuscular

17· · blockers have no analgesic properties

18· · whatsoever, and this has been tested many, many

19· · times.

20· · · · · So neuromuscular blockers do not relieve

21· · pain; meaning, once the fibers, the nerve

22· · fibers are sending signals to the brain, pain,

23· · pain, pain, the neuromuscular blockers do not

24· · change that.· What they -- does that make

25· · sense, what I just said?



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·1· · Q.· · I think so.· I'm thinking about that.

·2· · A.· · Yeah, maybe if you ask the question

·3· · another way, but...

·4· · Q.· · Yeah.

·5· · · · · Does vecuronium bromide affect

·6· · consciousness?

·7· · A.· · No.· It has no effect on consciousness at

·8· · all.· None of the muscle relaxants do, muscle

·9· · paralytics do.

10· · Q.· · What is potassium chloride?

11· · A.· · It's an electrolyte.· You know, it's an

12· · electrolyte salt.· Potassium and chloride

13· · together are really a mineral salt, and the

14· · electrolyte on that is potassium.· It's a

15· · natural-occurring mineral, and it also occurs

16· · throughout various tissues in the body.· And

17· · it's particularly important in neural

18· · transmission, particularly things like the

19· · electrical transmission in the heart.· It also,

20· · though, facilitates muscle contraction, so...

21· · Q.· · So in medicine, what is potassium

22· · chloride used for?

23· · A.· · If you don't have a normal potassium

24· · chloride level, we would use potassium chloride

25· · level to correct that.· And so -- if it were



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·1· · low.· And the reason we would is that a low

·2· · potassium chloride can lead to, in some cases,

·3· · muscle cramps because the effect of potassium

·4· · in the muscles causes some contraction.

·5· · · · · But more importantly, low potassium

·6· · chloride can cause heart arrhythmias, so the

·7· · heart can go into an arrhythmia or even stop if

·8· · your potassium level is too low or too high.

·9· · · · · And we would obviously not treat a high

10· · potassium level with potassium.· We would treat

11· · a low level with it.· We'd treat a high

12· · potassium level in other ways.

13· · Q.· · And so, is potassium chloride used in

14· · order to treat arrhythmias?

15· · A.· · Only if the potassium level is low.               I

16· · mean, if you had an excessively low potassium

17· · level -- I guess it's kind of a funny way to

18· · ask the question in that I wouldn't treat the

19· · arrhythmia with the potassium.· I'd use an

20· · anti-arrhythmic drug, but to make the

21· · arrhythmia stay under control, I would correct

22· · the potassium.· So my actual treatment of the

23· · arrhythmia would be something else.

24· · Q.· · What else is potassium chloride used for

25· · in medicine?



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·1· · A.· · That's the main thing.· It's added as an

·2· · electrolyte into, for example, IV solutions

·3· · variously, because if we don't, putting more

·4· · fluid in a bloodstream actually lowers the

·5· · potassium of the bloodstream.· So we're

·6· · preventing the potassium level from changing,

·7· · but those -- it's really about maintaining

·8· · normal electrolyte balance for the reasons I

·9· · mentioned.

10· · Q.· · Do you use potassium chloride in your

11· · medical practice?

12· · A.· · I have.· In anesthesia, the actual use of

13· · potassium chloride, other than as a normal

14· · additive that the IV's come with for the

15· · reasons I mentioned, is pretty rare.

16· · · · · But in -- when I was in internal

17· · medicine, we -- I administered potassium to

18· · patients who had low potassium a number -- many

19· · times.· I mean, it was not a rare occurrence,

20· · so...

21· · Q.· · Would you administer potassium chloride

22· · in the context of cardiac anesthesia?

23· · A.· · Again, only if the potassium level were

24· · low -- well, let me back up.

25· · · · · There are two ways potassium is used in



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·1· · cardiac surgery, and it might be administered

·2· · by the anesthesiologist.· The most common

·3· · reason I, as the anesthesiologist, would be

·4· · administering potassium chloride would be to

·5· · correct a low level so that I could prevent an

·6· · arrhythmia in the heart.

·7· · · · · But the actual most common use of

·8· · potassium chloride in cardiac surgery is to

·9· · stop the heart so that they can operate on it.

10· · And -- and, I'm sorry, it would be uncommon for

11· · me to be administering it, although quite

12· · possible.· More often, that would be put in the

13· · bypass machine, in what's called the

14· · cardioplegia solution.

15· · Q.· · And how does the potassium chloride stop

16· · the heart so it can be operated on?

17· · A.· · Oh boy.· Well, let's give you the

18· · CliffsNotes version.· The way electricity --

19· · the way contraction in a heart is generated,

20· · the way the electrical conduction system of the

21· · heart, which is not a nerve system by the way,

22· · that is actually a heart tissue that has

23· · electrical activity, is it relies on a balance

24· · between potassium and sodium inside and outside

25· · of any individual muscle cell.



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·1· · · · · And what the electrical tissue in the

·2· · heart does is it sets off an impulse that opens

·3· · the cell to allow potassium ions and sodium

·4· · ions to flow across the membrane, and that

·5· · creates an electrical current.· That's as much

·6· · as I can get into it right now.

·7· · · · · So potassium, in terms of heart

·8· · surgery -- well, potassium affects the way in

·9· · which electricity flows around the heart and

10· · the magnitude of the response to that, whether

11· · the heart is going to go into an arrhythmia,

12· · whether it's going to be irritated by a lot of

13· · electrical signals from the cardiac conducting

14· · tissue.

15· · Q.· · How long does it take potassium chloride

16· · to stop the heart?

17· · A.· · Depends on the dose you give, but -- and

18· · it depends on the administration.· Is it being

19· · given directly into the heart or is it being

20· · given in a peripheral vein?· What -- in

21· · either -- and what's the dose -- yeah, and

22· · what's the dose, so...

23· · Q.· · Let's say it's given through a peripheral

24· · vein.

25· · A.· · And the dose?



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·1· · Q.· · Ten milligrams.

·2· · A.· · Milliequivalents?

·3· · Q.· · Milliequivalents.

·4· · A.· · It's not measured in milligrams.· It's

·5· · measured in how many ions there are in

·6· · solution.

·7· · · · · Ten, if it's given slowly through a

·8· · peripheral vein, might not stop the heart at

·9· · all, but it has to be given slowly.· It's

10· · not -- a 10 is not necessarily a cardiac arrest

11· · dose.

12· · Q.· · Forty milliequivalents?

13· · A.· · You could stop the heart with 40

14· · milliequivalents, particularly if it's given

15· · directly into the heart.· If you give it very

16· · rapidly in a peripheral vein, you would

17· · certainly get severe pain, but -- and you would

18· · certainly get some sort of arrhythmia, but you

19· · might not get a complete cardiac arrest.

20· · Q.· · So if a medical professional wanted to be

21· · certain to stop the heart and was delivering

22· · potassium chloride through a peripheral vein,

23· · how much potassium chloride should they

24· · deliver?

25· · A.· · I would be totally guessing, but I would



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·1· · say that in terms of what they can -- what the

·2· · certain dose is, so I -- because obviously, I

·3· · never used that drug in that way, but I can

·4· · assure you if you gave a hundred

·5· · milliequivalents by vein, you would stop the

·6· · heart.

·7· · Q.· · Have you ever given a patient an infusion

·8· · of potassium chloride too rapidly?

·9· · A.· · Yes.

10· · Q.· · How many times?

11· · A.· · I think it only takes once.· In the

12· · particular case, and I remember it because it's

13· · a learning case for me, it was not very

14· · serious.· This was 25 -- it was a standard

15· · what's called piggyback for the IV.· It was in

16· · this case 40 milliequivalents of potassium

17· · dissolved in a liter of fluid, and I ran the

18· · fluid at about 200 CCs per hour rather than the

19· · prescribed 100 CCs per hour, and that is too

20· · rapid.

21· · · · · The effect it had was the patient had

22· · pain in their IV.· It didn't have an effect on

23· · the heart because when they had pain, we

24· · stopped the infusion, and they had gotten far

25· · less than even 10 milliequivalents of



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·1· · potassium.

·2· · · · · So I've never had an instance in which I

·3· · gave a dangerous bolus of potassium too

·4· · quickly.

·5· · Q.· · How did you know you had given it too

·6· · rapidly?

·7· · A.· · The patient told me it hurt.

·8· · Q.· · Like in the moment?

·9· · A.· · In the moment, yeah.

10· · Q.· · And what did the patient say?

11· · A.· · Oh, ow -- something like, oh, ow, my arm

12· · is burning.· I don't remember the exact words,

13· · but he said words to the effect that, wow, that

14· · IV hurts, so -- and that was a very small dose

15· · of potassium.

16· · Q.· · We've talked a little bit throughout the

17· · day about stimulus or stimuli in the context of

18· · anesthesia.· Can you give me some examples of

19· · stimuli?

20· · A.· · Well, I mean, you can have all sorts of

21· · stimuli.· In terms of -- you can have just very

22· · light stimuli that are neither noxious nor

23· · painful.· An example of that would be brushing

24· · someone's eyelids or calling their name.

25· · · · · You can have painful stimuli, which could



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·1· · be mildly painful, such as, oh, I don't know,

·2· · the patient's laying wrong or whatever.              I

·3· · can't -- I'll think of it in a minute, I'm just

·4· · kind of going blank.

·5· · · · · Moderately painful would include things

·6· · like pinching a muscle or things like that,

·7· · physically on a patient.

·8· · · · · And you can have very severe -- severely

·9· · painful stimuli by, say, taking a big knife and

10· · cutting them open from the bottom of their

11· · sternum to their pelvis.

12· · · · · You can have what we call noxious

13· · stimuli, which is in general another word that

14· · lay people substitute pain for where a patient

15· · is experiencing a horrible sensation, but it

16· · isn't -- but -- and they might even describe it

17· · as pain, but we describe it differently.

18· · · · · So you can have, for example, a sensation

19· · like you can't breathe, which is an extremely

20· · powerful stimulus, or you can have a sensation

21· · like something makes you itch.· That's a

22· · noxious stimulus, but it may not be severe.

23· · · · · So what else -- I'm trying to give you a

24· · scope of what we're --

25· · Q.· · Yeah.



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·1· · A.· · You know.

·2· · Q.· · That's helpful.

·3· · · · · So I think, if I'm hearing you correctly,

·4· · noxious stimuli and painful stimuli are not the

·5· · same?

·6· · A.· · They are in lay terms.· They are the same

·7· · in lay terms, when people describe it.· I'm

·8· · trying to say, well, do they -- do those two

·9· · different stimuli activate the same nerve

10· · systems, they don't, but they cause the same

11· · kind of experience in the brain, if that makes

12· · any sense to you.

13· · Q.· · So, you know, in a routine procedure,

14· · what are examples of some noxious stimuli?

15· · Like, would intubation be a noxious stimulus?

16· · A.· · It's a moderate stimulus.· It's not

17· · nearly as bad as surgical incision, but it

18· · certainly stimulates patients.· And if we don't

19· · have them appropriately premedicated, many of

20· · them will respond if they're not paralyzed.

21· · Q.· · Do patients typically respond to

22· · intubation?

23· · A.· · No, because I've usually paralyzed them

24· · for intubation, so they wouldn't be able to

25· · respond.



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·1· · Q.· · Okay.· Would they be aware that the

·2· · intubation was happening?

·3· · A.· · A lot of them might be, yes.· And

·4· · patients do actually report -- after some

·5· · procedures will report on intubations.

·6· · That's -- and that means, by the way, not only

·7· · they were aware but they recall it.

·8· · · · · · · MR. KURSMAN:· And, Rob, just to

·9· · clarify your question, would they be aware that

10· · the intubation is occurring, what -- what

11· · anesthetic drugs are you -- in this

12· · hypothetical are you suggesting that they have

13· · been given before --

14· · · · · · · MR. MITCHELL:· I'm just asking if

15· · it's routine in her practice.· I'm not ironing

16· · down, you know, any particular drugs.

17· · · · · · · MR. KURSMAN:· Okay.

18· · BY MR. MITCHELL:

19· · Q.· · So talking about awareness, because you

20· · have a section in your report that talks about

21· · terminology, Dr. Van Norman, what -- when you

22· · say awareness, what is awareness in the context

23· · of anesthesia?

24· · A.· · Well, it's not just when I say it.· When

25· · experts talk about awareness, we're talking



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·1· · about a patient being in the moment and

·2· · experiencing what's going on in the operating

·3· · room.· When we're talking about awareness

·4· · during a surgery, for example, let's take that

·5· · example, we're talking about a patient being

·6· · conscious of what's going on with them during

·7· · the surgery, end of story.

·8· · Q.· · Okay.· How do you -- well, do you monitor

·9· · awareness in patients during surgery?

10· · A.· · There is no monitor for awareness during

11· · patient -- for patients during surgery.· We

12· · certainly do monitor some things, but most of

13· · them have been shown not to correlate with

14· · consciousness.

15· · · · · And things that most anesthesiologists

16· · monitor and that I have, too, are -- I

17· · mentioned earlier in this deposition, are they

18· · sweating, are they tearing, are they -- if they

19· · can move, are they moving, are they vocalizing

20· · if they haven't been given a muscle relaxant

21· · and can vocalize?· Does their heart rate go up,

22· · does their blood pressure go up?

23· · · · · However, studies of actual awareness

24· · under anesthesia have shown that blood pressure

25· · and heart rate only change in a random sampling



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·1· · of patients, literally half, might as well take

·2· · a coin and toss it.· And so, it's -- even

·3· · though we do it, it doesn't really tell us

·4· · much, but we don't have anything else that we

·5· · can do.

·6· · Q.· · So are the vast majority of patients

·7· · aware even under general anesthesia?

·8· · A.· · The studies with the isolated forearm

·9· · technique, which is the golden standard for

10· · studying awareness, indicate that under general

11· · anesthesia, many, if not most patients are

12· · aware and if given the opportunity to respond

13· · and asked to, they will.

14· · · · · We also know of cases where patients are

15· · aware and could have responded but didn't.· So

16· · the answer to that is, the majority appear

17· · under most studies of awareness to be aware

18· · during the surgery.

19· · Q.· · During general anesthesia?

20· · A.· · Yes.

21· · Q.· · Do you agree with those studies'

22· · conclusions?

23· · A.· · I do.

24· · Q.· · Is it possible that maybe even all

25· · patients are aware when under general



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·1· · anesthesia?

·2· · A.· · I have -- I have not seen a study that

·3· · shows that all are aware, and so I'd have to

·4· · say that I don't know the answer to that.               I

·5· · don't have any way of knowing that.· All I can

·6· · tell you is the degrees that studies have

·7· · detected awareness.

·8· · Q.· · So this vast majority of patients who are

·9· · aware under general anesthesia, do they -- can

10· · they experience pain?

11· · A.· · Absolutely.· The studies show that a

12· · large number of them will actually, in the

13· · moment on the IFT, report that they're having

14· · pain.

15· · Q.· · And --

16· · · · · · · MR. KURSMAN:· Again, I just want to

17· · clarify with you, Rob, when you're talking

18· · about under general anesthesia and awareness,

19· · are we also talking about that they're

20· · receiving a combination of drugs for general

21· · anesthesia, including analgesics, or are you --

22· · · · · · · MR. MITCHELL:· Well, I'm just talking

23· · about general anesthesia.· I mean, we're not --

24· · we haven't ironed out those hypos, I mean, but

25· · it's Dr. Van Norman's position, my



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·1· · understanding is, is that midazolam doesn't

·2· · apply to general anesthesia.· So I'm just

·3· · understanding her practice as an

·4· · anesthesiologist.

·5· · · · · · · MR. KURSMAN:· Sure, okay.

·6· · · · · · · THE WITNESS:· Well, okay.· Then I --

·7· · yes, I will -- but I will make a caveat that

·8· · the studies of awareness -- the issue of pain

·9· · under general anesthesia may be different

10· · depending upon the different types of general

11· · anesthetic regimens that are present.

12· · · · · · · We're talking -- you're talking about

13· · general anesthesia, which in these cases -- in

14· · these studies has included a combination of

15· · drugs.· And yes, the majority have been shown

16· · to be aware.

17· · BY MR. MITCHELL:

18· · Q.· · And also, a large number of them can

19· · experience pain under general anesthesia; is

20· · that correct?

21· · A.· · Yes, presumably, depending upon which

22· · drugs they receive.

23· · · · · So you haven't -- you haven't asked me

24· · which drugs they received and what the studies

25· · show on that.· And so, depending upon which



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·1· · drugs they receive, they may experience pain.

·2· · · · · There are also some studies of awareness

·3· · using single drugs just to see how different

·4· · anesthetic drugs affect awareness and pain

·5· · perception that indicate that it's possible

·6· · that there's a different experience depending

·7· · upon which drugs are used.

·8· · Q.· · So what would be an example of drugs

·9· · where someone would experience or could

10· · experience pain under general anesthesia?· What

11· · drugs would have been administered?

12· · A.· · Well, in several studies using midazolam

13· · in significant doses, meaning about 0.3

14· · milligrams per kilogram, and higher and

15· · alfentanil, one of the potent narcotics, up to

16· · 72 percent of women undergoing a full-on major

17· · gynecologic procedure with an open pelvis

18· · responded on the IFT, and a significant number

19· · of them, I think it was two-thirds, reported

20· · that they were in pain during the surgery.

21· · Q.· · Was that an ethical study?

22· · A.· · It was -- yes, it's an ethical study

23· · because it was done under the standard

24· · conditions of doing anesthetics.· It's just

25· · that they did some special test to -- they did



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·1· · the IFT to look for awareness.· And so, there's

·2· · nothing unstandard about that practice.

·3· · Q.· · Now, you mentioned midazolam, for

·4· · instance.· Is midazolam used for general

·5· · anesthesia?

·6· · A.· · Midazolam is never used as a general

·7· · anesthetic, but it is used as an adjunct drug

·8· · in general anesthesia, as we talked about

·9· · previously in this deposition, to provide

10· · relaxation, lack of anxiety and lack of recall

11· · of disturbing experiences.

12· · Q.· · And when you, as an anesthesiologist, use

13· · the term "responsiveness," what is

14· · responsiveness?

15· · A.· · Responsiveness means that you are not

16· · merely perceiving; in other words, you're aware

17· · and perceiving, but you are creating a physical

18· · movement or a physical -- visible physical

19· · response that shows that you've received it.

20· · · · · So when we talk about responsiveness in

21· · anesthesia and responsiveness in the awareness

22· · studies, we're talking about whether the

23· · patient did something when they became aware.

24· · And you can become aware and not do anything,

25· · can still remain unresponsive.



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·1· · Q.· · Is awareness a predicate for

·2· · responsiveness?

·3· · A.· · It is -- it is for the kind of

·4· · responsiveness we look for on that test.

·5· · Technically, yes, I would say so, because

·6· · reflexes are not a response.· They don't

·7· · involve a brain arc saying, oh, this is

·8· · happening to me, so I'm doing this.· And so,

·9· · movement can indicate response -- usually

10· · indicates responsiveness, but -- anyway, yeah.

11· · So...

12· · Q.· · So what tests do you use to monitor

13· · responsiveness?

14· · A.· · I watch the patient.

15· · Q.· · Okay, just eyesight?

16· · A.· · Well, yes, or if any of my other monitors

17· · indicate that the patient is moving, but

18· · basically I'm watching for movement in those

19· · patients -- I'm watching for it in all

20· · patients, but particularly in those patients

21· · that are not paralyzed by a muscle relaxant.

22· · Q.· · And how do you, as an anesthesiologist,

23· · pay attention to recall in your patients?

24· · A.· · Poorly, because it's hard to -- recall

25· · itself is quite rare and we haven't really



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·1· · figured out the right test for it.· But one

·2· · thing that most anesthesiologists and I

·3· · certainly do is after the anesthetic is over

·4· · and the patient is awake and acting normally,

·5· · so they're no longer sleepy, they're no longer

·6· · under the influence of any drugs that I can

·7· · see, I ask them what is the last thing that

·8· · they recall before or at the time of going in

·9· · the operating room.· Did they have any

10· · particular dreams or experiences that they want

11· · to report to me in the operating room, what

12· · were -- and if they do, and sometimes they do,

13· · even though it's -- it's not awareness of the

14· · surgery, and we can get to that, I ask them

15· · about how disturbed they feel by that, if they

16· · feel like they -- if it was a bad experience

17· · for them or if it was okay, and I ask them if

18· · they want to have me explain more of what might

19· · have happened.

20· · · · · In cases where patients are traumatized

21· · by this, I offer -- and this has only happened

22· · really once in my career.· I offered the

23· · patient psychological counseling about it,

24· · which he felt he didn't need because he felt

25· · the most reassuring thing was to understand



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·1· · what had happened to him.

·2· · Q.· · And did you say there's no tests for

·3· · monitoring recall?

·4· · A.· · Well, what I mean -- the only test is ask

·5· · the patient about recall, but it isn't simply a

·6· · matter -- you can't simply ask just, what do

·7· · you recall, because sometimes -- you have to

·8· · ask the question in several ways.· It's been

·9· · shown even in the Russell tests that if you ask

10· · the patient a couple of different ways, they're

11· · more likely to actually report recall to you

12· · than if you just ask, did you remember

13· · anything, for example.

14· · · · · So the only guidance on that in terms of

15· · interviews is really to ask, do you have any

16· · recall, did you have any dreams, anything --

17· · any experiences that you want to report to me.

18· · Q.· · And is recall the same as remembrance?

19· · A.· · Yeah.

20· · Q.· · And is recall of concern during a lethal

21· · injection execution?

22· · A.· · Of course not, the prisoner isn't going

23· · to remember anything.

24· · Q.· · Right, because the prisoner would be

25· · executed?



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·1· · A.· · That's right.· Recall requires that you

·2· · survive to recall it.· And in this case, recall

·3· · makes no difference.· What we're concerned with

·4· · was, were they aware?

·5· · Q.· · If an execution was called off after an

·6· · inmate had received the dose of midazolam and

·7· · vecuronium bromide under Tennessee's protocol,

·8· · would the inmate be able to remember receiving

·9· · the administration of those two drugs?

10· · A.· · It's very doubtful.

11· · Q.· · And why is that?

12· · A.· · Because midazolam prevents them from

13· · remembering.

14· · Q.· · Would -- okay.· Would the inmate survive

15· · if the inmate had received the dosages called

16· · for by the protocol?

17· · A.· · If the execution were called off,

18· · presumably we would then support the patient's

19· · breathing because you've given a paralytic

20· · agent and they can't breathe.· You wouldn't

21· · just sit there.· And so, it wouldn't be fatal

22· · to them.

23· · · · · There's nothing intrinsically fatal about

24· · midazolam.· It can affect breathing, but you

25· · can survive that if you're given the right



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·1· · support.

·2· · Q.· · Could a 500-milligram dose of midazolam

·3· · kill an inmate?

·4· · A.· · If it could, it would be because there is

·5· · airway obstruction that occurs.· Midazolam does

·6· · cause relaxation of the muscles in the neck and

·7· · throat, and it's possible that it could, in

·8· · sufficient doses, cause relaxation of those

·9· · muscles enough to obstruct the airway so that

10· · the inmate couldn't breathe, but it would not

11· · kill the inmate in a short period of time.

12· · Q.· · And would 500 milligrams of midazolam be

13· · sufficient, though, to kill the inmate?

14· · A.· · I know of no studies of that to know for

15· · sure.· There's never, to my knowledge, been a

16· · clinical study of 500 milligrams of midazolam.

17· · Q.· · Do you think, based on your experience

18· · with midazolam, that 500 milligrams of

19· · midazolam administered to a patient

20· · intravenously and left alone would kill the

21· · patient?

22· · A.· · Again, I don't have any experience with

23· · that.· And I don't know what the sufficient

24· · dose would be to cause reliable airway

25· · obstruction in patients or in inmates that have



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·1· · been given midazolam.· So I really can't answer

·2· · that question with any science basis at all.

·3· · Q.· · How quickly -- if an execution was called

·4· · off after the administration of 500 milligrams

·5· · of midazolam and a hundred milligrams of

·6· · vecuronium bromide, how quickly would support,

·7· · you know, ventilation have to be brought to the

·8· · inmate in order to save the inmate?

·9· · A.· · That'll be dependant on factors related

10· · to the inmate, because it'll depend on how

11· · rapidly the inmate's blood oxygen level has

12· · fallen during that time.· Has it fallen -- you

13· · know, how long it takes for the blood oxygen

14· · levels to fall to dangerous enough levels that

15· · the heart is going to experience an arrhythmia

16· · and stop, or that the brain will experience

17· · irrevocable damage and they'll be brain dead.

18· · · · · And that's going to vary from inmate to

19· · inmate depending upon how -- their own oxygen

20· · carbon dioxide kinetics, their body habitus,

21· · what position they're in, and whether -- and

22· · little things like did they take a deep breath

23· · when the midazolam was given.· So it would

24· · depend and there'd be a range.

25· · Q.· · And what would that range be?



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·1· · A.· · I don't know the short end of the range

·2· · because that would depend entirely on inmate

·3· · factors.· So there'd be a period of time that's

·4· · totally inmate dependant.

·5· · · · · What we know from both understanding

·6· · asphyxia in humans and something called

·7· · noncompressive asphyxia in dogs, noncompressive

·8· · asphyxia is where you don't do anything to

·9· · strangle the person, okay, you just give them a

10· · drug to stop their breathing.· That's what

11· · we're talking about.· When you give the

12· · vecuronium, you're going to stop their

13· · breathing.· And in a dog, it will take more

14· · than 15 minutes for that dog to die.

15· · Q.· · And there are no studies on that in

16· · humans?

17· · A.· · Well, we know something of it from

18· · studies in humans who have undergone asphyxia

19· · due to other causes.· And we also know the

20· · mechanics of hemoglobin and oxygen and carbon

21· · dioxide in humans.

22· · · · · We know that if you have a person who's

23· · breathing who's then given vecuronium, the

24· · mechanics would suggest that it will take

25· · several minutes for the lungs themselves to be



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·1· · emptied of the oxygen reserve that's in the

·2· · lungs.· And then it will take probably four or

·3· · five or six minutes longer for the blood oxygen

·4· · levels to fall to dangerously low levels that

·5· · could damage the brain, kill the brain or stop

·6· · the heart.

·7· · · · · And then once that happens, it will take

·8· · about four minutes in the brain for permanent

·9· · damage to set in, additional, and about the

10· · same in the heart, and ten minutes for the

11· · whole brain.· So you can add that all up.

12· · That's three plus six, we're out at around 15

13· · again.

14· · · · · So the mechanics of what we know what

15· · happens to blood oxygen in a nonbreathing

16· · patient would tell us that we're going to get

17· · out in that range in about the same period of

18· · time.· 15 minutes would be what I would say.

19· · Q.· · And is that timeline you just mentioned

20· · assuming a patient receives a clinical dose of

21· · vecuronium bromide?

22· · A.· · It assumes any dose of vecuronium bromide

23· · that would stop the breathing, stop -- stop

24· · the --

25· · Q.· · So that -- that even assumes the -- does



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·1· · that assume a hundred milligram dose of

·2· · vecuronium bromide?

·3· · A.· · It assumes any dose that would stop the

·4· · breathing.· Whether it's five or whether it's

·5· · 500, it's what dose -- it isn't the dose

·6· · itself.· The dose -- vecuronium itself does

·7· · nothing directly to kill an individual.· What

·8· · it does is it paralyzes the muscles that

·9· · sustain breathing, and that's what kills the

10· · individual.· So whatever dose you give that

11· · stops the breathing will have the same effect.

12· · Q.· · Inmate dependant, what's the other end of

13· · that range, assuming an inmate with

14· · comorbidities?

15· · A.· · Other end, I'm sorry, which -- I

16· · apologize, I don't know what you mean by other

17· · --

18· · · · · · · MR. KURSMAN:· Objection.

19· · BY MR. MITCHELL:

20· · Q.· · Well, I think you were saying for a

21· · healthy individual, normally you would

22· · expect it -- you would expect it to take 10 to

23· · 15 minutes for the vecuronium bromide to kill

24· · the individual, but you had said there are

25· · certain inmate-specific or person-specific



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·1· · factors.· And so, I'm wondering -- and my

·2· · understanding was those factors were at the

·3· · other end of the range.· So what's the short

·4· · end of how long?

·5· · A.· · Well, and first of all, I didn't say 10

·6· · to 15 minutes.· I said 15 minutes, that's what

·7· · we have the calculations for and that's what we

·8· · have the evidence for in clinical studies.

·9· · Q.· · Is that in the animal studies or with

10· · humans?

11· · A.· · I said the animal -- the animal studies,

12· · and also understanding how the process of

13· · asphyxia in human beings, which are clinical

14· · studies.

15· · · · · And so, the -- I think what you're asking

16· · me is, would some inmates die quicker than

17· · that, and the answer is not much.· There might

18· · be a slight effect, for example, if the inmate

19· · had severe pulmonary disease and started with a

20· · very low oxygen level to begin with, you might

21· · shorten that by two or three minutes, because

22· · that's the part of the oxygen dissociation

23· · curve that involves emptying out the reserve

24· · volume in the lungs.

25· · · · · If you have an especially heavy inmate,



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·1· · it's exactly the same thing but for a different

·2· · reason.· The weight of their body might empty

·3· · out the reserve volume in the lungs, might

·4· · press on the reserve volume in the lungs, but

·5· · again, you'd only be talking about perhaps a

·6· · two-minute difference.· So I don't think you're

·7· · going to see much variation in this from inmate

·8· · to inmate, but it will vary a little bit.

·9· · Q.· · Is it possible that a hundred-milligram

10· · dose of vecuronium bromide delivered

11· · intravenously could kill someone in under five

12· · minutes?

13· · A.· · I -- somebody who's breathing room air?

14· · I cannot imagine that, no.

15· · Q.· · Okay.· And you don't think it's possible?

16· · A.· · I don't think it's possible, if we --

17· · given the caveat that we have a normal patient

18· · or a normal inmate breathing room air who

19· · doesn't have -- isn't already -- already

20· · dangerously low in oxygen.· And even then, it

21· · would still take the obligate four minutes for

22· · reversible damage in the brain and heart to

23· · occur, and an additional -- and ten minimum to

24· · get permanent damage.· So no, I can't -- I

25· · don't think so.· I think you would be standing



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·1· · there for 15 minutes waiting for someone's

·2· · heart to stop.

·3· · Q.· · What -- switching gears, Dr. Van Norman,

·4· · as an anesthesiologist, what is consciousness?

·5· · A.· · That's kind of an existential question.

·6· · When we talk about consciousness, we're talking

·7· · about sufficient connections within the brain

·8· · such that the brain can perceive its

·9· · environment and, for lack of a better word,

10· · enjoy it or experience it.· It doesn't mean

11· · that they can respond to it, but they can

12· · experience it.· So the brain on some level

13· · understands what's happening to it or to the

14· · body.

15· · Q.· · Do you monitor consciousness as an

16· · anesthesiologist?

17· · A.· · We monitor responsiveness.· There's no

18· · way to monitor consciousness.

19· · Q.· · Can you monitor responsiveness via your

20· · sense of sight?

21· · A.· · Yes.· And as I mentioned, if there are --

22· · if my monitors are indicating that the patient

23· · is beginning to respond in a physical way, then

24· · I can monitor that, as well.

25· · Q.· · And what monitors do you use for



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·1· · monitoring that?

·2· · A.· · Well, I think we've talked about this

·3· · before.· We monitor the EKG and heart rate,

·4· · blood pressure, pulse oximetry.· We watch to

·5· · see if the patient's moving.· We monitor -- we

·6· · monitor the patient's level of paralysis so

·7· · that we know if what we're -- you know, so that

·8· · we can adjust it if we need to see whether the

·9· · patient is responsive or not.

10· · · · · We monitor -- so those are -- those are

11· · the monitors that are used in the vast majority

12· · of cases.

13· · Q.· · And those monitors are used to monitor

14· · responsiveness, not consciousness?

15· · A.· · That's correct.

16· · Q.· · What is connected consciousness?

17· · A.· · Some people divide consciousness, which

18· · is awareness of what's happening to the

19· · brain -- or the body, right?

20· · · · · In cases where the brain is aware of

21· · what's happening to it but what's happening to

22· · it isn't in the real world, so in dreams, they

23· · generally will call that disconnected

24· · consciousness.· The brain is conscious of

25· · what's happening in the dream.· You and I can



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·1· · have good dreams or bad dreams and respond

·2· · physically in the real world to them.· We might

·3· · make vocalizations, we might move in our sleep.

·4· · Sleepwalkers get up and walk around in response

·5· · to things that are happening to them that are

·6· · not real, if that makes sense, or not in the

·7· · real world.· They're real on an emotional sense

·8· · but not in a physical sense.

·9· · · · · And connected consciousness is when the

10· · brain is aware of and -- the brain is aware of

11· · events that are happening in the real world.

12· · Q.· · So if you say conscious or consciousness

13· · in your report, assuming you don't use

14· · "disconnected," generally are you referring to

15· · connected consciousness?

16· · A.· · I'm generally referring to connected

17· · consciousness.· And I try, I won't say I'm a

18· · hundred percent successful, but I try always to

19· · point out those instances when I'm referring to

20· · disconnected consciousness.

21· · Q.· · And again, disconnected consciousness is

22· · dreaming -- are there other examples of

23· · disconnected consciousness?

24· · A.· · There are -- the answer's yes, there are

25· · certain kinds of psychological conditions and



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·1· · things like fugue states and whatever, but I

·2· · don't -- I don't think they are any more

·3· · relevant than the dream state in talking about

·4· · the difference, so...

·5· · Q.· · So when the lay person says

·6· · consciousness, nine times out of ten at least

·7· · they're talking about connected consciousness;

·8· · would that be fair?

·9· · A.· · I would think so.

10· · · · · · · MR. KURSMAN:· Objection.· Objection.

11· · BY MR. MITCHELL:

12· · Q.· · When you use the term "consciousness,"

13· · are you generally referring to connected

14· · consciousness?

15· · A.· · I try to point out those times when I'm

16· · not talking about connected consciousness.               I

17· · don't -- I -- yes, the answer's yes, but I will

18· · tell you I'm sure I make mistake now and then

19· · and don't -- and forget to mention that I'm

20· · talking about one or the other.

21· · Q.· · Is consciousness a continuum?

22· · A.· · Yeah.

23· · Q.· · And do connected consciousness and

24· · disconnected consciousness have separate

25· · continuums or are they on the same continuum?



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·1· · A.· · That's a -- you know, I don't know that I

·2· · can answer that question.· I think that they

·3· · probably operate the same, but I don't know

·4· · that they are the same.

·5· · · · · So particularly stimulating things that

·6· · happen in a dreamlike state are more likely to

·7· · lead to strong responses in the dream, just as

·8· · particularly strong stimuli in the physical

·9· · world are likely to rouse consciousness in a

10· · person who -- in a person who may be sleeping.

11· · · · · So it's a funny question -- I'm sorry,

12· · I'm trying -- I'm struggling with the question

13· · because it's kind of funny to ask.· There are

14· · different -- they're -- there are -- they are

15· · consciousness of different worlds literally,

16· · and I think it's best to keep them separated

17· · for our purposes and talk about them

18· · separately.

19· · Q.· · So on the continuum of connected

20· · consciousness, what would be some end points on

21· · that continuum?

22· · A.· · End points, would -- I apologize --

23· · Q.· · What would be some -- I mean, if it's a

24· · continuum, presumably there's degrees of

25· · consciousness.



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·1· · A.· · Well, I guess maybe I can say it a little

·2· · better.· It isn't so much a degree of

·3· · consciousness as the level of stimulation that

·4· · is required to have the brain aware of what's

·5· · happening in the physical world.· And so, in

·6· · different situations, you may have awareness

·7· · and not in others.· But I'm not sure I would

·8· · say you were more conscious in one situation.

·9· · · · · There are -- I'm struggling with the idea

10· · of -- consciousness is not an all-or-none

11· · proposition.· There are -- you can have sort of

12· · awareness of things that are happening to you

13· · and you want to respond to them; and yet, maybe

14· · not be able to describe each and every facet of

15· · what's happening to you.

16· · · · · I guess I'm struggling with almost a

17· · philosophical question here.· I apologize, but

18· · I -- so I -- I'm going to stop.· I don't really

19· · think I can answer what you've asked.

20· · Q.· · Okay.· Well -- okay, so let's take this

21· · from a different angle.· What's

22· · unconsciousness?

23· · A.· · Unconsciousness is a lack of awareness in

24· · the brain, a complete lack of awareness in the

25· · brain of the physical world.· So it's the



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·1· · opposite of consciousness.· It's -- it's not

·2· · having the brain understand that something

·3· · physical has happened -- with connective

·4· · consciousness, that something physical has

·5· · happened in the real world that it needs attend

·6· · to.

·7· · Q.· · So under what circumstances is a person

·8· · unconscious?

·9· · A.· · Now you are asking a philosophical

10· · question, because nobody has defined that

11· · point.· There isn't a medical definition of it.

12· · You're talking about a philosophical question.

13· · Q.· · Okay.· Well, so just helping me as the

14· · inverse of consciousness, are people ever

15· · unconscious?

16· · A.· · Again, I'm going to say that's a

17· · philosophical question.

18· · · · · I think the scientific question you're

19· · asking me is, how much connectedness can you

20· · lose and not be conscious, and the answer is

21· · nobody knows.

22· · Q.· · And so, is it your opinion, as an

23· · anesthesiologist, that no -- you can't answer

24· · whether anyone is ever unconscious?

25· · A.· · It's my -- no, it's my opinion that as an



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·1· · anesthesiologist, I don't have the definition

·2· · of where that point is.· It hasn't been

·3· · defined.· It hasn't been defined medically, and

·4· · you're asking me as a medical doctor, and I

·5· · can't answer that question.

·6· · Q.· · When you put people under general

·7· · anesthesia, have you ever made anyone

·8· · unconscious?

·9· · · · · · · MR. KURSMAN:· Objection.

10· · · · · · · MR. MITCHELL:· On what basis?

11· · · · · · · MR. KURSMAN:· It's been asked and

12· · answered repeatedly that -- Dr. Van Norman has

13· · said, as a medical expert, she cannot define

14· · when a person is conscious versus unconscious.

15· · · · · · · MR. MITCHELL:· Can you read my

16· · question back, please, Ms. Court Reporter?

17· · · · · · · (WHEREUPON, the record was read as

18· · requested.)

19· · BY MR. MITCHELL:

20· · Q.· · So you can answer, Dr. Van Norman, even

21· · though your counsel made an objection.

22· · A.· · Yeah.· Well, I can't answer that

23· · question.· I don't know.· What I do know is

24· · that there are probably many patients I have

25· · not made unconscious.



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·1· · Q.· · The vast majority, you have not made

·2· · unconscious?

·3· · A.· · I don't know.

·4· · Q.· · So do trained medical professionals

·5· · mistake people for being unconscious when those

·6· · people are actually conscious?

·7· · A.· · Every single day.

·8· · Q.· · Can anesthesia even produce

·9· · unconsciousness?

10· · A.· · I don't know.

11· · Q.· · What does it mean for someone to be

12· · awake?

13· · A.· · That's a lay term, and what it means is

14· · that the patient -- generally means is that the

15· · patient is fully aroused, the brain is fully

16· · aware of what's going on around it and is

17· · responding in some way.

18· · Q.· · And if a person is awake, is that person

19· · also aware?

20· · A.· · I think -- well, "awake" isn't a

21· · technical term here, so I think the way

22· · you're -- the way most lay people use the term

23· · "awake," they are referring to awareness.· But

24· · I don't use the term "awake" because it's -- it

25· · is not the right term to use, but I think most



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·1· · lay people, when they use it, mean the

·2· · patient -- they are referring to the process of

·3· · awareness.

·4· · Q.· · When the typical person is sleeping at

·5· · night, are they aware?

·6· · A.· · What stimulation are they getting?

·7· · · · · When they're asleep at night, they may or

·8· · may not be aware of things in the environment.

·9· · For example, many people who dream will

10· · incorporate sounds that are occurring in their

11· · environment in their dream, and they are

12· · conscious.· They may not respond to it.

13· · They're usually -- it's usually a form of

14· · disconnected consciousness.

15· · · · · So asking me if they're aware is tough

16· · because the brain -- part of the brain can be

17· · aware to what's happening in the environment,

18· · but that's not what we're talking about when

19· · we're talking about medical awareness.· We're

20· · talking about being connected to the physical

21· · environment around them.

22· · · · · If -- no.

23· · Q.· · Dr. Van Norman, what is brain depression?

24· · A.· · That, I have no idea.· That is not a

25· · precise medical term and it has no meaning for



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·1· · me.

·2· · Q.· · Okay.· Is it a term you're familiar with?

·3· · A.· · Not as a precise term.· I've heard people

·4· · talk about depressing the brain, but no, it is

·5· · not a specific term.

·6· · Q.· · Have you ever heard any of your

·7· · colleagues talk about depressing the brain?

·8· · A.· · I've had -- no, not -- no, I actually

·9· · have never heard that term used by any of my

10· · colleagues, either.

11· · Q.· · What is your understanding of what

12· · brain -- depressing the brain is?

13· · A.· · As I said, it is a meaningless term to

14· · me.· I don't know what a person would mean when

15· · they're using it.

16· · Q.· · Does the brain need oxygen to function?

17· · A.· · Yes.

18· · Q.· · How so?

19· · A.· · I'm sorry, I don't know what your

20· · question means.

21· · Q.· · Well, if the oxygen supplied to the brain

22· · is cut off, what happens?

23· · A.· · All cells in the body need oxygen to

24· · live.· We are oxygen-requiring creatures.

25· · · · · The processes in the brain -- the



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·1· · processes in any cell, and this includes the

·2· · brain, brain cells, which include, like, their

·3· · metabolism, their growth, their response to

·4· · stimuli and also their production of critical

·5· · elements that the cells produce in the brain,

·6· · this would be neurotransmitters, for example,

·7· · all depends on chemical processes that utilize

·8· · oxygen.· And without that, those processes

·9· · stop.

10· · · · · Processes that maintain the integrity of

11· · the cell so that the cell has an intact

12· · membrane and remains an intact cell, there's

13· · energy expended at that level that requires

14· · oxygen as part of the process to do that.· So

15· · when you deprive the cells of any part of the

16· · body of oxygen, they will die.· They happen to

17· · die at different rates, but they do all die

18· · without oxygen.

19· · Q.· · So what happens if the brain receives,

20· · you know, a little less oxygen than regularly?

21· · A.· · Well, there's -- what do you mean by "a

22· · little less oxygen"?

23· · Q.· · Well -- okay.· Do you monitor oxygen

24· · levels to the brain, as an anesthesiologist?

25· · A.· · We monitor the peripheral oxygen



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·1· · saturation of the blood.· And we presume that

·2· · that reflects what the brain is getting, but we

·3· · do not do any direct monitoring of brain oxygen

·4· · levels.

·5· · Q.· · And can you tell if the brain is getting

·6· · less oxygen than its accustomed to?

·7· · A.· · Can I -- I know that seems like a simple

·8· · question, but I'm not sure what you mean.· You

·9· · many by monitoring the peripheral oxygen

10· · levels, could I tell if the brain is getting

11· · less oxygen than it's accustomed to?

12· · Q.· · Sure.

13· · A.· · We hope so, but there are certain

14· · physical circumstances in which that may not be

15· · true.

16· · Q.· · What would those examples be?

17· · A.· · Well, for example, I had a colleague who

18· · did an anesthetic on a young man for a back

19· · surgery, and everything was completely normal,

20· · including the saturation of the blood with

21· · oxygen.· And yet, when he went to wake his

22· · patient up after a fairly brief surgery, the

23· · brain was dead.· And it had suffered -- when it

24· · was -- it became clear that the brain had

25· · suffered an anoxic brain injury.· It had not



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·1· · received any oxygen.

·2· · · · · And we investigated this because it's an

·3· · unusual circumstance, and there were only two

·4· · ways in which we believed that could happen.

·5· · The first was that there had been compression

·6· · of the neck so that even though the blood

·7· · pressure was normal, the blood had not flowed

·8· · to the brain and given the oxygen that it had

·9· · to the brain during the surgery.

10· · · · · The second is that the blood oxygen was

11· · actually displaced by another substance that

12· · lets the pulse oximeter read that the blood

13· · oxygen is normal and lets the patient remain

14· · pink in color but, in fact, is not oxygen, and

15· · that's carbon monoxide.

16· · · · · And we actually concluded that it was

17· · likely this patient had been receiving carbon

18· · monoxide during the anesthetic because there

19· · was a failure of the maintenance of our gas

20· · scavenging system in a way that is too complex

21· · to explain here.

22· · · · · So there are ways in which everything can

23· · look normal and the blood oxygen level as being

24· · read by the pulse oximeter is normal, but the

25· · brain actually doesn't receive oxygen.· Those



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·1· · instances obviously are catastrophic and

·2· · they're rare.

·3· · Q.· · And so, is it -- it's catastrophic if the

·4· · brain has low levels of blood oxygen?

·5· · A.· · For a sufficient period of time to cause

·6· · brain damage, yes.

·7· · Q.· · And if blood oxygen levels are low, will

·8· · that affect consciousness?

·9· · A.· · It will -- yeah, it will affect how

10· · arousable and how responsive the person is.

11· · We're getting back to that original question

12· · about consciousness that I kind of hate because

13· · I'm not sure what you mean by that, but it

14· · affects the way the brain -- it can affect the

15· · responsiveness of the brain, let me put it that

16· · way.

17· · Q.· · And so, when we talk about low blood

18· · oxygen levels, is that the same as hypoxia?

19· · A.· · Yes.

20· · Q.· · Okay.· And is hypoxia just a lack of

21· · oxygen?

22· · A.· · Yes.

23· · Q.· · Do you encounter low blood oxygen levels,

24· · you know, frequently in your practice?

25· · A.· · Yes.



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·1· · Q.· · Under what circumstances?

·2· · A.· · Well, we haven't defined whether we're

·3· · talking about just abnormally low blood oxygen

·4· · levels or dangerously, catastrophically low

·5· · blood oxygen levels.

·6· · · · · In several -- in many circumstances, we

·7· · will see low blood oxygen levels.· We can see

·8· · patients who have low blood oxygen levels as a

·9· · baseline because they have lung disease or

10· · other diseases that prevent them from having

11· · normal blood oxygen levels, but those levels

12· · are not low enough to affect the functioning of

13· · their brain or to cause brain damage.

14· · · · · During the course of an anesthetic, it's

15· · not unusual, for example, during an intubation

16· · to see a patient have their blood oxygen levels

17· · drop.· It is unusual to have them stay low or

18· · progress to a level that's low enough to cause

19· · brain damage or to -- or to have them stay low

20· · enough for long enough to cause brain damage,

21· · but it's not unusual to see blood oxygen levels

22· · drop below normal when we're intubating a

23· · patient, for example.

24· · · · · Or if they cough -- if they aren't

25· · intubated and are coughing during a procedure,



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·1· · that actually causes a natural occurrence of

·2· · low blood oxygen levels for a minute to a

·3· · minute and a half, but it's not sufficient for

·4· · the brain to be affected by it.· And, in fact,

·5· · if that occurred in a patient who was able to

·6· · talk to you about it, you probably wouldn't

·7· · notice any difference between them and normal

·8· · functioning.

·9· · · · · But yes, we see low blood oxygen levels

10· · all the time.· Our goal is to prevent low

11· · oxygen levels that would either be deep enough

12· · to cause damage or last long enough and -- be

13· · deep enough and long enough to cause permanent

14· · damage.

15· · Q.· · And could severe hypoxia also affect the

16· · heart?

17· · A.· · It can, yes.

18· · Q.· · Okay, how so?

19· · A.· · Well, the heart, as I mentioned before,

20· · is another tissue in the body that -- and all

21· · tissues in the body require oxygen to function.

22· · · · · The brain and the heart actually require

23· · about a similar amount of blood flowing to them

24· · all the time delivering oxygen, about

25· · 20 percent of the whole blood volume.· And if



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·1· · the blood -- and, in fact, when you have a

·2· · heart attack, for example, it's because a

·3· · blockage -- it often is because there's a

·4· · blockage that's occurred in a blood vessel such

·5· · that part of the heart doesn't get any blood

·6· · and, therefore, doesn't get any oxygen and it

·7· · becomes damaged by that.

·8· · Q.· · Could an inmate who's received

·9· · 500 milligrams of midazolam become hypoxic

10· · after receiving that dosage?

11· · A.· · If there was interference with their

12· · ability to breathe, if they became obstructed,

13· · they would -- and nothing was done about it,

14· · eventually they could definitely become

15· · hypoxic, yes.

16· · Q.· · And how long would that take?

17· · A.· · We've talked about this.· When you do a

18· · noncompressive asphyxia in dogs and in -- what

19· · studies have been done in asphyxia in humans,

20· · dangerously low blood oxygen levels take

21· · somewhere around eight, nine, ten minutes to

22· · develop, but those levels then have to be held

23· · low for four to ten minutes to cause either

24· · reversible or irreversible damage.

25· · · · · So you can achieve a dangerously low



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·1· · blood oxygen level, and then it has to be held

·2· · that low for a few more minutes before you have

·3· · damage to the heart or damage to the brain.

·4· · Q.· · So do you expect an inmate to experience

·5· · hypoxia during an execution under Tennessee's

·6· · protocol?

·7· · A.· · They might, but that's not the primary

·8· · mechanism that I expect them to experience, no.

·9· · Q.· · What's the primary mechanism you expect

10· · them to experience?

11· · A.· · I expect that they're going to experience

12· · flash pulmonary edema from administration of

13· · the midazolam, and that that's going to give

14· · them horrific sensation of drowning and

15· · suffocation.

16· · · · · And I expect that they are also going to

17· · experience searing pain when the potassium

18· · chloride is injected after they're paralyzed.

19· · Q.· · Do you expect an inmate to also

20· · experience ventricular fibrillation?

21· · A.· · I would -- I do not expect them to do so

22· · in the course of the execution until after the

23· · potassium has begun being injected.· It's

24· · possible for them to experience the arrhythmia

25· · during the injection of the potassium, but



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·1· · there's not enough time that passes between the

·2· · injection -- first injection of the midazolam

·3· · and the end of the injection of the vecuronium

·4· · for enough hypoxia to occur to cause cardiac

·5· · standstill before the potassium's injected.

·6· · Q.· · So if a person was severely hypoxic when

·7· · the vecuronium bromide was administered, could

·8· · the vecuronium bromide accelerate death?

·9· · A.· · No.

10· · Q.· · How soon after the administration of the

11· · vecuronium bromide could hypoxia occur?

12· · A.· · Well, we talked about that, as well.· If

13· · the patient -- I'm sorry, if the inmate is

14· · otherwise not obstructed and you give

15· · vecuronium, then you're going to talk about

16· · waiting for the maximal effect of the

17· · vecuronium, but in the executions, I think that

18· · happens in under a minute.· And then you would

19· · have to wait then for the emptying of the

20· · oxygen reserves, for the blood oxygen level to

21· · drop to dangerously hypoxic levels, and that

22· · period is probably around eight to ten minutes.

23· · · · · If -- so -- I mean, we -- it's the same

24· · calculation we've been doing over and over

25· · here.



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·1· · Q.· · Okay.· So you don't believe ventricular

·2· · fibrillation could occur within two minutes

·3· · after administration of the vecuronium bromide?

·4· · A.· · Let's put it this way:· If it occurred,

·5· · it wouldn't be because of the vecuronium

·6· · bromide.· I mean, you -- if somebody

·7· · coincidentally had a heart attack, I suppose,

·8· · but the vecuronium bromide would not cause

·9· · ventricular fibrillation within two minutes.

10· · It won't, it just won't.

11· · · · · If that happened, we would see

12· · ventricular fibrillation every day in the

13· · operating room.

14· · Q.· · Okay.

15· · · · · · · MR. MITCHELL:· Can we take a

16· · 10-minute break or a 12-minute break to 2:30

17· · Central?

18· · · · · · · MR. KURSMAN:· Sure.

19· · · · · · · (Short break.)

20· · BY MR. MITCHELL:

21· · Q.· · Dr. Van Norman, we are back on the record

22· · from our break.· Did you speak with anyone

23· · during your break?

24· · A.· · I just spoke with Alex for a moment to

25· · ask him to give me an extra five minutes,



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·1· · because I'd received a phone call I needed to

·2· · quickly answer.· That's the only thing we

·3· · talked about.

·4· · Q.· · Do you still need more time?

·5· · A.· · No.· Actually, it was -- it was from

·6· · work.· They needed a request for a password.                I

·7· · was able to answer the question quickly, so

·8· · yeah.

·9· · Q.· · Okay.· Did you speak with Mr. Kursman

10· · about the content of your testimony today?

11· · A.· · No, not at all.

12· · Q.· · Okay.· Did you speak with anyone else

13· · during our break?

14· · A.· · No.

15· · Q.· · Did you review anything during our break?

16· · A.· · No.

17· · Q.· · Dr. Van Norman, I want to go back to

18· · Exhibit 2, which is your report.· Do you see

19· · that?

20· · A.· · I do, yes.

21· · Q.· · Is this -- okay.

22· · A.· · Do you want me to put my version up so I

23· · can scroll a little easier, or do you want

24· · to --

25· · Q.· · I think let's do it this way, because I



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·1· · want go through the instances where you use

·2· · "unconscious."

·3· · · · · So when you said midazolam does not

·4· · produce unconsciousness, what did you mean by

·5· · "unconsciousness"?

·6· · A.· · Well, I didn't say it doesn't produce

·7· · unconsciousness.· I said it produces -- does

·8· · not produce unconsciousness during severely

·9· · painful stimulation.

10· · · · · And so, when you give midazolam, the

11· · brain can become unresponsive and unaware as

12· · long as it's not stimulated.· But once you

13· · start applying stimulation, you then have to

14· · weigh what you're giving to counteract the

15· · awareness of the painful stimulation.· And so,

16· · then you have to ask, well, how much did you

17· · give and how much did you stimulate the

18· · patient?

19· · Q.· · So is unresponsive --

20· · · · · · · MR. KURSMAN:· I'm going to object for

21· · a second.· To the extent, Rob, that you just

22· · somewhat took her statement out of context,

23· · Dr. Van Norman's statement out of context, I'll

24· · ask that Dr. Van Norman pull up her report so

25· · she can see exactly the entirety of the report



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·1· · while you're questioning her on it.

·2· · · · · · · THE WITNESS:· Yeah, I --

·3· · BY MR. MITCHELL:

·4· · Q.· · So is unconsciousness the same as

·5· · unresponsiveness?

·6· · A.· · No, it's not.

·7· · Q.· · Okay, is unconsciousness the same as

·8· · unawareness?

·9· · A.· · Yeah, generally speaking.

10· · Q.· · So on Page 9, when you said, "midazolam

11· · does not produce unconsciousness during

12· · severely painful stimulation," what did you

13· · mean by "unconsciousness"?

14· · A.· · I meant that the brain -- that when you

15· · give midazolam in the absence of stimulation,

16· · the brain can become unaware of its

17· · surroundings, and that -- but that you cannot

18· · give enough midazolam during painful

19· · stimulation that the brain will not be aware.

20· · Q.· · And so, what is unconsciousness?

21· · A.· · It's -- it is the brain's lack of ability

22· · to know what's going on in its environment.

23· · Q.· · And so, are you now able to define

24· · "unconsciousness"?

25· · A.· · Well, I mean, to that extent, sure.



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·1· · Q.· · So under what circumstances is someone

·2· · unconscious?

·3· · A.· · I think we just said it's when the brain

·4· · is unaware of its environment.

·5· · Q.· · Okay.· So when the brain is unaware of

·6· · its environment, it is unconscious.· So does

·7· · that mean awareness is synonymous with

·8· · consciousness?

·9· · A.· · I actually can't answer that question

10· · appropriately because there's a broader

11· · question of consciousness, but what we're

12· · concerned about in this case is awareness.· So

13· · for these purposes, we're talking about

14· · awareness.

15· · Q.· · Well, I'm trying to understand what you

16· · mean when you use the term "unconsciousness,"

17· · Dr. Van Norman.

18· · A.· · Yeah, and I'm trying -- I'm struggling to

19· · explain it to you, but it -- basically when I

20· · talk about unconsciousness, the brain is

21· · unaware of its environment.

22· · Q.· · So in what circumstances is a human

23· · unconscious?

24· · A.· · When their brain is unaware of their

25· · environment, I suppose, although we've talked



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·1· · about the fact that you can be in a dreamlike

·2· · state and that is not an unconscious state and

·3· · the brain is unaware of the real world.· That's

·4· · why I don't like trying to define this here.

·5· · · · · So when the brain is unaware of the

·6· · stimulus that's being brought to it, it's -- I

·7· · suppose we could call that unconsciousness for

·8· · our purposes.

·9· · Q.· · Have any of your patients ever been

10· · unconscious?

11· · A.· · I assume so.

12· · Q.· · And how do you -- why do you assume so?

13· · A.· · Because in most cases, I've given them

14· · multiple drugs that would affect multiple brain

15· · areas, including very strong pain medication

16· · that will prevent them from perceiving pain.

17· · But I don't know that all of my patients have

18· · been unconscious or even that the majority of

19· · them have been.

20· · Q.· · And, in fact, didn't you testify earlier

21· · that most people under general anesthesia are

22· · conscious?

23· · A.· · What I testified, if I'm remembering

24· · correctly, earlier, is that clinical studies of

25· · cases have found that the majority of patients



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·1· · are aware and responsive in severely

·2· · stimulating cases, such as gynecologic surgery

·3· · and others, so --

·4· · Q.· · In --

·5· · A.· · Sorry.

·6· · Q.· · Do you believe those studies are

·7· · accurate?

·8· · A.· · They are accurate.

·9· · Q.· · And so, if people are aware and

10· · responsive, would you agree those people are

11· · also conscious?

12· · A.· · Yes.

13· · Q.· · And so, turning to your exhibit -- your

14· · expert report, looking here on Page 14, do you

15· · see your statement, "Studies have clearly

16· · demonstrated that people are seldom purely

17· · unconscious until all brain activity has

18· · stopped"?

19· · A.· · Yes.

20· · Q.· · Okay.· So do you believe that people are

21· · seldom purely unconscious until they are dead?

22· · A.· · I don't know.

23· · Q.· · What do you mean you don't know?

24· · A.· · I mean just exactly what I said, I don't

25· · know.



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·1· · Q.· · So you don't know if your patients are

·2· · unconscious?

·3· · · · · · · MR. KURSMAN:· Objection.

·4· · BY MR. MITCHELL:

·5· · Q.· · You can answer.

·6· · A.· · I think I've answered it before several

·7· · times.· I don't -- there's no way I can tell.

·8· · There's no monitor for consciousness.

·9· · Q.· · So do you see here further on Page 14

10· · when you say, "midazolam does not produce a

11· · state of unconsciousness deep enough to prevent

12· · the prisoner from awakening and experiencing

13· · severe pain and suffering when severely painful

14· · stimulus is applied"?

15· · A.· · Yes.

16· · Q.· · What drug does produce such a state of

17· · unconsciousness?

18· · A.· · I don't know that any single drug does.

19· · Q.· · Okay.· What combination of drugs produces

20· · such a state of unconsciousness?

21· · A.· · Again, I don't know of a specific

22· · combination of drugs that guarantee

23· · unconsciousness.

24· · Q.· · Have you ever produced a state of

25· · unconsciousness deep enough to prevent someone



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·1· · from awakening and experiencing severe pain and

·2· · suffering when severely painful stimulus was

·3· · applied?

·4· · · · · · · MR. KURSMAN:· Objection.

·5· · · · · · · MR. MITCHELL:· On what basis?

·6· · · · · · · MR. KURSMAN:· She -- Dr. Van Norman

·7· · has answered this question probably ten times

·8· · now.

·9· · BY MR. MITCHELL:

10· · Q.· · What's your answer, Dr. Van Norman?

11· · A.· · I'm going to refer you to my previous

12· · answers.· I don't know how many times I can

13· · answer this question, Mr. Mitchell.· You can

14· · ask it again if you'd like, and I'll say the

15· · same thing.

16· · Q.· · Okay.· Have you ever, through any

17· · combination of drugs or drug by itself -- have

18· · you ever, through any combination of drugs,

19· · produced a state of unconsciousness deep enough

20· · to prevent someone from awakening and

21· · experiencing severe pain and suffering when

22· · severely painful stimulus is applied?

23· · · · · · · MR. KURSMAN:· Objection.

24· · · · · · · MR. MITCHELL:· On the same basis?

25· · · · · · · MR. KURSMAN:· Same basis.



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·1· · BY MR. MITCHELL:

·2· · Q.· · You can answer.

·3· · A.· · Same answer.

·4· · Q.· · What's that answer?

·5· · A.· · The answer is I've already answered the

·6· · question, and I'm going to give you the same

·7· · answer each time.· I don't know what you're

·8· · asking -- how you -- what you -- how you expect

·9· · me to change my answer, Mr. Mitchell.

10· · Q.· · Well, you've said that midazolam can't

11· · produce a certain state of unconsciousness, so

12· · I'm asking you, any drug or combination of

13· · drugs can.

14· · A.· · And I have said --

15· · · · · · · MR. KURSMAN:· Objection again.

16· · · · · · · THE WITNESS:· I believe I've said

17· · several times now that I don't know.

18· · BY MR. MITCHELL:

19· · Q.· · What is a drug that is efficient at

20· · producing unconsciousness?

21· · A.· · As I believe I answered in a previous

22· · question --

23· · · · · · · MR. KURSMAN:· I'm going to object

24· · before you answer it.

25· · · · · · · Objection, asked and answered.



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·1· · BY MR. MITCHELL:

·2· · Q.· · You can answer, Dr. Van Norman.· What is

·3· · a drug efficient at producing unconsciousness?

·4· · A.· · As I believe I've answered in a previous

·5· · question, I don't know that any single drug can

·6· · produce unconsciousness.

·7· · Q.· · Is any combination of drugs efficient at

·8· · producing unconsciousness?

·9· · · · · · · MR. KURSMAN:· Objection.

10· · BY MR. MITCHELL:

11· · Q.· · You can answer, Dr. Van Norman.

12· · A.· · I've answered this question before, I

13· · don't know.

14· · Q.· · Do you see your statement here on Page 16

15· · at the beginning of the first full paragraph,

16· · starting "multiple case reports"?

17· · A.· · Yes, I see it.

18· · Q.· · Can you read that first sentence?

19· · A.· · "Multiple case reports and clinical

20· · studies in the literature have demonstrated

21· · that even massive doses of drug combinations

22· · that include benzodiazepines and narcotics in

23· · an operating room setting do not guarantee that

24· · a surgical patient is unconscious once painful

25· · stimulus is applied."



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·1· · Q.· · Is there any sort of drug combination

·2· · that can guarantee that a surgical patient is

·3· · unconscious once painful stimulus is applied?

·4· · · · · · · MR. KURSMAN:· Objection.

·5· · BY MR. MITCHELL:

·6· · Q.· · You can answer, Dr. Van Norman.

·7· · A.· · It's the same answer as the previous six

·8· · or seven times you've asked it, I don't know.

·9· · Q.· · And do you see this Footnote 33 in your

10· · report?

11· · A.· · I do.

12· · Q.· · And do you see where it says,

13· · "Unresponsiveness does not equal

14· · unconsciousness"?

15· · A.· · That's correct.

16· · Q.· · Do you agree with that?

17· · A.· · I do.

18· · Q.· · And do you see this Footnote 46 of your

19· · report?

20· · A.· · That is on Page 17 instead of 16?

21· · Q.· · 17, yes.

22· · A.· · I believe that's the same foot -- yes.

23· · Q.· · I was just making that same discovery,

24· · Dr. Van Norman.

25· · · · · Okay.· Do you see -- can you turn to



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·1· · Page 21 of your report?

·2· · A.· · I'm on Page 21.

·3· · Q.· · Can you read me the sentence, third line

·4· · from the top, that starts with the word

·5· · "during"?

·6· · A.· · "During a period of one minute of breath

·7· · holding, oxygen levels will still be normal and

·8· · carbon dioxide rise only slightly above normal,

·9· · so oxygen and carbon dioxide levels do not

10· · explain the compulsion to breathe and will not

11· · cause unconsciousness."

12· · Q.· · Do you agree with that statement?

13· · A.· · I do.

14· · Q.· · What is something that could cause

15· · unconsciousness?

16· · A.· · Something?

17· · Q.· · Anything.

18· · A.· · Severe head trauma.

19· · Q.· · And so, if someone received severe head

20· · trauma, they could be unconscious?

21· · A.· · I believe so, yes.

22· · Q.· · And what do you mean by "unconscious"?

23· · A.· · Where they do not have enough connection

24· · left in the brain to be aware of the

25· · environment.· Some people after severe head



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·1· · trauma are brain dead, Mr. Mitchell.

·2· · Q.· · Can you turn to Page 22?

·3· · A.· · Okay.

·4· · Q.· · Is unconscious the same as anesthetized?

·5· · A.· · The reason I'm hesitating is awareness

·6· · used to be considered a critical part of the

·7· · definition of general anesthesia.

·8· · · · · Well, first of all, not all anesthetics

·9· · are general anesthetics.· So you can be

10· · anesthestized for a procedure using a local

11· · anesthetic, for example, where somebody injects

12· · just -- like for dental extraction, you're

13· · anesthetized.· They inject a local and you

14· · don't feel pain with that.

15· · · · · You can be anesthestized using regional

16· · anesthesia, like spinal and peripheral nerve

17· · blocks, or you could be anesthetized using a

18· · general anesthetic.· And it used to be that

19· · everyone said that awareness, unawareness, was

20· · part of a general anesthetic, but actually many

21· · people have changed their definition to say

22· · that it's unresponsiveness rather than

23· · unawareness.

24· · Q.· · Okay.· So is anesthetized the same as

25· · unconscious?



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·1· · A.· · Not necessarily, no.

·2· · Q.· · Can they be the same?

·3· · A.· · A --

·4· · · · · · · MR. KURSMAN:· Objection.

·5· · · · · · · MR. MITCHELL:· On what basis?

·6· · · · · · · MR. KURSMAN:· Asked and answered.

·7· · BY MR. MITCHELL:

·8· · Q.· · Can they be the same, Dr. Van Norman?

·9· · A.· · Perhaps.

10· · Q.· · Can you give me an example of when they

11· · would be the same?

12· · A.· · Well, we've -- you've already asked me a

13· · number of times if I know for sure that all

14· · patients are unconscious under anesthesia, and

15· · I said I don't know.· But it is -- I suppose

16· · it's possible that some are and they would then

17· · be, therefore, unconscious and anesthestized.

18· · Q.· · Can you turn to Page 23 of your report?

19· · A.· · Uh-huh.

20· · · · · Okay, I'm there.

21· · Q.· · Can you go to the bottom?

22· · A.· · Yes.

23· · Q.· · Can you read the sentence that starts

24· · with "this is particularly true"?

25· · A.· · Well, since you don't have the -- okay,



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·1· · "This is particularly true with the Tennessee

·2· · protocol because Warden Mays, the person

·3· · charged with the so-called consciousness check

·4· · in the Tennessee protocol and therefore

·5· · determines whether the execution requires a

·6· · repeat injection of midazolam or whether the

·7· · paralytic drug can be given, appears to not

·8· · know exactly how a consciousness check is

·9· · intended to work, nor how to tell a conscious

10· · person from an unconscious one."

11· · Q.· · How would Warden Mays succeed in

12· · differentiating a conscious person from an

13· · unconscious person when trained medical

14· · professionals fail?

15· · A.· · Well, I would ask the same question,

16· · Mr. Mitchell.· I am asserting that he cannot.

17· · Q.· · Could anyone?

18· · A.· · Unlikely.

19· · Q.· · And do you see this sentence on Page 24

20· · where you say, "Warden Mays confuses

21· · unresponsiveness with unconsciousness"?

22· · A.· · About how far down is it so I can find it

23· · for you?

24· · Q.· · Five lines.

25· · A.· · Yes.



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·1· · Q.· · What's the difference between

·2· · unresponsiveness and unconsciousness?

·3· · A.· · You can have a person who is unresponsive

·4· · but still aware of their environment.· And in

·5· · this case -- and so, he doesn't understand that

·6· · a person may be unresponsive and still be

·7· · conscious.· That's what that sentence means.

·8· · · · · He -- by "confuses," I mean that he

·9· · equates the two, and they are not equivalent,

10· · as we've already said.

11· · Q.· · Dr. Van Norman, have you ever observed a

12· · patient struggling to breathe during surgery?

13· · A.· · Yes.

14· · Q.· · Have you ever observed a conscious

15· · patient struggling to breathe during surgery?

16· · A.· · Yes.

17· · Q.· · Have you ever observed an anesthestized

18· · person struggling to breathe during surgery?

19· · A.· · Yes.

20· · Q.· · Okay.· Was that anesthestized person

21· · conscious?

22· · A.· · I don't know.

23· · Q.· · What is the isolated forearm technique?

24· · A.· · In the isolated forearm technique,

25· · because so many of the major surgeries that



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·1· · cause severe pain involve paralyzing the

·2· · patient and because all those surgeries also

·3· · often involve the administration of midazolam,

·4· · which wipes out memory, in order to determine

·5· · if the person is aware in the moment during

·6· · surgery, you have to ask them in the moment,

·7· · but they're paralyzed and they can't answer.

·8· · · · · So in the isolated forearm technique,

·9· · before the paralytic agent is given, a

10· · tourniquet is applied on the arm, and the

11· · patient is instructed in several signals to

12· · give if they're -- in answer to questions.· And

13· · they're told that they'll be asked to move

14· · their arm at various points.· They may be asked

15· · to signal -- to provide a particular signal if

16· · they're in pain.

17· · · · · The tourniquet is inflated so that no

18· · blood carrying the paralytic can enter the arm.

19· · The paralytic is administered into a vein that

20· · is either in a different limb or above the

21· · tourniquet, and the patient -- the rest of the

22· · patient's body is paralyzed.

23· · · · · And then during the surgery, the

24· · anesthetist or anesthesiologist can ask the

25· · patient if they are awake and to do certain



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·1· · things to show if they're awake, and also ask

·2· · them if they're in pain.

·3· · Q.· · Is the isolated forearm technique

·4· · commonly referred to as the IFT?

·5· · A.· · Yeah, because isolated forearm technique

·6· · is a mouthful.

·7· · Q.· · Can we both agree to refer to it as IFT?

·8· · A.· · Oh, please.· That be would be great.

·9· · Q.· · Does the IFT require a high level of

10· · consciousness?

11· · A.· · It does.· It requires the brain being

12· · able to know that it's being addressed or an

13· · event -- that an event is happening.

14· · · · · So if we ignore the surgical stimulus for

15· · a moment, the brain has to be able to, in other

16· · words, hear the anesthesiologist and understand

17· · what's being asked, what they're -- what the

18· · brain is being asked to do.· And then it has to

19· · actually not only be conscious of that, it has

20· · to also demonstrate responsiveness by moving

21· · and following the instructions that the

22· · anesthesiologist gives it.

23· · Q.· · And does the IFT require a high level of

24· · awareness, too?

25· · A.· · I would assume so, yes.



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·1· · Q.· · Okay, but you don't know?

·2· · A.· · No, I -- yes, I'll just say yes.

·3· · Q.· · Is the IFT the gold standard for studying

·4· · consciousness?

·5· · A.· · It is.

·6· · Q.· · Okay.· And it's the gold standard for

·7· · studying consciousness after injection of

·8· · drugs; is that correct?

·9· · A.· · I -- yes.· I don't know if -- I don't

10· · know what it's also used in other

11· · circumstances, but in the study of

12· · consciousness after injection of drugs, it

13· · is -- oh, it is the standard.

14· · Q.· · What does "gold standard" mean?

15· · A.· · Well, for you history buffs, the gold

16· · standard refers to the thing that everything

17· · refers back to, the thing that stands for the

18· · thing that best represents it, because we used

19· · to use a gold standard and may -- and still do

20· · to some degree to represent how much something

21· · is worth.

22· · Q.· · And so, would you agree that the IFT is

23· · the premier mechanism of studying

24· · consciousness?

25· · A.· · Yes.



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·1· · Q.· · Okay.· Do you use the IFT in your

·2· · clinical practice for monitoring patient

·3· · consciousness?

·4· · A.· · I have done some -- I have done, during

·5· · some clinical work, some clinical research, but

·6· · it is -- in the United States, it is not a

·7· · common clinical monitor to use.· It is used in

·8· · Great Britain.

·9· · Q.· · When did you use it in the United States?

10· · A.· · Well, I became interested in awareness

11· · under anesthesia when I had a patient in

12· · cardiac surgery who had received massive doses

13· · of Valium and fentanyl and yet still was able

14· · to describe having his chest sawed open during

15· · the cardiac surgery.

16· · · · · So we -- this was in the '80s, and we

17· · were interested in figuring out how many

18· · patients were aware.· And we really couldn't

19· · find a way to do that, sort of playing people

20· · sounds, asking them to remember words, none of

21· · that worked because the benzodiazepines wipe

22· · out awareness.

23· · · · · And in the early '90s, Dr. Russell and

24· · others began to use the IFT to experiment with

25· · it.· And we ran a couple of preliminary



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·1· · clinical experiments in my department during

·2· · which we used the IFT, and they were run during

·3· · the actual surgeries.· So we were using them as

·4· · a monitor.

·5· · · · · But we didn't have -- this was not a

·6· · popular area of funding or anything.· We didn't

·7· · have funding.· I was not -- I was a young

·8· · attending.· I wasn't a full researcher.· And it

·9· · just didn't go anywhere.· But I have used the

10· · technique and I do know how to use it.

11· · Q.· · So have you used -- if I heard you

12· · correctly, you've used the IFT during surgery?

13· · A.· · During a couple of little clinical

14· · studies that were carried out during actual

15· · surgeries, yes.

16· · Q.· · What types of surgeries were those?

17· · A.· · Just general -- actually, I think they

18· · were GYN surgeries, if I remember right.· We

19· · were looking at -- the IFT requires some space

20· · around it to carry out, so we were looking at

21· · surgeries where the surgeon would be a little

22· · further away from us in the site, so the

23· · further down the table.

24· · · · · So my -- I do remember doing them in a

25· · couple of GYN surgeries.



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·1· · Q.· · And roughly what year would this have

·2· · been or years?

·3· · A.· · It would have been in the '90s sometime,

·4· · but I don't really remember.· It was such a

·5· · brief thing, I just don't remember.

·6· · Q.· · And why don't you use it during surgeries

·7· · now?

·8· · A.· · It's a long and very unsatisfying answer.

·9· · · · · In the United States, traditionally,

10· · anesthesiologists have not had a lot of

11· · authority in the operating room, and the

12· · surgeons have.· And performing the IFT requires

13· · not only a lot of space, it requires the

14· · anesthesiologist talking to the patient during

15· · the surgery.· It requires movement of the

16· · patient.· It requires a longer setup before the

17· · surgery, so it's going to take time for the

18· · anesthesiologist to get ready.

19· · · · · And in a system like ours, which is

20· · profit driven, for example, time is money, and

21· · surgeons don't like that time taken up.

22· · They're frequently complaining that -- during

23· · the time that we were doing it, they were

24· · complaining about the fact that we were

25· · actually talking to the patient during the



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·1· · surgery.

·2· · · · · And culturally, in the US, it's been

·3· · traditional that what the surgeon wants, the

·4· · surgeon gets.· Times are changing, and we may

·5· · see that change, but it's just not accepted in

·6· · the operating room culturally.

·7· · Q.· · And --

·8· · A.· · I'm sorry, excuse me.

·9· · Q.· · Do you remember this morning, Dr. Van

10· · Norman, you testified that you had served as an

11· · expert witness in Arkansas in the McGehee case?

12· · A.· · Yes, uh-huh.

13· · Q.· · And do you remember saying you had worked

14· · with Mr. Williams in that case?

15· · A.· · John Williams, I believe.· I think so,

16· · yes.· I think I did say that, yeah.

17· · Q.· · Okay.· Can you see my screen right here,

18· · Dr. Van Norman?

19· · A.· · I can.

20· · Q.· · Okay.

21· · · · · · · MR. KURSMAN:· Rob, can you send this

22· · exhibit that you're about to use with Dr. Van

23· · Norman so I can forward it to her?

24· · · · · · · MR. MITCHELL:· Yeah.· Yeah.· Let me

25· · scroll down while that's being sent.



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·1· · · · · · · MR. KURSMAN:· Do you want to go off

·2· · the record for five minutes?

·3· · · · · · · MR. MITCHELL:· Sure.

·4· · · · · · · MR. KURSMAN:· Okay.

·5· · · · · · · (Short break.)

·6· · BY MR. MITCHELL:

·7· · Q.· · So I'm going to share my screen, Dr. Van

·8· · Norman, but I know you have the document in

·9· · front of you.

10· · · · · So in front of you, do you see what

11· · appears to be a transcript from the McGehee

12· · versus Hutchinson case?

13· · A.· · I do.

14· · Q.· · Is that transcript dated April 26th,

15· · 2019?

16· · A.· · Yes.

17· · Q.· · Okay.· And if you scroll to the third

18· · page, 496, do you see your name as a witness?

19· · A.· · I do.

20· · Q.· · Okay.· And does it say direct started on

21· · Page 497?

22· · A.· · I assume that's what it means.· It just

23· · says "direct" and "497," so I assume that's

24· · what you're referring to.

25· · Q.· · Okay.· And cross, 558?



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·1· · A.· · Yep.

·2· · Q.· · And redirect 543?

·3· · A.· · Yes.

·4· · Q.· · And then the next witness, Gran P. (sp),

·5· · is listed as direct started at 612; is that

·6· · right?

·7· · A.· · Yes.

·8· · Q.· · Okay.· So if you can scroll down to

·9· · Page 593.

10· · A.· · 593?

11· · Q.· · Correct.

12· · A.· · Okay.

13· · · · · · · MR. KURSMAN:· And, Mr. Mitchell, just

14· · for the record, it looks like this document has

15· · been at least tampered with a bit; is that

16· · right?

17· · · · · · · MR. MITCHELL:· Highlighted?

18· · · · · · · MR. KURSMAN:· Sure, okay.

19· · · · · · · MR. MITCHELL:· Is that what you're

20· · referring to?

21· · · · · · · MR. KURSMAN:· Yep, just that it's not

22· · an original document.

23· · · · · · · MR. MITCHELL:· Okay.· Do you see any

24· · other evidence of tampering?

25· · · · · · · MR. KURSMAN:· Well, I just received



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·1· · the document about 30 seconds ago.

·2· · · · · · · MR. MITCHELL:· But so far, do you see

·3· · any other evidence of tampering other than the

·4· · highlighting?

·5· · · · · · · MR. KURSMAN:· No, and that's all I

·6· · meant.· It was just a poor choice of language,

·7· · poor choice of words by me.

·8· · BY MR. MITCHELL:

·9· · Q.· · Dr. Van Norman, can you scroll down to

10· · Line 19 on Page 593?

11· · A.· · Yeah.· I'm sorry, my program's skipping

12· · around, so I'm just getting to 593.· And I'm

13· · sorry, what line did you refer to?

14· · Q.· · Line 19.

15· · · · · · · MR. KURSMAN:· And, Dr. Van Norman,

16· · I -- at this point, I'm going to object.· If

17· · there are any questions regarding what this

18· · says, if you need to take your time to review

19· · this document, you are entitled to do that.

20· · · · · · · THE WITNESS:· And I will, but in

21· · order to do that, I'd like to hear the question

22· · first, if that's okay.

23· · · · · · · MR. KURSMAN:· Sure.

24· · BY MR. MITCHELL:

25· · Q.· · Well, on Page 593, Line 19, do you see



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·1· · where the question was, "And you just told me

·2· · you've never in your career used IFT during

·3· · surgery?"

·4· · A.· · Yes, I see that.

·5· · Q.· · Okay.· And do you see on Line 21 where

·6· · the answer was, "I don't think you will find

·7· · anyone who has in this country.· It's not what

·8· · we use.· It's not used here"?

·9· · A.· · Yes.

10· · Q.· · Was that your answer to the question

11· · whether you used an IFT during surgery?

12· · A.· · Let me just take a moment and review this

13· · section of the transcript, because I want to

14· · make sure I know the -- I remember the context

15· · in which this was given.

16· · Q.· · Sure.

17· · A.· · So give me just a moment, please.

18· · Q.· · Take your time.

19· · A.· · I'm sorry, my thing is -- I apologize, my

20· · program's skipping around.· Let me just go

21· · back.

22· · · · · (Witness viewing document.)

23· · · · · Yes, that's correct.· That was my

24· · testimony.

25· · Q.· · So have you or have you not used an IFT



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·1· · during surgery?

·2· · A.· · Mr. Mitchell, you just asked me a little

·3· · while ago if I had used it, and I said I had

·4· · used it in a research clinical study that was

·5· · performed during actual surgery.· I wasn't the

·6· · anesthesiologist during the study procedures

·7· · that we did, so I was not performing

·8· · anesthesia.

·9· · · · · And I interpreted your question to mean,

10· · have I ever used it clinically to monitor my

11· · patients during surgery, and the answer is, no,

12· · I never have.· So I apologize if I misled you

13· · or I wasn't clear in what I was testifying to a

14· · couple of moments ago, but it is correct what I

15· · said in Arkansas that I have personally never

16· · used it while I was anesthetizing someone to

17· · monitor their progress during the anesthetic.

18· · Q.· · Is that what you said in Arkansas?

19· · A.· · They said -- well, that's what I

20· · interpreted at the time their context to mean.

21· · If you look at that word, they just ask me --

22· · let me find it again.

23· · · · · "You have never in your career used IFT

24· · during surgery?"· And they were asking about

25· · whether I was monitoring patients using it, at



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·1· · least that's what I was interpreting at the

·2· · time, I, when I was doing anesthesia.· It seems

·3· · to me that -- I mean, that is how I interpreted

·4· · this and that is still my answer.· I've never

·5· · used it to monitor a patient while under

·6· · anesthesia.

·7· · · · · I was a -- doing a little clinical

·8· · research study during someone else's

·9· · anesthetic.· And so, I still would stand by

10· · both of my answers, the answer in this

11· · transcript and the one that I gave you a few

12· · minutes ago with that clarification so you

13· · understand what I meant.

14· · Q.· · So to make sure I understand your

15· · explanation, you actually have used an IFT

16· · during surgery?

17· · A.· · I have not used it as a monitoring -- I'm

18· · going to say what I -- my answer again.· I have

19· · never used the IFT as a monitoring device

20· · during an anesthetic that I performed during my

21· · surgery.· I was doing research that used the

22· · IFT on someone else's anesthetic, and that is

23· · what I was referring to in my earlier answers.

24· · Q.· · So would that constitute using an IFT

25· · during surgery?



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·1· · A.· · I did not interpret it to mean that, no.

·2· · Q.· · Can you scroll up to Page 579, Dr. Van

·3· · Norman?· Tell me when you're there.

·4· · A.· · It's a slow scroll, I'm sorry.

·5· · · · · Okay, I'm on 579.

·6· · Q.· · And do you see on Line 3 where you were

·7· · asked if the highest dose of midazolam that

·8· · you've ever given a patient is approximately 50

·9· · or 55 milligrams?

10· · A.· · Yes, I do.

11· · Q.· · And what was your answer in Line 6?

12· · A.· · "I think that's correct, yes."

13· · Q.· · Do you agree with that statement?

14· · A.· · I do, yes.

15· · Q.· · Okay.· So the highest dose of midazolam

16· · you've ever given a patient is 50 to

17· · 55 milligrams?

18· · A.· · Well, I -- as we talked about earlier,

19· · doses of midazolam --

20· · · · · · · MR. KURSMAN:· I'm going to object

21· · here.· You just asked, she answered yes.

22· · · · · · · MR. MITCHELL:· Okay.

23· · BY MR. MITCHELL:

24· · Q.· · So you can continue, Dr. Van Norman.· Is

25· · the highest dose of midazolam you've ever given



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·1· · a patient 50 to 55 milligrams?

·2· · A.· · I think it -- it's closer to a hundred

·3· · milligrams, but to be honest, in both

·4· · instances, I am now trying and I was trying

·5· · then to recall something that had happened

·6· · almost 30 years earlier.

·7· · · · · My recollection today is that we used 1

·8· · to 1 and a half milligrams of midazolam in the

·9· · cases that we did and -- because we had

10· · patients that averaged a hundred kilograms,

11· · that's where I'm saying.· So I -- to be honest,

12· · both of these are based on memory, but my

13· · honest recollection today is that it was closer

14· · to a hundred milligrams.

15· · Q.· · Could it have been as much as

16· · 150 milligrams?

17· · A.· · Yeah, it could have, because as I

18· · mentioned, I think our average patient was

19· · around a hundred kilo by that time, and I

20· · believe our standard was 1 to 1 and a half

21· · milligrams per kilo.· But this is a

22· · recollection, it's not a -- I can't point to a

23· · particular case and tell you for sure what the

24· · doses were.

25· · Q.· · Would you expect a different effect in a



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·1· · patient who received 50 milligrams of midazolam

·2· · versus a patient who received 150 milligrams of

·3· · midazolam?

·4· · A.· · I would not.· It would not be relevant.

·5· · Q.· · Then why would you give the extra hundred

·6· · milligrams of midazolam?

·7· · A.· · That was the protocol at the time.

·8· · Usually we operate on clinical protocols in

·9· · terms of some of the standardized surgery.· And

10· · so, when a department decides this is our

11· · practice, here's what we're going to do, we do

12· · that.

13· · Q.· · And you wouldn't expect that extra

14· · hundred milligrams to make any discernable

15· · effect in the patient?

16· · · · · · · MR. KURSMAN:· Objection, asked and

17· · answered.

18· · BY MR. MITCHELL:

19· · Q.· · You can answer.

20· · A.· · No.

21· · Q.· · No, you would not expect a discernable

22· · effect?

23· · A.· · That's correct.

24· · Q.· · Do you use any tools for monitoring

25· · patient consciousness?



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·1· · A.· · We've already talked about the tools that

·2· · I use and that most anesthesiologists use for

·3· · attempting to monitor consciousness, but we've

·4· · also discussed the fact that there's no monitor

·5· · that actually can monitor or detect

·6· · consciousness.

·7· · Q.· · Including a BIS monitor?

·8· · A.· · Oh, absolutely including a BIS monitor.

·9· · Q.· · Does a BIS monitor measure awareness?

10· · A.· · It does not.

11· · Q.· · What is a BIS monitor?

12· · A.· · A BIS monitor is a -- it's what's called

13· · a processed EEG monitor.· It was invented by

14· · Aspect Medical Corporation back in late '80s,

15· · early '90s.· They created a super secret

16· · proprietary formula by which they would take

17· · a -- I don't remember if it was a 12- or

18· · 14-channel EEG and create a number instead of

19· · wave forms.· They would create a number from, I

20· · don't know, zero to a hundred that was supposed

21· · to tell you if the patient was awake or not.

22· · Q.· · Have you ever used a BIS monitor?

23· · A.· · I have.· Early in my career, we played

24· · around with the BIS monitor at the University

25· · of Washington, yes.



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·1· · Q.· · Do you think you've used a BIS monitor in

·2· · the last 20 years?

·3· · A.· · I -- what's 20 years ago?· Help me --

·4· · about 2000?

·5· · Q.· · 2002.

·6· · A.· · I doubt it, no.

·7· · Q.· · Okay.· Do you remember what the

·8· · circumstances were when you last used the BIS

·9· · monitor?

10· · A.· · Not specifically, no.

11· · Q.· · Do you know whether anyone at the

12· · University of Washington uses a BIS monitor in

13· · their clinical practice?

14· · A.· · Yes.· I couldn't tell you what

15· · percentage.· We do have BIS monitors, but they

16· · are not used by all of the anesthesiologists

17· · nationally.· They're only used by about 25 to

18· · 30 percent of anesthesiologists, and they're

19· · not considered a standard of care monitor by

20· · the ASA.

21· · Q.· · Are BIS monitors commonly used in

22· · emergency vehicles?

23· · A.· · I have no idea.

24· · Q.· · What is the medical standard of care for

25· · monitoring consciousness in anesthesia?



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·1· · A.· · The medical standard of care would be the

·2· · monitor methods I've already talked about;

·3· · watching the vital signs and physically

·4· · observing the patient.· There is no other kind

·5· · of monitor that is called upon for -- for

·6· · monitoring consciousness in patients who are

·7· · undergoing anesthesia in surgery.

·8· · Q.· · Would your answer be the same for

·9· · monitoring awareness?

10· · A.· · That is correct.

11· · Q.· · Okay.· I just want to make sure I

12· · understand.· Is it your testimony that there's

13· · no reliable monitor to monitor consciousness in

14· · anesthesia?

15· · A.· · That's correct.

16· · Q.· · Have you ever used the Glasgow Coma Scale

17· · to monitor consciousness?

18· · A.· · The Glasgow Coma Scale is not a

19· · consciousness monitor.· It is a scale that

20· · rates the level of consciousness of a person in

21· · one point in time, and it's usually used to

22· · rate consciousness or at least the level of

23· · brain injury in trauma patients.· So it's

24· · widely used in emergency rooms and in ICUs.

25· · Q.· · Have you ever used it to rate



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·1· · consciousness?

·2· · A.· · In the deep, dark, distant past when I

·3· · was an internist, we did use it.

·4· · Q.· · Okay.· But not in the last 20 years?

·5· · A.· · Not that I recall, no.

·6· · Q.· · Do you know other anesthesiologists who

·7· · use the Glasgow Coma Scale today to rate

·8· · consciousness?

·9· · A.· · Glasgow Coma Scale is not used in the

10· · operating room.

11· · Q.· · Do you know any anesthesiologists who use

12· · it?

13· · A.· · Not in the operating room, no.

14· · Q.· · Do you know any anesthesiologists who use

15· · it anywhere?

16· · A.· · I suppose that some of our intensivists

17· · might use it in the ICU, but not in the --

18· · or -- no, in the ICU but not in the operating

19· · room.· It's not a continuous monitor.

20· · Q.· · It's not a what?

21· · A.· · It's not a continuous monitor.

22· · Q.· · What does that mean?

23· · A.· · It -- as I said when I first answered the

24· · question, it rates a person's responsiveness,

25· · not their consciousness, their responsiveness



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·1· · at a given point in time.· So it isn't

·2· · something where you can keep repeating it in a

·3· · short period of time and get a different

·4· · answer.· It wouldn't be useful for monitoring a

·5· · rapidly changing situation.

·6· · Q.· · Have you ever used the Richmond

·7· · Agitation-Sedation Scale?

·8· · A.· · I have, yes.

·9· · Q.· · Under what circumstances?

10· · A.· · I can't remember, and I don't remember

11· · the details of that scale off the top of my

12· · head.

13· · Q.· · Do you know any anesthesiologists who

14· · currently use the Richmond Agitation-Sedation

15· · Scale?

16· · A.· · Not in the operating room.

17· · Q.· · Do you know any who use it anywhere else,

18· · such as the ICU?

19· · A.· · I don't know.

20· · · · · · · MR. MITCHELL:· Can we go off the

21· · record real quick?

22· · · · · · · MR. KURSMAN:· Sure.

23· · · · · · · (Short break.)

24· · BY MR. MITCHELL:

25· · Q.· · Dr. Van Norman, we just took a break.



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·1· · During that break, did you speak with anyone?

·2· · A.· · Nope.

·3· · Q.· · Did you review anything?

·4· · A.· · No.

·5· · Q.· · Were you asked by Plaintiff or

·6· · Plaintiff's counsel to identify a source of

·7· · pentobarbital for Defendants to use in

·8· · executions?

·9· · · · · · · MR. KURSMAN:· And I'll object to that

10· · anyway.

11· · · · · · · MR. MITCHELL:· On what basis?

12· · · · · · · MR. KURSMAN:· Attorney-client

13· · privilege.

14· · BY MR. MITCHELL:

15· · Q.· · Did you include anything in your report

16· · about pentobarbital, Dr. Van Norman?

17· · A.· · In my expert report?

18· · Q.· · In this litigation, yes.

19· · A.· · Not that I recall, no.

20· · Q.· · Do you know where Defendants in this case

21· · can obtain pentobarbital for use in executions?

22· · A.· · No.

23· · Q.· · Have you told Plaintiff's counsel where

24· · Defendants can obtain pentobarbital for use in

25· · executions?



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·1· · · · · · · MR. KURSMAN:· Objection, and I'll

·2· · instruct the witness not to answer.

·3· · BY MR. MITCHELL:

·4· · Q.· · Have you told Plaintiff himself where

·5· · Defendants can obtain pentobarbital for use in

·6· · executions?

·7· · · · · · · MR. KURSMAN:· And to clarify, Dr. Van

·8· · Norman, when Mr. Mitchell says "Plaintiff

·9· · himself," Mr. Mitchell is talking about Terry

10· · King.

11· · · · · · · THE WITNESS:· I'm sorry,

12· · Mr. Mitchell, I'm -- can you just repeat the

13· · question for me again?

14· · BY MR. MITCHELL:

15· · Q.· · Absolutely.

16· · · · · Have you told the Plaintiff in this case,

17· · Terry Lynn King, where Defendants can obtain

18· · pentobarbital for use in executions?

19· · A.· · No.

20· · Q.· · Dr. Van Norman, thank you for your time.

21· · That's all my questions for you.

22· · · · · Until the resolution of the subpoena

23· · issue, we are going to leave your deposition

24· · open, but I have no more questions for you at

25· · this time.



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·1· · A.· · Can I -- does that mean that you can

·2· · bring me back to ask questions or --

·3· · Q.· · Maybe, depending on how discussions play

·4· · out with your counsel.

·5· · A.· · Okay.

·6· · · · · · · MR. KURSMAN:· Dr. Van Norman, you and

·7· · I can talk about that off the record after.

·8· · · · · · · THE WITNESS:· Absolutely.· Thank you.

·9· · · · · · · MR. KURSMAN:· Mr. Mitchell, we have

10· · no questions.

11· · · · · · · MR. MITCHELL:· Okay.

12· · · · · · · THE REPORTER:· Just a quick question

13· · before you all go, gentlemen.· Did you want to

14· · order this, Mr. Mitchell?

15· · · · · · · MR. MITCHELL:· Yes, please.

16· · · · · · · THE REPORTER:· MR. KURSMAN, did you

17· · want a copy?

18· · · · · · · MR. KURSMAN:· Yes, we would like a

19· · copy.

20· · · · · · · (An off-the-record discussion was

21· · held.)

22· · · · · · · MR. KURSMAN:· Could we just go back

23· · on the record for one second.· I'm just going

24· · to lodge an objection to keeping the deposition

25· · open.



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·1· · · · · · · MR. MITCHELL:· Okay, what's the

·2· · objection?

·3· · · · · · · MR. KURSMAN:· That the documents were

·4· · provided to the extent that a subpoena wasn't

·5· · served on Dr. Van Norman.· So that can be

·6· · resolved at some point, but I will object to

·7· · leaving the deposition open.

·8· · · · · · · MR. MITCHELL:· Even though you've

·9· · lodged objections to her answering about

10· · whether documents were provided?· You

11· · instructed the witness not to answer.

12· · · · · · · MR. KURSMAN:· Yes.

13· · · · · · · MR. MITCHELL:· But you're still

14· · objecting to leaving the deposition open to

15· · resolution of that issue?

16· · · · · · · MR. KURSMAN:· To a resolution of

17· · which issue?

18· · · · · · · MR. MITCHELL:· Production of

19· · documents.

20· · · · · · · MR. KURSMAN:· I thought the

21· · resolution of -- I'm objecting to leaving the

22· · deposition open to subject Dr. Van Norman to

23· · further questions on any topics whatsoever.

24· · · · · · · MR. MITCHELL:· Even if we're entitled

25· · to additional documents that we requested via



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·1· · subpoena?

·2· · · · · · · MR. KURSMAN:· Yes.

·3· · · · · · · MR. MITCHELL:· Okay.· Nothing

·4· · further.

·5· · · · · · · FURTHER DEPONENT SAITH NOT

·6· · · · · · · · · (At 3:40 p.m. CST)

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·2

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·4· · COUNTY OF SUMNER

·5· · · · · · I, JENNY CHECUGA, Licensed Court Reporter,

·6· · with offices in Nashville, Tennessee, and Registered

·7· · Professional Reporter, hereby certify that I reported

·8· · the foregoing videoconference deposition of GAIL VAN

·9· · NORMAN, MD by machine shorthand to the best of my

10· · skills and abilities, and thereafter the same was

11· · reduced to typewritten form by me.

12· · · · · · I further certify that I am not related to

13· · any of the parties named herein, nor their counsel,

14· · and have no interest, financial or otherwise, in the

15· · outcome of the proceedings.

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